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                            RAMONA WATTS - CONFIDENTIAL
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:9:18-cv-80176-BB/BR

             ----------------------------------------
             IRA KLEIMAN, as the personal            )
             representative of the Estate of David    )
             Kleiman, and W&K Info Defense           )
             Research, LLC                           )
                                 Plaintiffs,.        )
                                                     )
                     v.                              )
                                                     )
             CRAIG WRIGHT                            )
                                 Defendant.          )
             ----------------------------------------

                                 DEPOSITION OF RAMONA WATTS

                                               On

                                    Thursday March 19, 2020

                                          At the offices of:

                                            SCA Ontier
                                           Halton House,
                                           20-23 Holborn,
                                          London EC1N 2JD,
                                          United Kingdom

             Taken by:
             AMY COLEY, Court Reporter
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                                                                           Page 2
        1                RAMONA WATTS - CONFIDENTIAL
        2                        A P P E A R A N C E S
        3    For the Plaintiffs (via telephone):
        4    BOIES SCHILLER FLEXNER LLP
             100 SE 2nd Street, Suite 2800
        5    Miami, Florida 33131
             Tel. 305-539-8400.
        6    Email: Abrenner@bsfllp.com.
        7    By: Andrew S. Brenner, Esq.
             Samantha Licata
        8
             ROCHE CYRULNIK FREEDMAN LLP
        9    200 S. Biscayne Blvd, Suite 5500
             Miami, Florida 33131
       10    Telephone: (305) 357-3861.
             Email: Vel@rcfllp.com.
       11
             By: Velvel (Devin) Freedman, Esq.
       12
       13    For the Defendant (via telephone):
       14    RIVERO MESTRE LLP
             2525 Ponce de Leon Boulevard, Suite 1000
       15    Miami, Florida 33134
             Phone: 305.445.2500
       16    E-mail: Arivero@riveromestre.com
       17    By: Amanda McGovern
             Julio Paez, Esq.
       18
       19    For Miss Watts:
       20    SCA ONTIER
             Halton House, 20-23 Holborn,
       21    London EC1N 2JD, United Kingdom
       22    By Daniel Saoul QC
             Paul Ferguson, Esq.
       23    Nicholas Dawson, Esq.
       24
       25
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        1                   RAMONA WATTS - CONFIDENTIAL
        2
             Also present:
        3
             Ms. Alison Green (The Examiner via Telephone)
        4
             Ira Kleiman (via Telephone)
        5
             Amy Coley (Court Reporter on behalf of Magna Legal
        6    Services)
        7
        8
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        1                   RAMONA WATTS - CONFIDENTIAL
        2          (the deposition commenced at 12.08 p.m.)
        3                       THE EXAMINER:      Miss Watts,what I
        4    ask you then is to affirm.
        5                   (Having duly been affirmed
        6               the witness testified as follows)
        7                       THE EXAMINER:      Just to say that
        8    I am the examiner in this case.           If at any time
        9    you want to indicate that you need a break or do
       10    not understand a question, or want it repeated,
       11    please indicate that loud and I will take that
       12    into consideration.       I am here also to see that
       13    there is fair play as far as questioning is
       14    concerned of you.
       15                       THE WITNESS:      Okay.
       16                       THE EXAMINER:      Bearing that in
       17    mind, Mr. Brenner is going to be starting by
       18    asking you some questions, so if you can remain
       19    there it may be that he will wish everybody to
       20    identify themselves again for the record.
       21    BY MR. BRENNER:
       22              Q.       Yes, to expedite things, Miss
       23    Watts, we met just briefly before the deposition
       24    started, but let me formally introduce myself.              My
       25    name is Andrew Brenner, I represent the plaintiffs
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        1                    RAMONA WATTS - CONFIDENTIAL
        2    in this lawsuit which involves your husband,
        3    Dr. Craig Wright.       Do you understand that?
        4              A.       I do, yes.
        5              Q.       Okay.    On the plaintiff's side
        6    attending this deposition remotely are Vel
        7    Freedman, he is from the law firm of
        8    Roche Cyrulnik & Freedman; Samantha Licata is from
        9    my office, and Ira Kleiman, who is one of the
       10    plaintiffs in the law suit, is also attending
       11    remotely.      I would ask counsel for the defendant
       12    and counsel for the witness to briefly introduce
       13    themselves so we can move forward.
       14                       MR. SAOUL:     Yes, my name is Daniel
       15    Saoul QC, I am counsel for Miss Watts.            I am here
       16    with and instructed by Mr. Paul Ferguson and
       17    Nicholas Dawson of SCA Ontier solicitors in
       18    London.    We act for Miss Watts.
       19                       MS. McGOVERN:      This is Amanda
       20    McGovern, I am here with my colleague Julio Paez.
       21    We represent Dr. Craig Wright in this case.
       22    BY MR. BRENNER:
       23              Q.       Thank you.     Miss Watts, can you
       24    state your full name for the record and spell your
       25    last name?
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                                                                           Page 7
        1                   RAMONA WATTS - CONFIDENTIAL
        2              A.       I am Ramona Watts, W-A-T-T-S.
        3              Q.       And Miss Watts, where is your
        4    permanent place of residence?
        5              A.       So currently I reside in
        6
        7              Q.       In
        8              A.       Yes.
        9              Q.       Thank you ma'am.       Have you ever had
       10    your deposition taken before in a US proceedings?
       11              A.       No.
       12              Q.       Okay, well, Ms. Green gave you some
       13    of the instructions, but I think the most
       14    important thing to keep in mind today, especially
       15    because of the remote attendance, is to do your
       16    best to try to let me finish my question, even if
       17    you have a pretty good idea of where it is
       18    going just by how it started, okay?
       19              A.       Okay.
       20              Q.       And I am going to do my best to let
       21    you finish your answer, but importantly, if I
       22    don't let you finish your answer, if I cut you off
       23    I will have done so inadvertently and you just
       24    need to let me know and I will step back and let
       25    you finish what you were saying, okay?
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                                                                           Page 8
        1                    RAMONA WATTS - CONFIDENTIAL
        2               A.      Okay.
        3               Q.      And sometimes I have the tendency
        4    to talk a little quickly, so if you just need me
        5    to slow down, just give me the "hi" sign and ask
        6    me to slow down and I will do that, okay?
        7               A.      I will.
        8               Q.      Ma'am, what is your date of birth?
        9               A.                      1970.
       10              Q.       70?
       11              A.       Yes.
       12              Q.       You are in fact married to
       13    Dr. Craig Wright?
       14              A.       I am.
       15              Q.       And how long have you two been
       16    married?
       17              A.       We were married in 2013.
       18              Q.       Okay.    When did you meet
       19    Dr. Wright?
       20              A.       At the end of 2010.
       21              Q.       When you met him, what were the
NA-R
       22    circumstances in your meeting?
       23                       MR. SAOUL:     I am going to object to
       24    that question, Mr. Brenner.          I object reluctantly,
       25    but you have three categories of topics which the
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                                                                           Page 9
        1                   RAMONA WATTS - CONFIDENTIAL
        2    English High Court, Commercial Court has
        3    identified for questioning, including educational
        4    background, employment history, professional
        5    qualifications, personal preparation for the
        6    deposition, that is (a); statements made by
        7    Mr. Wright about certain matters, that is (b); and
        8    Miss Watts' knowledge of the issues in (b) and
        9    through other means is (c).          I am afraid that the
       10    question you asked does not fall within any of
       11    those categories so it is not permissible as a
       12    matter of English law.
       13                       MR. BRENNER:      Okay.   I disagree.      I
       14    would ask you to give me some leeway.            Part of
       15    what has happened here is, you were not there, but
       16    in the deposition of Dr. Wright, he answered
       17    several questions of along the lines of, "Don't
       18    ask me, ask Miss Watts, I am no longer involved in
       19    businesses".      I need to know -- I am not trying to
       20    pry into the personal relationship, I am trying to
       21    draw a line of where Miss Watts is acting in a
       22    business partner role or where she is acting as a
       23    spouse, because spousal privilege has ben
       24    asserted.     So I will ask you to give leeway and it
       25    will be quick, but I just want to know where --
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                                                                            Page 10
         1                   RAMONA WATTS - CONFIDENTIAL
         2    whether they started at business associates or as
         3    something else.
  R      4              A.      We started as business associates
         5    in 2011.
         6    BY MR. BRENNER:
         7              Q.      Okay.    Then some time after that
         8    obviously the relationship changed and you
         9    ultimately got married in 2013?
       10               A.      Yes.
       11               Q.      And you have remained married since
       12     then?
       13               A.      Yes.
       14               Q.      Now, currently are you involved in
       15     several businesses with Dr. Wright?
       16               A.      Not any more, no.
       17               Q.      Okay.    What I would like to do,
       18     I would like to start by going to tab 4, which is
       19     actually two different tabs, only because one is a
       20     place marker to give a number, a court number,
       21     because the file behind it is a native file.             Do
       22     you see that?
       23               A.      Yes, I do.
       24               Q.      So tab 4 will become an exhibit to
       25     this deposition, as exhibit 1.
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                                                                          Page 11
         1                   RAMONA WATTS - CONFIDENTIAL
         2          (Exhibit 1 was marked for identification)
         3              Q.      So the first page as a number on
         4    it; correct?
         5              A.      Yes.
         6              Q.      And is that number DEF 00022425?
         7              A.      Yes, the next one, so produced in
         8    native format, yes.
         9              Q.      Okay.    Then I will represent to you
       10     that the next page is the native format file that
       11     was produced ----
       12               A.      Sure.
       13               Q.      -- in this litigation by counsel
       14     for your husband, okay?
       15               A.      Okay.
       16                       THE COURT REPORTER:        Can I just
       17     mark the deposition on the record?
       18                       MR. BRENNER:      Sure.
       19                       THE EXAMINER:      I was going to ask
       20     you to do that, and I think we should always make
       21     it clear that that has been done, because we want
       22     to be able later to identify it ----
       23                       MR. BRENNER:      Sure.
       24                       THE EXAMINER: -- clearly when not
       25     everybody is going to be present in Miss Watts'
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                                                                          Page 12
         1                   RAMONA WATTS - CONFIDENTIAL
         2    presence.
         3    BY MR. BRENNER:
         4              Q.      Miss Watts, are you looking at what
         5    I will call the spreadsheet part of ----
         6              A.      I am.
         7              Q.      -- exhibit 4?
         8              A.      Yes.
         9              Q.      If you will look, starting on the
       10     far left hand column, there is a list of entities;
       11     do you see that?
       12               A.      Umm hmm, yes, I do.
       13               Q.      It is fair to say you recognise
       14     each of those entities, correct?
       15               A.      Yes, I do recognise them all, yes.
       16               Q.      Okay.    Now if you go over -- when
       17     I say over, I am sort of going across columns ----
       18               A.      Yes.
       19               Q.      -- there is a column that I think
       20     it is the last column, and it says "directors"; do
       21     you see that?
       22               A.      I do, yes.
       23               Q.      Okay, so as I go through that
       24     spreadsheet for every one of these companies --
       25     well, every one of these companies with the
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         1                    RAMONA WATTS - CONFIDENTIAL
         2    exception of the second to last one, which is --
         3    it appears to be Chaos, or is that the third to
         4    last one -- every one you are listed as a director
         5    other than Chaos; is that right?
         6               A.      From what it shows on this
         7    spreadsheet it appears it would be, yes.
         8                       MR. SAOUL:    I am going to note for
         9    the record that from what I can see on this
       10     document, there are no directors identified for
       11     the last entity, either.
       12                       MR. BRENNER:      Yes, I know.      I was
       13     going to ask that.       Thank you.     And we will clear
       14     that up.
       15     BY MR. BRENNER:
       16               Q.      The last entity that is listed on
       17     this particular document is an entity called
       18     Hotwire Preemptive Intelligence Pty Ltd; do you
       19     see that?
       20               A.      I do.
       21               Q.      What is that?
       22               A.      It was another one of the companies
       23     that we were working for, or working on.
       24               Q.      When you sate "we" what do you mean
       25     by we?
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         1                     RAMONA WATTS - CONFIDENTIAL
         2              A.        Craig and I.    We also had staff by
         3    the way.       So I think with Hotwire we might have
         4    had 40-odd staff.
         5              Q.        Right.    You actually held a title
         6    in Hotwire didn't you?
         7              A.        Yes.
         8              Q.        And you were chief people officer?
         9              A.        I was, yes.
       10               Q.       Were you a director of Hotwire?
       11               A.       I don't recall.      I might have been,
       12     but I would have to see the corporate records.
       13               Q.       Sure.     For all of the other
       14     entities on this sheet, other than Chaos, at least
       15     according to the sheet you at one time a director.
       16     Is that accurate?
       17               A.       I don't recall because I know I was
       18     director of quite a few companies, and I don't
       19     know where this came from.         We had a secretarial
       20     company do our corporate records for us.            So
       21     I suppose if it came directly from them it would
       22     be accurate.      As I said, because I don't know
       23     where this came from I cannot actually speculate
       24     to say if this is accurate or not.
       25               Q.       Okay, but ----
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      But I was a director of several
         3    companies, yes, at different stages.
         4              Q.      Currently are there any companies
         5    on this list that you are no longer a director
         6    for?
         7              A.      All of them.
         8              Q.      So let's -- so you are no longer a
         9    director for any of these companies, just to make
       10     sure I understand your testimony?
       11               A.      That's right.
       12               Q.      When did you cease being a director
       13     for DeMorgan Limited?
       14               A.      That would have been -- I am not
       15     sure if it is 2016 or 2017.         I believe it might
       16     have been 2016.      I don't recall, so I really would
       17     have to see, I put in my resignation, so I would
       18     have to see some corporate paperwork.
       19               Q.      If we are just looking at DeMorgan
       20     for a second, who is Alan Granger?
       21               A.      He was a director.
       22               Q.      Is he still a director?
       23               A.      No.
       24               Q.      Okay.    Who is David Jensen?
       25               A.      He was another director.
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                                                                          Page 16
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      Is he still a director?
         3              A.      No, DeMorgan doesn't exist any
         4    more.
         5              Q.      Okay, so that was my next question.
         6    So no one is a director of DeMorgan Limited
         7    because it doesn't exist any more?
         8              A.      That's right.
         9              Q.      What about Cloudcroft PTY, when did
       10     you cease being a director?
       11               A.      I don't recall.
       12               Q.      Why did you cease being a director?
       13               A.      I don't recall.       A lot of these
       14     companies either have been shut down or in the
       15     process of being shut down.
       16               Q.      Do you know if there are any
       17     directors of Cloudcroft currently?
       18               A.      No, I don't know.
       19               Q.      The next one is CO1N PTY LTD --
       20     C-O-1-N PTY LTD.      Who is Uyen Ng?
       21               A.      I believe that might be Uyen
       22     Nguyen, she was one of our interns.
       23               Q.      Okay, and she was a director of
       24     that company?
       25               A.      According to this document, I don't
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         1                   RAMONA WATTS - CONFIDENTIAL
         2    recall otherwise, but this document says she is.
         3    I don't know.
         4              Q.      Mohammed Shaleeb(?), who is that?
         5                      MR. SAOUL:     Mr. Brenner, I entirely
         6    accept that you are entitled to ask Miss Watts
         7    about her employment history.          As you know, we
         8    have had correspondence with your firm about
         9    keeping that reasonably limited, which you agreed
       10     to do.    I am unsure for myself as to whether it is
       11     fair to suggest that questions about other
       12     directors really do fall within the category of
       13     employment history.       I just put a marker down.         If
       14     this questioning is not going to be significant
       15     then I am happy to be relaxed about it.            But if
       16     there is going to be detailed questioning about
       17     matters going beyond what is actually her
       18     employment history, then we might run into a
       19     difficulty.
       20                       MR. BRENNER:      Sure.    If you look
       21     further down, we are only going to be about three
       22     more people, because the rest of them are just
       23     Miss Watts or Miss Watts and Dr. Wright, so it
       24     will be quick.
       25     BY MR. BRENNER:
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         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Mohammed Shaleeb, who was that?
         3               A.      He was someone who worked with
         4    Craig.
         5               Q.      Is he still a director of this
         6    company?
         7               A.      I really don't know.
         8               Q.      The next one is Coin-Exch PTY LTD,
         9    do you see that?
       10               A.      I do.
       11               Q.      That one lists shareholders, the
       12     share structure of the company, as some of these
       13     others do, do you see that?
       14               A.      Hmm hmm.
       15               Q.      It says that the shareholders in
       16     that company are Dr. Wright, do you see that?
       17               A.      I do.
       18               Q.      And Mr. Kleiman, Ira Kleiman, do
       19     you see that?
       20               A.      I do.
       21               Q.      Are they both shareholders in that
       22     company?
       23               A.      I don't know.
       24                       MR. SAOUL:     That does, I think in
       25     fairness, go beyond the scope of the permitted
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                                                                          Page 19
         1                   RAMONA WATTS - CONFIDENTIAL
         2    deposition.     Mr. Brenner, I am going to police the
         3    English court order quite carefully.           I am not
         4    going to interrupt questions which clearly fall
         5    within the scope of the order.          But questions such
         6    as that do not concern any of the matters in the
         7    order, unless you can explain to me otherwise.              I
         8    am happy to be persuaded otherwise, I am happy to
         9    have a debate about it, but on the face of it that
       10     is not a question that falls within the scope of
       11     what you sought from the judge in Florida or
       12     obtain from the English High Court.
       13                       MR. BRENNER:      Well, I will say this
       14     and I cannot obviously advise you to what position
       15     to take.    I can only tell you that I feel 100%
       16     comfortable that a US court would find this well
       17     within the realm of the testimony of this witness
       18     and the US court has ordered this deposition to go
       19     forward, and there will be potential consequences
       20     for the US case if the witness is not allowed to
       21     answer certain questions, but you have to do what
       22     you have to do.      I get it, you will do what you
       23     have to do.     I don't want -- this is the type of
       24     thing I don't want to spend our time with.
       25     I don't want to debate with you.          If you want to
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         1                   RAMONA WATTS - CONFIDENTIAL
         2    instruct her not to answer, then we will have to
         3    deal with it later.
         4                      MR. SAOUL:     I am not going to
         5    instruct her not to answer that question, but I am
         6    just asking you to be careful, because the concept
         7    of what the witness might be answering on a broad
         8    blanket basis in Florida is different from the
         9    question of what you have sought and obtained
       10     permission to ask her questions about pursuant to
       11     the English High Court order, which is much more
       12     narrow.
       13                       MR. BRENNER:      Okay, we will agree
       14     to disagree and again, if we could try to move
       15     forward, it will help us meet our intended time
       16     frame.
       17                       MR. SAOUL: Absolutely.
       18     BY MR. BRENNER:
       19               Q.      Miss Watts, I am now on row 8,
       20     which is -- how do you pronounce that, the company
       21     on row 8?
       22               A.      Panoptocrypt.
       23               Q.      No, Denariuz, do you see that?
       24               A.      No, I have got Panoptocrypt as
       25     number 8 of mine.
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      Yes, don't worry about the row
         3    numbering, I am looking at the Excel spreadsheet
         4    ----
         5              A.        Oh, I am sorry, I don't have that.
         6    Denariuz?
         7              Q.      Yes, Denariuz.       Denariuz you were a
         8    director for; correct?
         9              A.      As I said before, I don't know
       10     where this information came from, so I don't know.
       11     I was a director of several companies.            You are
       12     asking me about being a director of companies
       13     several years ago.       I do not recall.      If I had the
       14     proper company records in front of me then I would
       15     be able to say yes, I was.         I would be able to say
       16     who the shareholders were if I had a shareholders
       17     agreement in front of me.        But I don't know where
       18     this came from so I cannot recall.
       19               Q.      Okay, that is fair.        I can only
       20     tell you this came from your husband's lawyers,
       21     but I don't know where it came from either.
       22     Currently are you a director of Denariuz?
       23               A.      So, as I answered earlier, I am
       24     currently not a director of any of these
       25     companies.
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                                                                          Page 22
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      Are you currently a director of any
         3    companies?
         4              A.      I have just been made director,
         5    actually -- well, not just -- in January, of two
         6    companies.
         7              Q.      And what are they called?
         8              A.      Wright International and Tulip
         9    Trading.
       10               Q.      And you became a director in
       11     January of those?
       12               A.      I think it was January or February,
       13     yes.
       14               Q.      Okay we will get back to that,
       15     Wright International and Tulip Trading?
       16               A.      That is right.
       17               Q.      Okay.    Let me just finish up this
       18     line of questioning on the spreadsheet, just to
       19     identify the last few people, who is Lian Seng
       20     Ang?
       21               A.      That would be my father.
       22               Q.      He was -- regardless of what the
       23     document says, do you recall him being a director
       24     of one or more of these companies?
       25               A.      I recall him being a director of
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                                                                          Page 23
         1                    RAMONA WATTS - CONFIDENTIAL
         2    something for a short time and he resigned, so
         3    I don't remember the circumstances of it.             We took
         4    minutes of meetings that we had with him.             As
         5    I said, without the corporate records I cannot
         6    give you any answers.
         7               Q.      You made a reference earlier that a
         8    lot of these companies either have dissolved or
         9    are in the process of being dissolved; is that
       10     correct?
       11               A.      That is right, yes.
       12               Q.      As you look at this list are any of
       13     these companies either not dissolved or at least
       14     not in the process of being dissolved?
       15               A.      I don't know.      I don't know
       16     I believe, to by knowledge, that they are all
       17     either dissolved or in the process of being
       18     dissolved, but I truly do not know.
       19               Q.      Now, you told me that you were
       20     recently made a director of Wright
       21     International -- is that the full name for it,
       22     Wright International?
       23               A.      That is what I call it.         I don't
       24     know its full name.
       25               Q.      Okay.    And that happened you think
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                                                                          Page 24
         1                    RAMONA WATTS - CONFIDENTIAL
         2    some time earlier this year?
         3               A.      That's right.
         4               Q.      Are there any other directors of
         5    Wright International?
         6               A.      I don't know, I have only just been
         7    made director, so I haven't had all the corporate
         8    records yet.      I am trying to get myself up-to-date
         9    with that.      I haven't got any of that information.
       10     My lawyers do though.
       11               Q.       What is Wright International?
       12               A.       So it was a company that Craig
       13     started I believe in -- I don't remember the year,
       14     I believe it was in 2009.
       15               Q.       Do you know what it does, what that
       16     company does?
       17               A.       Well, currently it holds mined
       18     Bitcoin.
       19               Q.       Does it hold -- excuse me, let me
       20     backtrack.      Does it hold Bitcoin mined by
       21     Dr. Wright?
       22               A.       No, it holds Bitcoin that was mined
       23     by Information Defence.
       24               Q.       Information Defence, is that the
       25     full name of that company?
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                                                                          Page 25
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      I do not know, this was before my
         3    time, by the way, because I didn't know Craig in
         4    2009.
         5              Q.      Okay.    Is it your understanding --
         6    and I am just jumping off your answer.            Sometimes
         7    I will do that, and if I have just misunderstood
         8    what you said, you let me know, okay?
         9              A.      Sure.
       10               Q.      From your answer it sounds like
       11     what you are telling me is Wright International
       12     holds Bitcoin that was mined by something called
       13     Information Defence in 2009?
       14               A.      That is from my understanding, that
       15     is correct.
       16               Q.      Do you know if Information Defence
       17     was called W&K Information Defence?
       18               A.      No, no it wasn't.
       19               Q.      It was not?
       20               A.      No.
       21               Q.      Do you know what kind of company
       22     Information Defence was?
       23               A.      No, it was before my time.
       24               Q.      Okay.    It is not until 2020 that
       25     you first became a director in that company?
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                                                                          Page 26
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      That is correct, yes.
         3              Q.      Other than that, that the company
         4    holds mined Bitcoin, does it do anything else?
         5              A.      Well, as I said, I only just became
         6    director so I don't actually know what else it
         7    might do.
         8              Q.      Okay.    Are you also employed as --
         9    I don't mean to be obtuse, but you could be a
       10     director of a company but not actually employed by
       11     them; do you understand that?
       12               A.      Yes.
       13               Q.      Are you employed also by Wright
       14     International?
       15               A.      No.
       16               Q.      Do you draw any pay from Wright
       17     International?
       18               A.      No, I do not.
       19               Q.      Are there any other directors of
       20     Wright International?
       21               A.      I don't know.
       22               Q.      You don't know, okay.        Do you
       23     understand what your job is as a director of
       24     Wright International?
       25               A.      Well, I understand what a director
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                                                                          Page 27
         1                    RAMONA WATTS - CONFIDENTIAL
         2    has to do, and that is basically you have
         3    oversight over the company, but for Wright
         4    International currently I don't know because
         5    I have only just been a director, I need to the
         6    corporate records, I need to go through everything
         7    and I have not had a chance to do that yet.
         8               Q.      The second one that you told me,
         9    the second company you told me that you are a
       10     currently a director for you called it Tulip
       11     Trading?
       12               A.      That's right.
       13               Q.      Is that -- as best you know is that
       14     the full name for that?
       15               A.      As best I know.       It might be Tulip
       16     Trading Limited, it might be -- I don't know.
       17               Q.      Sure.    When did you -- is that also
       18     in the early 2020 time frame, when you became a
       19     director?
       20               A.      That's correct, yes.
       21               Q.      By the way, who made you a director
       22     of Wright International?
       23               A.      I don't think anybody just makes
       24     you a director.      It was decided.      We had previous
       25     directors, but I am not quite sure what happened
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                                                                          Page 28
         1                     RAMONA WATTS - CONFIDENTIAL
         2    to them.       So I think a lot of them couldn't fulfil
         3    their duties, so I have decided that -- well, we
         4    sat down and we actually had a meeting.            The trust
         5    actually has shares in these two companies so
         6    there is Tulip Trust, and it shares in Wright
         7    International and Tulip Trading.          So we decided
         8    that we actually needed someone to be able to
         9    manage the companies properly because these
       10     directors were not doing their jobs.
       11               Q.       We will get this into later, but
       12     when you just talked about a trust, are you
       13     talking about the Tulip Trust from 2017?
       14               A.       It is really the Tulip Trust from
       15     2011, it is the same trust that we set up in 2011.
       16               Q.       Was it updated in 2017?
       17               A.       It was, yes, it was updated several
       18     times though, between 2011 and I think the last
       19     time we updated it would have been 2017, yes.
       20               Q.       And you are the trustee of that
       21     trust; correct?
       22               A.       I am, that is right.
       23               Q.       The sole trustee; correct?
       24               A.       No, we have another trustee as
       25     well.
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                                                                          Page 29
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Who is that?
         3               A.      Denis Mayaka.
         4               Q.      Are you sure that he is a
         5    co-trustee on that?
         6                       MR. RIVERO:     Objection to the form.
         7    BY MR. BRENNER:
         8               Q.      You can answer.
         9               A.      It is my understanding that he is
       10     still a trustee but I could be mistaken.
       11               Q.      Okay you said -- does the trust own
       12     all the shares in Wright International and Tulip
       13     Trading?
       14               A.      It does, yes.
       15               Q.      When you answered my question a few
       16     questions ago, you said, "We had a meeting and we
       17     decided that someone should be a director that can
       18     oversee those companies", do you recall testifying
       19     to that?
       20               A.      Yes.
       21               Q.      Who was the "we"; who had that
       22     meeting?
       23               A.      So the members of the trust.
       24               Q.      Who was that?
       25               A.      So I am not -- as trustee of the
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                                                                          Page 30
         1                   RAMONA WATTS - CONFIDENTIAL
         2    trust I am not sure under Seychelles law if I am
         3    actually permitted to reveal the members and
         4    beneficiaries of the trust.         You actually have a
         5    trust document, I believe, so if you have the
         6    correct trust document then it would be documents
         7    that you have and you can look at that.
         8              Q.      Okay, well let's look at, just so
         9    we make sure we are talking about the same thing,
       10     if you could turn to ----
       11                       MS. McGOVERN:      Mr. Brenner, this is
       12     Amanda McGovern.      While you are looking for that
       13     document, I would like to state for the record
       14     something we should have stated at the beginning,
       15     which is that we would like this deposition in its
       16     entirety to be marked confidential under the order
       17     governing this proceedings and note that the trust
       18     documents of July 2017 is under seal, and that all
       19     exhibits to this deposition would also be
       20     confidential under the terms of the order, similar
       21     to Dr. Wright's deposition.
       22                       MR. BRENNER:      So my understanding
       23     is there is a protection order in place that
       24     governs the sealing of all or parts of a
       25     deposition or exhibits thereto, and we fully
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                                                                          Page 31
         1                   RAMONA WATTS - CONFIDENTIAL
         2    intend to comply with that order.           So you have
         3    made -- I understand your position, I understand
         4    we will both just follow the order as to what that
         5    means down the road.       But I have no objection to
         6    what you are saying right now and we will ----
         7                      MS. McGOVERN:      It is really for the
         8    purpose of clarifying.        I believe we have to
         9    assert that ----
       10                       MR. BRENNER:      I agree.
       11                       MS. McGOVERN: -- will be maintained
       12     confidential as opposed to, it is not an automatic
       13     thing.    So I am simply asserting that this
       14     deposition in its entirety, along with the
       15     exhibits, will be confidential under the terms of
       16     the protective order.
       17                       MR. BRENNER: Thank you.
       18     BY MR. BRENNER:
       19               Q.      If you look, I had it wrong, it is
       20     tab 33, do you see that, Miss Watts?
       21               A.      I do, yes.
       22               Q.      We have been having some questions,
       23     some back and forth, and we were referring to a
       24     document but we were not looking at them.             The
       25     document we referred to as the update of the trust
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                                                                          Page 32
         1                   RAMONA WATTS - CONFIDENTIAL
         2    from 2017, is this the correct document, tab 33?
         3              A.      That is right, it is.
         4              Q.      We will mark that as exhibit 2 to
         5    the deposition?
         6                      THE EXAMINER:      Could you let the
         7    court reporter have time to mark it.
         8          (Exhibit 2 was marked or identification)
         9              A.      I have not read the entirety of it,
       10     I am assuming it is the same one that I have.
       11               Q.      Okay.
       12               A.      I will not spend time to read the
       13     entirety of it.
       14                       MR. BRENNER:      As she is reading,
       15     Madam Court Reporter, I think it will be better,
       16     instead of marking the tab, to mark the actual
       17     document.
       18                       THE COURT REPORTER:        Okay.
       19               A.      If this is the document that you
       20     received from my US lawyers, if would be the one
       21     you have, so yes.
       22     BY MR. BRENNER:
       23               Q.      Thank you.     You told me, and I want
       24     to make sure we have the sort of terminology
       25     consistent with each other.         You told me that the
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                                                                          Page 33
         1                    RAMONA WATTS - CONFIDENTIAL
         2    meeting at which it was decided you would become a
         3    director of Wright International and Tulip
         4    Trading, was among -- you used the words, both the
         5    beneficiaries and the members of the trust; do you
         6    recall testifying to that.
         7               A.      That is correct, I suppose I use
         8    that interchangeably, but yes.
         9               Q.      So when I look at the document, and
       10     I ask you to do the same thing, can you tell me
       11     were in the document it identifies the people that
       12     were at that meeting?
       13               A.      So, it would be page 16, schedule
       14     B.
       15               Q.      Let me get there.       Okay.    So on
       16     page 16 it lists five individuals; correct?
       17               A.      That is correct, yes.
       18               Q.      All members of your family;
       19     correct?
       20               A.      That is correct.
       21               Q.      Okay, and are you telling me that
       22     those five people had a meeting some time on or
       23     shortly before the beginning of 2020, in which it
       24     was decided you would become a director of Wright
       25     International and Tulip Trading?
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                                                                          Page 34
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      Yes, that is correct.
         3               Q.      Anyone else at this meeting?
         4               A.      No.
         5               Q.      Mr. Mayaka?
         6               A.      No, he was not present at that
         7    meeting.
         8               Q.      Okay.   You told me your
         9    understanding of what Wright International does.
       10     What is your understanding of what Tulip Trading
       11     does?
       12               A.      Well, Tulip Trading actually holds
       13     bought assets, so Tulip Trading had assets that
       14     were bought from -- I cannot actually remember
       15     where they were bought, they were bought Bitcoin
       16     in 2011.
       17               Q.      You said the -- before you used the
       18     word "assets" you used the word "bought" --
       19     B-O-U-G-H-T?
       20               A.      That's right.
       21               Q.      Other than Bitcoin that had been
       22     bought what other assets does Tulip Trading hold?
       23               A.      I don't recall.
       24               Q.      Okay, so the only assets that you
       25     can recall that are held by Wright International
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                                                                          Page 35
         1                   RAMONA WATTS - CONFIDENTIAL
         2    and Tulip Trading are Bitcoin; correct?
         3              A.      That is the only assets that I can
         4    recall, yes.
         5              Q.      And the difference between the two,
         6    or one of the differences between the two, is the
         7    Wright International Bitcoin was Bitcoin that was
         8    mined by Information Defence, correct?
         9              A.      That is what I understand.
       10               Q.      Okay, and Tulip Trading Bitcoin was
       11     purchased, as opposed to mined by an entity
       12     associated with Dr. Wright; correct?
       13               A.      That's correct.
       14               Q.      Do you know how much Bitcoin Wright
       15     International has?
       16               A.      I don't, no.
       17               Q.      Approximately?
       18               A.      I really don't.
       19               Q.      And I think I asked you this, but
       20     maybe I didn't, are there any other directors of
       21     Wright International?
       22               A.      So currently I don't know if there
       23     are because I haven't had a look at the corporate
       24     records yet.
       25               Q.      And what about Tulip Trading; any
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                                                                          Page 36
         1                   RAMONA WATTS - CONFIDENTIAL
         2    other directors other than you?
         3              A.      That would be the same answer as
         4    the other one; I don't know because I haven't
         5    looked at it yet.
         6              Q.      Do you know how much Bitcoin Tulip
         7    Trading has?
         8              A.      I don't.     It had -- I really don't
         9    know how much, but I think that Tulip Trading was
       10     actually managed by a company called HighSecured
       11     and they were managing the Bitcoin that was bought
       12     then.
       13               Q.      So let me make sure I understand.
       14     The Tulip prior to you becoming -- some time prior
       15     to you becoming director, Tulip Trading was
       16     managed by something called High Point?
       17               A.      HighSecured.
       18               Q.      Tulip Trading was managed by
       19     HighSecured?
       20               A.      That is right.
       21               Q.      Is HighSecured a law firm?
       22               A.      Yes.    I don't know if they exist
       23     any more but they are a law firm, were, are.
       24               Q.      Are or were a law firm?
       25               A.      Yes.    Well, we used them.
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                                                                          Page 37
         1                   RAMONA WATTS - CONFIDENTIAL
         2    I communicated with them, they were a law firm.
         3    I don't know if they exist any more.
         4              Q.      And at some point HighSecured
         5    stopped managing Tulip Trading?
         6              A.      I believe so.      I think there were
         7    some problems with HighSecured.
         8              Q.      Do you recall what those were?
         9              A.      Not really.      We couldn't get ahold
       10     of them, that was the main problem.
       11               Q.      So you have a tendency sometimes,
       12     and I understand it, to use the word "we" a lot.
       13               A.      Yes.
       14               Q.      When you just used the word "we"
       15     who were you referring to?
       16               A.      Well, it would be the people in the
       17     company working at that time.          So when I was
       18     dealing with HighSecured, it was me and I think it
       19     might have been one of our accounts, I don't
       20     recall.    I am not sure which one actually.           We had
       21     several accounts and we had several financial
       22     controllers at that time.
       23               Q.      Okay, so I may have assumed too
       24     much from your prior answer, so let mer ask you
       25     this:   Although you just became a director of
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                                                                          Page 38
         1                    RAMONA WATTS - CONFIDENTIAL
         2    Tulip Trading in 2020, when did you begin working
         3    with Tulip Trading?
         4               A.      I never worked with Tulip Trading.
         5               Q.      Well, I thought you just told me
         6    that you were communicating with HighSecured when
         7    they were managing Tulip Trading.           Is that true?
         8               A.      That is true, but I never worked
         9    with Tulip Trading.         So I was always a trustee of
       10     the trust.      The trust owns shares in Tulip
       11     Trading.
       12               Q.       Okay, got it.     So, when you say the
       13     trust, you are referring to the Tulip Trust?
       14               A.       Yes.
       15               Q.       Right.    And your understanding of
       16     the Tulip Trust is that it was originally formed
       17     in 2011?
       18               A.       Well, I know it was, because
       19     I helped form it.
       20               Q.       Okay, it is not just your
       21     understanding it is a certainty to you that it was
       22     formed in 2011?
       23               A.       That's right.
       24               Q.       And I think you told me earlier
       25     that over the years it has gone through several
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                                                                            Page 39
         1                   RAMONA WATTS - CONFIDENTIAL
         2    changes and supplements; correct?
         3              A.      It has, yes.      Not big material
         4    changes, I mean the terms of the trust are always
         5    the trust, the beneficiaries of the trust were
         6    always the same, the purpose of the trust was
         7    always the same.      So the rules were always the
         8    same.   But in 2012, 2014 and then in 2017 again we
         9    sort of made it more rigorous, it was a little bit
       10     more finessed, it was worded a little bit better.
       11               Q.      You obviously know that your
       12     husband is involved in a lawsuit in Florida; that
       13     is why we are here today, right?
       14               A.      Yes, that is right.
       15                       MS. McGOVERN:      Object to the form.
       16     BY MR. FREEDMAN:
       17               Q.      Do you know -- were you aware that
       18     there was a dispute in the lawsuit regarding the
       19     identification of certain trusts?
       20               A.      Sorry, I don't understand the
       21     question.
       22               Q.      Sure, thank you for asking.          Were
       23     you aware that in the summer of 2019 that your
       24     husband, as a result of this lawsuit, was called
       25     upon to reveal certain trust information; do you
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                                                                          Page 40
         1                   RAMONA WATTS - CONFIDENTIAL
         2    know that?
         3              A.      Only from -- not before the
         4    litigation, I did not know it.          I know now, yes.
         5              Q.      Well, it didn't happen before the
         6    litigation.     The litigation started 2018.
         7              A.      Yes.    I don't have all the details
         8    of this litigation, to be perfectly honest with
         9    you.    I have not read it all because it just
       10     stresses me out, I would rather not know, to be
       11     perfectly honest.
       12               Q.      Okay, but you were, in 2019, you
       13     were already a trustee for the Tulip Trust?
       14               A.      Yes.
       15               Q.      And I will represent to you that at
       16     that time, your husband, through his lawyers,
       17     submitted to the court a sworn declaration where
       18     it identified two different documents as to Tulip
       19     Trust 1 and the Tulip Trust 2; were you aware of
       20     that?
       21               A.      No, I was not.
       22                       MS. McGOVERN:      Mr. Brenner, before
       23     you go into this line of questioning, the
       24     communications regarding this litigation, between
       25     Miss Watts and Dr. Wright about this litigation
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                                                                          Page 41
         1                   RAMONA WATTS - CONFIDENTIAL
         2    and about things that occur during this litigation
         3    will be privileged.       If that is what you are
         4    intending to ask her about we object to this line
         5    of questioning.      We can take it question by
         6    question, but I would like to caution that a
         7    spousal privilege will apply with respect to the
         8    litigation, about the litigation.
         9                      MR. BRENNER:      We will take it
       10     question by question.       I think so far we have been
       11     okay, but I understand your objection.            I don't
       12     agree with it, but we will take it question by
       13     question.
       14     BY MR. BRENNER:
       15               Q.      Miss Watts, let me try to make sure
       16     I understand your role with the trusts?
       17               A.      Sure.
       18               Q.      First of all, in your mind there is
       19     only a single Tulip Trust; correct?
       20               A.      That is correct.
       21               Q.      It was formed informally, meaning
       22     that the documentation was rather informal, the
       23     first iteration of it was in 2011; correct?
       24               A.      That's correct.
       25               Q.      Then in 2012 a more formal document
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                                                                           Page 42
         1                   RAMONA WATTS - CONFIDENTIAL
         2    was put in place to memorialise the trust; is that
         3    correct?
         4              A.      Yes, that is correct.
         5              Q.      Then in 2014 ----
         6                      MS. McGOVERN:      Please give me an
         7    opportunity, since we are taking these questions
         8    question by question, please give me an
         9    opportunity to pose my objection for the record.
       10     If you could just pause for two seconds so that
       11     the court reporter does not feel like I am
       12     speaking over Mr. Brenner, which I have no desire
       13     to do.
       14                       MR. BRENNER:      Ms. McGovern is
       15     right, Miss Watts.       It is difficult -- it is
       16     difficult even when we are all in the same room to
       17     follow this rule, but it is really difficult when
       18     we are in different rooms.         So what you should try
       19     to do, and frankly you will fall short sometimes
       20     and I will fall short sometimes, is just take one
       21     extra beat before answering the question.             That
       22     will give both Ms. McGovern an opportunity to make
       23     an objection if she needs to, and it will also
       24     give your counsel, who is there ably representing
       25     you, to make sure that they have an chance to say
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                                                                           Page 43
         1                   RAMONA WATTS - CONFIDENTIAL
         2    something if they need to say something. Okay?
         3              A.      Okay.
         4                      MR. BRENNER:      For the record,
         5    I would just note that I appreciate the fact that
         6    due to the circumstances beyond all of our control
         7    the schedule of this became difficult, and
         8    I appreciate that the law firm of SCA Ontier
         9    offered their offices at the last minute after the
       10     Boies Schiller offices closed, and I appreciate
       11     the courtesy.
       12     BY MR. BRENNER:
       13               Q.      Let me go back to where I was, Miss
       14     Watts.    I think we covered that the 2012 was a
       15     more -- a formalisation of the 2011 trust
       16     formation; correct?
       17                       MS. McGOVERN:      Object to the form.
       18     BY MR. BRENNER:
       19               Q.      Yes?
       20               A.      From what I recall, if I can tell
       21     you what I recall.       Craig and I had a conversation
       22     in 2011, about the trust, how he wanted it
       23     structured, and the main thing was what the
       24     purpose of the trust was going to be.            So it was
       25     the purpose, we set down rules, we set down very
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                                                                          Page 44
         1                   RAMONA WATTS - CONFIDENTIAL
         2    specific terms.      So that was in 2011.        In 2012
         3    I believe -- I actually cannot remember which
         4    lawyers we had, but I think we might have changed
         5    lawyers in 2012, I do not recall.           So we had a
         6    trust document in 2011 and then we firmed it up
         7    again in 2012.      In 2014 we changed a few things
         8    and I really cannot remember what it was.             It was
         9    not purpose or rules of the trust, but we might
       10     have added a few things to it, I cannot remember.
       11     In 2017 we actually used -- we were in the UK at
       12     that time and we used Baker & McKenzie and a
       13     couple of other firms to firm up a proper
       14     registered trust document.
       15               Q.      Then, just to complete the sort of
       16     progression, in 2017 what happened?
       17               A.      Well, as I said, so we had the
       18     trust document from -- well, we had -- we had
       19     spoken about the trust in 2011, 2012.            I mean
       20     really we had spoken about the trust quite a bit,
       21     but in 2017 we decided that we were going to
       22     register it formally I think; we were told that it
       23     had to be done properly.        And so we spoke to Baker
       24     & McKenzie, who were then -- they gave us another
       25     name and I cannot remember who it was, but we used
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                                                                          Page 45
         1                   RAMONA WATTS - CONFIDENTIAL
         2    another law firm, and we worked with them for a
         3    little while.     Frankly, they were very longwinded
         4    and they were very expensive, so we asked Denis
         5    Mayaka if he had any law firms in his contacts
         6    that could help us.       So then we had sort of a
         7    partial draft with Baker & McKenzie and this other
         8    law firm that they had recommended to us, and then
         9    Denis and his team put together something that was
       10     exactly what we wanted.
       11               Q.      In 2017?
       12               A.      Well, yes, but it was the trust
       13     from 2011, so it is not a different trust, it is
       14     the same trust.
       15               Q.      Right, I understand your testimony,
       16     so I am going to try to walk through it again.
       17               A.      Yes.
       18               Q.      In 2011, it is the initial
       19     formation of the Tulip Trust?
       20               A.      That's right.
       21               Q.      It goes through -- that trust
       22     existed in 2011 and it exists today?
       23               A.      Yes.
       24               Q.      Okay.    The documentation on that
       25     trust has been updated in 2012, 2014, and 2017?
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                                                                          Page 46
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      I believe that is the case.
         3    I mean, I truly don't remember the exact dates.
         4               Q.      Okay.   At all times, meaning from
         5    2011 through today, have you been a trustee of
         6    that trust?
         7               A.      Yes, I believe so.       To my
         8    understanding I believe I have been.
         9               Q.      Okay.   Now, I think what you said,
       10     and you will correct me if I am wrong, I think
       11     what you said is that the general rules and more
       12     importantly the purpose of the trust have not
       13     changed?
       14               A.      Absolutely not, no.
       15               Q.      Bad questioning gets an unclear
       16     answer for the record.        You agree with me that the
       17     rules for the trust and the purpose of the trust
       18     have not changed since 2011?
       19               A.      The rules and the purpose of the
       20     trust have not changed at all.
       21               Q.      Okay.    What was or is the purpose
       22     of the Tulip Trust?
       23               A.      Oh, the purpose of the trust has
       24     always been the same, and that is to continue the
       25     work of what Craig has been doing, that is his
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                                                                          Page 47
         1                   RAMONA WATTS - CONFIDENTIAL
         2    research in Bitcoin, and to promote Bitcoin,
         3    Bitcoin's legal nature, really.          So in 2011 when
         4    we fist talked about it he was very upset because
         5    he had told me that Bitcoin was being used on
         6    something called Silk Road, where people were
         7    buying drugs and there was money laundering, and
         8    he never intended for Bitcoin to be used for those
         9    sorts of things.      So he was cross and he was very
       10     upset.    So he said that, you know, we're going to
       11     have this trust, and we are going to make sure
       12     that the purpose of the trust and the rules of the
       13     trust are such that Bitcoin is used in a legal
       14     manner.    And we are going to use it to continue
       15     research in Bitcoin, to possibly fund companies
       16     they are doing work that can, you know, continue
       17     on the peer-to-peer research and do things that
       18     are legal, without the illegal nature of Bitcoin.
       19     He totally did not want to have anything to do
       20     with that at all.
       21               Q.      Great.    And you understood that, as
       22     trustee, it was your job to comply with and
       23     further that purpose?
       24               A.      Absolutely, yes.
       25               Q.      Let us go back to 2011, since it is
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                                                                          Page 48
         1                   RAMONA WATTS - CONFIDENTIAL
         2    really just one trust, okay?
         3              A.      Yes.
         4              Q.      In 2011, how was the trust funded?
         5              A.      How?    Sorry, I don't actually
         6    understand your question.        The trust did not need
         7    funds.    The trust is an entity on its own, so.
         8              Q.      That was a bad question.         Let's try
         9    again.    In 2011, were there assets placed in the
       10     trust?
       11               A.      So, the trust holds shares in
       12     companies.
       13               Q.      Let us back up.       In 2011, did the
       14     trust own the shares of Wright International?
       15               A.      I believe it did, yes.
       16               Q.      And at the time Wright
       17     International -- I think you told me this before,
       18     but at the time the trust was formed, did Wright
       19     International hold all of the Bitcoin mined by
       20     Information Defence?
       21               A.      I believe so.
       22               Q.      And the trust owned all of the
       23     shares of Wright International?
       24               A.      I don't know, but to my knowledge
       25     I think so.     I do not know for sure.
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                                                                          Page 49
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      Okay.    In 2011 did the trust also
         3    own the shares in Tulip Trading?
         4              A.      I do not recall.       It might have
         5    been around the same time that Tulip Trading was
         6    formed.
         7              Q.      Right.    You understand that Tulip
         8    Trading -- well, is it true that Tulip Trading
         9    bought Bitcoin at times after 2011?
       10               A.      I don't know.
       11               Q.      Okay.    In 2011 were you the sole
       12     trustee of -- excuse me, of Tulip Trust?
       13               A.      I don't know.      I don't know.
       14     I know I was a trustee.        I do not think I was the
       15     sole trustee, but I actually don't know.
       16               Q.      Do you know anyone else that has
       17     ever been a trustee of Tulip Trading -- excuse me.
       18     Do you know anyone else that has ever been a
       19     trustee of Tulip Trust other than you mentioned
       20     before you thought Mr. Mayaka was; anyone else?
       21               A.      At some stage Craig was a trustee
       22     of Tulip Trust, but I think perhaps at the
       23     beginning but not at the end.          I don't recall when
       24     he stopped being a trustee.
       25               Q.      It is your understanding that at
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                                                                          Page 50
         1                   RAMONA WATTS - CONFIDENTIAL
         2    some point Craig was a trustee of Tulip Trust but
         3    he is no longer a trustee of Tulip Trust?
         4              A.      He is definitely no longer a
         5    trustee, yes, but I don't know when though.
         6              Q.      When the trust was formed in 2011,
         7    since that time, have any -- has Wright
         8    International mined any additional Bitcoin?
         9              A.      Not to my knowledge, but Wright
       10     International never mined Bitcoin.
       11               Q.      Good point.      After the trust was
       12     formed in 2011, did Information Defence ever mine
       13     any Bitcoin?
       14               A.      Not to my knowledge, but I didn't
       15     work for Information Defence, so I don't know.
       16               Q.      Do you know how Wright
       17     International came to possess the Bitcoin mined by
       18     Information Defence?
       19               A.      I don't, no.
       20               Q.      As far as you know, when you
       21     started being a trustee in 2011, Wright
       22     International was already the holder of the
       23     Bitcoin mined by Information Defence?
       24               A.      That's correct, yes.
       25               Q.      And as far as you know that amount
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                                                                          Page 51
         1                    RAMONA WATTS - CONFIDENTIAL
         2    of Bitcoin remains the same as it was in 2011?
         3               A.      Yes.
         4               Q.      If it were to be spent you, as the
         5    trustee, would have to be involved in the decision
         6    to spend it; correct?
         7               A.      Absolutely.
         8                       MS. McGOVERN:     Object to the form.
         9    BY MR. BRENNER:
       10               Q.      You can answer.
       11               A.      Well, it would have to fulfil the
       12     purpose of the trust and the rules of the trust
       13     first of all.     But, secondly, I believe if you
       14     look on the block train it has not been spent.
       15               Q.      Right.    I understand that I did not
       16     mean to insinuate otherwise.         You, as the trustee,
       17     if you wanted to spend Bitcoin, you could only do
       18     it consistent with the terms of the trust?
       19               A.      That is correct.
       20               Q.      And to date you have not done that;
       21     correct?
       22               A.      That is correct.
       23               Q.      If a situation arose that was
       24     consistent with the terms of the trust for the
       25     expenditure of Bitcoin, how would you do that?
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                                                                          Page 52
         1                   RAMONA WATTS - CONFIDENTIAL
         2                      MS. McGOVERN:      Object to the form.
         3    Calls for speculation.
         4    BY MR. BRENNER:
         5              Q.      You can answer.
         6              A.      So, how would I spend it?         So, the
         7    purpose of the trust would be to, if we were
         8    funding a company you mean, that was researching
         9    Bitcoin; is that what you are saying?
       10               Q.      Sure.
       11               A.      Well, currently we cannot because
       12     we don't have the full private keys to the trust.
       13     But it does not actually mean that the trust -- it
       14     is very hard to explain.        So you don't have the
       15     private keys to the Bitcoin but it doesn't mean
       16     that you don't own that Bitcoin.          I am not sure
       17     you understand that.

  CC   18               Q.      I think I do, but I will ask you
       19     some questions to make sure that I am getting your
       20     testimony the way that you want to give it?
       21               A.      Sure.
       22               Q.      You said currently you cannot spend
       23     a Bitcoin "because we don't have the four private
       24     keys".    Did I get that right?
       25                       MR. SAOUL:     Let me just clarify one
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                                                                          Page 53
         1                    RAMONA WATTS - CONFIDENTIAL
         2    thing, did you say "full private keys" or "four
         3    private keys"?
         4               A.      No, it is not four, we don't have
         5    the private keys necessary to -- we don't have the
         6    private keys necessary to actually spent the
         7    Bitcoin in that particular way.          But I believe
         8    that there are other ways.         I'm not sure if it is
         9    spending or they are assignments, I believe
       10     legally there might be other ways to do it, but
       11     I don't know how.
       12     BY MR. BRENNER:
       13               Q.      Okay, so your counsel helpfully
       14     made a correction on my understanding of what you
       15     had testified to.      Before, when you said, "We
       16     currently don't have" -- I said you said four
       17     private keys, you actually said ----
       18               A.      No I didn't, I said full --
       19     F-U-L-L.
       20               Q.      That is what I was correcting for
       21     the record.     Your answer before was that, "We
       22     currently cannot spend the Bitcoin because we
       23     don't have full private keys" -- F-U-L-L.
       24               A.      But I do believe that there are
       25     other ways that you can access the Bitcoin,
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                                                                          Page 54
         1                    RAMONA WATTS - CONFIDENTIAL
         2    providing that they are according to -- they
         3    fulfil the trust purpose by legal means, but
         4    I don't know how.
         5               Q.      You believe there are other ways
         6    but you don't know how?
         7               A.      That is correct.      I liken it to if
         8    you have lost your car key and you cannot actually
         9    drive to a certain place, but if you call roadside
       10     assistance and say, "This is my car", you have to
       11     show them some proof that it is your car.
       12     Obviously you cannot just go into a parking lot
       13     and say, "That great sporty Mercedes is my car".
       14     If you show them some proof it was your car they
       15     might be able to either cut you another key or get
       16     you in, open the door for you.
       17               Q.      Okay.    Other than you believing
       18     there is a way to do it, you don't know how to
       19     spend the Bitcoin in the trust correct?
       20               A.      I don't know how to do it.
       21     I believe there is another way to do it, that is
       22     correct.
       23               Q.      Okay.    In your answer where we had
       24     the -- or I had the confusion between "four" and
       25     "full", you said, "Currently we don't have the
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                                                                          Page 55
         1                   RAMONA WATTS - CONFIDENTIAL
         2    full keys".     When did that come to be?         Was there
         3    a time when you did have the full private keys to
         4    the Bitcoin?
         5              A.      So it was never four keys, I said
         6    "full", remember?
         7              Q.      Yes, I am trying to say "full" too.
         8              A.      Full.    I am sorry.      I have never
         9    had the private keys, I just know that we don't
       10     have the keys.
       11               Q.      So from the minute the trust was
       12     formed, you, as a trustee, did not have the
       13     ability to spend the Bitcoin; correct?
       14               A.      That is correct, yes.
       15                       THE EXAMINER:      Is that a convenient
       16     time to break off to you, Mr. Brenner, because
       17     I know you are in the course of asking questions.
       18                       MR. BRENNER:      Yes, can you give me
       19     two or three minutes to tie this one section up?
       20     Thank you.
       21                       THE EXAMINER:      Yes.
       22                       MR. BRENNER:      Thank you.
       23     BY MR. BRENNER:
       24               Q.      You understood that there were --
       25     one of the -- strike that.         You understood that
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                                                                          Page 56
         1                   RAMONA WATTS - CONFIDENTIAL
         2    the primary purpose of the trust was to further
         3    the research and work of Dr. Wright; correct?
         4              A.      Yes, correct.
         5              Q.      And in order to do that, as one of
         6    the examples you gave, for example, the trust may
         7    have wished or desired to make an investment in a
         8    company or companies that were helping Dr. Wright
         9    with that research; correct?
       10               A.      That is right, but in a legal
       11     nature, so nothing that would -- for example, if
       12     there was a company that wanted to start another
       13     Silk Road, so you could anonymously buy drugs or,
       14     you know, money laundering, none of those
       15     anonymous things, so that would not work, yes.
       16               Q.      Right.    I am assuming for the
       17     purpose of my question it is a perfectly valid and
       18     proper use of resources to further Dr. Wright's
       19     work, okay?
       20               A.      Okay.
       21               Q.      One that is consistent with the
       22     terms of the trust, okay?
       23               A.      Sure.
       24               Q.      The main, in fact the only assets
       25     of the trust you have been able to identify are
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                                                                          Page 57
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Bitcoin; correct?
         3              A.      No, I said that those were the only
         4    ones that I knew of.
         5              Q.      Right, the only assets of the trust
         6    that you, as the trustee, are aware of that you
         7    had at your disposal were -- the only assets you
         8    are   of was Bitcoin; correct?
         9                      MS. McGOVERN:      Object to the form.
       10               A.      I am sorry.
       11     BY MR. BRENNER:
       12               Q.      You can answer.
       13               A.      There was IP involved as well, but
       14     the IP was more Craig's work.          So I don't know
       15     what value that has.       I did not know what monetary
       16     value that IP has.
       17               Q.      Right, so that the thing in the
       18     asset, the asset in the trust that you are aware
       19     of that had monetary value was Bitcoin, correct?
       20               A.      His IP might have monetary value
       21     but I don't know, I am not aware of it.
       22               Q.      Okay, and you could not further the
       23     purpose of the trust by spending Bitcoin because
       24     you did not know how to do it; correct?
       25               A.      I don't know -- I currently, no,
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                                                                           Page 58
         1                    RAMONA WATTS - CONFIDENTIAL
         2    I don't.
         3               Q.      You never knew how to do it?
         4               A.      No.
         5               Q.      Correct?
         6               A.      That is correct.
         7                       MR. BRENNER:     Okay, let's take a
         8    break.     Thank you Examiner Green.        Five or 10
         9    minutes, is that good?
       10                       THE EXAMINER:      Does that suit you
       11     Miss Watts?
       12                       THE WITNESS:      Yes.
       13                       THE EXAMINER:      Thank you.     Let us
       14     say 10 minutes, everybody be back in 10 minutes,
       15     because if I give five minutes not everybody will
       16     be back.    So make sure everybody is back in 10
       17     minutes.
       18                       THE COURT REPORTER:        We are going
       19     off the record at 1.05 p.m.
       20                 (A short break off the record
       21                      from 1.05 to 1.14 p.m.)
       22                       THE COURT REPORTER:        We are going
       23     back on the record at 1.14 p.m.
       24     BY MR. BRENNER:
       25               Q.      Okay, we are back again, Miss
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                                                                          Page 59
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Watts.    Let us pick up sort of where we left off,
         3    okay?
         4              A.      Sure.
         5              Q.      In one of your answers you were
         6    telling me about a company called HighSecured, do
         7    you remember that?
         8              A.      I do.
         9              Q.      Is that -- it may be I am just
       10     having difficulty hearing you -- the second word
       11     of that company, is it "secure" or "secured"; is
       12     there a "D" at the end?
       13               A.      Gosh, I think it is HighSecured.
       14               Q.      With a "D" at the end?
       15               A.      I believe so.
       16               Q.      And when were you -- strike that.
       17     They were managing Tulip Trading, is that what you
       18     said?
       19               A.      They were managing -- I don't know
       20     if they were actually managing the company, but
       21     I know that they were managing the Bitcoin in
       22     Tulip Trading.
       23               Q.      Okay.    The Bitcoin in Tulip Trading
       24     was Bitcoin that had been purchased by whom, by
       25     Tulip Trading?
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                                                                          Page 60
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      I believe so.      I don't know because
         3    I wasn't working for Tulip Trading.           I don't know.
         4              Q.      Well, from 2011 when the trust was
         5    formed, did it own the shares in Tulip Trading?
         6              A.      It would be about the same time,
         7    I think so, definitely by 2012.          I don't recall,
         8    in terms of dates.
         9              Q.      So you were the trustee for the
       10     trust that holds the shares in Tulip Trading by
       11     2012; correct?
       12               A.      Yes.
       13               Q.      Do you know who was actually
       14     managing Tulip Trading?
       15               A.      No, I am not a director, so
       16     --I have only just become a director, I wasn't a
       17     director then, so I don't know.
       18               Q.      Was Dr. Wright managing it?
       19               A.      I don't know.
       20               Q.      As the shareholder you had no
       21     understanding who was managing the company you
       22     owned?
       23                       MS. McGOVERN:      Object to the form;
       24     asked and answered.
       25     BY MR. BRENNER:
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                                                                           Page 61
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      You can answer.
         3              A.      Well, I mean, if I have shares in
         4    Facebook I don't know exactly who is managing, it
         5    or if I have shares in a few of other top listed
         6    companies I don't know exactly who's managing it
         7    either.
         8              Q.      Is Tulip Trading a listed company?
         9                      MS. McGOVERN:      Object to the form;
       10     argumentative.
       11     BY MR. BRENNER:
       12               Q.      No, it is not.       But go ahead.
       13               A.      I don't know.      No, I don't believe
       14     it was.
       15               Q.      Right.    Tulip Trading was a closely
       16     held company of Dr. Wright's, was it not?
       17               A.      I don't know.
       18               Q.      You don't know if your husband
       19     owned or managed Tulip Trading?
       20               A.      My husband owned ----
       21                       MS. McGOVERN:      Object to the form.
       22     BY MR. BRENNER:
       23               Q.      Go ahead.
       24               A.      My husband owned several companies
       25     so I don't know exactly what he owned.            But if I
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                                                                          Page 62
         1                    RAMONA WATTS - CONFIDENTIAL
         2    had the corporate records in front of me I could
         3    tell you.      I believe you might have the corporate
         4    records so if you looked at them I am sure they
         5    would tell you that.
         6              Q.       Okay, so the answer is you don't
         7    know whether your husband was running Tulip
         8    Trading in 2012?
         9                       MS. McGOVERN:     Object to the form;
       10     asked and answered.
       11     BY MR. BRENNER:
       12               Q.      You can answer.
       13               A.      The answer is he was running a lot
       14     of companies and I don't know exactly which
       15     companies he ran at which time.
       16               Q.      And you don't know whether he was
       17     running Tulip Trading in 2012?
       18                       MS. McGOVERN:      Same objection.
       19               A.      I guess I have the same answer.           My
       20     husband was running many comes at different times,
       21     and now you are asking me whether I know if he was
       22     running that particular company at that particular
       23     time and I don't know.
       24     BY MR. BRENNER:
       25               Q.      Do you know anyone else that ever
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                                                                          Page 63
         1                   RAMONA WATTS - CONFIDENTIAL
         2    ran Tulip Trading other than your husband?
         3                      MS. McGOVERN:      Object to the form.
         4    That is not what she testified to.
         5                      MR. BRENNER:      It is a question,
         6    I did not ask what she testified to.
         7    Ms. McGovern, please just object to the form.
         8                      MS. McGOVERN: (Unclear).
         9                      MR. BRENNER:      Excuse me, anything
       10     beyond form is not acceptable.          We do not have
       11     time.    You know the rules, you object to the form,
       12     it preserves all form objections.
       13                       MS. McGOVERN: (Unclear).
       14                       MR. BRENNER:      Please state to
       15     objection to form or if you have a basis to
       16     instruct the witness not to answer.           Anything
       17     beyond objection to form I will consider going
       18     beyond the rules allowed by the court.
       19     BY MR. BRENNER:
       20               Q.      Miss Watts, let me ask the question
       21     again.    Do you know anyone who ever ran Tulip
       22     Trading other than your husband?
       23                       MS. McGOVERN:      Object to the form.
       24     You have to give me an opportunity to object.
       25     Please don't rush this.        There is a process.       You
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                                                                          Page 64
         1                    RAMONA WATTS - CONFIDENTIAL
         2    made a beat, that was your word.          I object to the
         3    form of your question.
         4                       MR. BRENNER:     Thank you.
         5    BY MR. BRENNER:
         6               Q.      You can answer.
         7               A.      So Mr. Brenner, as I said before,
         8    so I believe this was now nine years ago, I do not
         9    recollect from nine years ago which company my
       10     husband ran.     He ran many, many, many companies at
       11     different times.      So, the answer to that question
       12     is, I do not recall.
       13               Q.      My question must not -- let me try
       14     to be clear.     I am not talking about 2012, I am
       15     talking first of all at any time did your husband
       16     run Tulip Trading?
       17               A.      I do not recall.
       18               Q.      At any time do you recall anyone
       19     who ran Tulip Trading?
       20               A.      I do not recall, but I know
       21     HighSecured managed some of the assets in Tulip
       22     Trading.    Whether or not they ran it I don't know.
       23               Q.      Who at HighSecured were you working
       24     with regarding Tulip Trading?
       25               A.      There would be e-mails I can't
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                                                                          Page 65
         1                    RAMONA WATTS - CONFIDENTIAL
         2    remember the names because this was many, many
         3    years ago.      I dealt with probably three different
         4    lawyers and we had the Australian Tax Office in
         5    the same room when I was e-mailing them back and
         6    forth.     I just don't remember the names.
         7               Q.      You don't remember any of the
         8    names?
         9               A.      No.
       10               Q.      Okay.    What years were you working
       11     with HighSecured in connection with Tulip Trading?
       12               A.      Gosh, I really don't recall.
       13     I think the last communication I had with them
       14     would have been in 2014.
       15               Q.      Okay.    And you think it started
       16     some time -- well, it would not have started
       17     before 2011; correct?
       18               A.      No, definitely not.        I don't
       19     remember, maybe in 2012, I really don't remember.
       20     I know my last communication with them -- actually
       21     I don't know if it was 2014 or 2015.
       22               Q.      Do you know where HighSecured was
       23     located?
       24               A.      I believe they are a Panamanian law
       25     firm.
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                                                                          Page 66
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Did you ever visit their law firm?
         3               A.      No.
         4               Q.      Did you ever meet in person with
         5    anyone from HighSecured?
         6               A.      In person, no; on the phone, we
         7    spoke on the phone; meeting, no.
         8               Q.      Just my -- perhaps my recollection
         9    of technology is not precise, but did you ever
       10     have a video meeting with them by phone, meaning
       11     that you could see the person, or was it just
       12     regular telephone?
       13               A.      Gosh, I have had so many Skype
       14     meetings with people I do not recall.            I might
       15     have.   There were three particular people that we
       16     spoke to quite regularly.        I don't remember.
       17               Q.      You don't remember their names;
       18     correct?
       19               A.      No, but as I said the e-mails
       20     should show you the names.
       21               Q.      Okay.    You do you remember what any
       22     of them looked like?
       23               A.      After all this time, probably not.
       24     Skype is not actually very good by the way in
       25     terms of -- yes.
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                                                                          Page 67
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      How often would you say that you
         3    were in contact with representatives of
         4    HighSecured?
         5              A.      Oh, not that often.        So they needed
         6    to do some things for us in terms of we had a
         7    super computer and they actually sort of brokered
         8    the deal with a data centre, and I do not remember
         9    the name of the data centre, where they paid the
       10     data centre in Bitcoin, so that we had a super
       11     computer to do our research.
       12               Q.      Okay.    That was a transaction where
       13     the payment was about 117,000 Bitcoin, does that
       14     ring a bell?
       15               A.      I really don't remember.         We had
       16     our accounts look through that.
       17               Q.      Let me see if I can ----
       18                       MS. MCGOVERN:      Then I can state my
       19     objection for the record.        I hate to be annoying,
       20     but please let us use Mr. Brenner's metaphor for
       21     using a beat beforehand.        I object to the form of
       22     the question.
       23     BY MR. BRENNER:
       24               Q.      Was that payment made to Denariuz
       25     PTE?
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                                                                          Page 68
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      I don't recall.       I think our
         3    accountants -- we had a financial controller at
         4    that time, so they organised it.
         5              Q.      Was the accountant at a company
         6    called 3ECPA?
         7              A.      I don't know.
         8              Q.      Was the accountant, and I don't
         9    know if it is a man or a woman Kelly Ku?
       10               A.      I don't know.
       11               Q.      Why don't we take a look at a
       12     document to see if maybe it will refresh your
       13     recollection.     Let us take a look at tab 26?
       14          (Exhibit 3 was marked for identification)
       15               Q.      Miss Watts, did you get to tab 26?
       16               A.      Yes.
       17                       MR. BRENNER:      By the way, for other
       18     counsel, anyone, especially Miss McGovern, I am
       19     going to assume you found it unless you tell me
       20     otherwise.     But I e-mailed this to you, so you
       21     should have it.
       22                       MS. McGOVERN:      I did receive all of
       23     the documents e-mailed, thank you so much,
       24     Mr. Brenner, this is actually quite easy for me to
       25     use, so I appreciate it.
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                                                                           Page 69
         1                   RAMONA WATTS - CONFIDENTIAL
         2                      MR. BRENNER:      Okay, so speak up if
         3    you don't have it.       I will make sure we wait a
         4    second.
         5    BY MR. BRENNER:
         6              Q.      So tab 26 appears to be, I guess it
         7    is a 34 page document.        Do you see that Miss
         8    Watts?
         9              A.      Yes.
       10               Q.      We don't need to go through this in
       11     great detail now, but if you look at the first
       12     page, it is an e-mail from you to someone named
       13     Kelly Ku and some other folks at a firm called
       14     3ECPA?
       15               A.      Yes.
       16               Q.      It appears you were on a first name
       17     basis with -- was Kelly Ku a man or a woman?
       18               A.      I actually don't know.         I believe
       19     Kelly would be a woman, but I don't know.
       20               Q.      We will call the person "Kelly".
       21     It seems like you were on a first name basis with
       22     Kelly and someone else named May, who I assume is
       23     a woman; right?
       24               A.      Hmm hmm.
       25               Q.      May Uyen, do you see that?
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                                                                          Page 70
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      Yes.
         3              Q.      Do you recall those two
         4    individuals?
         5              A.      May, not so much.       Kelly, I think I
         6    recall.    I think this was an accounting firm.
         7              Q.      Right, and this is an accounting
         8    firm that was, if you were to glance through the
         9    document it has to do with trying to substantiate
       10     a payment of Bitcoin that you were trying to
       11     substantiate in connection with the Australian Tax
       12     Office proceedings; is that right?
       13               A.      Do you know, I really don't recall.
       14     I do not recall at all.        I am reading this now and
       15     I really don't remember this at all.
       16               Q.      Okay.    If you go to that first
       17     page, if you go down maybe toward the paragraph
       18     that starts "in the letter"; do you see that?
       19               A.      Hmm hmm.
       20               Q.      It talks about a letter from --
       21     that is Uyen Nguyen, is that correct?
       22               A.      Umm hmm.
       23               Q.      About Bitcoin being transferred to
       24     coin in 2014?
       25               A.      Yes.
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                                                                          Page 71
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      You recall that?
         3              A.      I do not recall this at all.          This
         4    was five years ago now, I am looking at the dates,
         5    no I don't.     We did a lot of e-mails to different
         6    accounts, so I do not actually recall this.
         7              Q.      Okay, do you recall Bitcoin being
         8    transferred out of the trust at any time?
         9              A.      Not to my knowledge.
       10               Q.      I thought you told me before that
       11     Tulip Trading, for example, in this situation made
       12     a Bitcoin payment in regard to a super computer?
       13               A.      Transferred out of Tulip Trading,
       14     you mean?
       15               Q.      Yes.
       16               A.      Yes, out of Tulip Trading, yes, for
       17     a super computer, yes.
       18               Q.      Okay, so you remember there were
       19     times where Tulip Trading expended Bitcoin for
       20     various purposes?
       21               A.      Yes.
       22               Q.      Would you, as the trustee of the
       23     Tulip Trust, have been involved with that?
       24               A.      Yes.
       25               Q.      Would you have had to approve that?
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                                                                            Page 72
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      Yes, but I don't believe -- at that
         3    time I don't know if I was the only trustee.             So
         4    if Denis Mayaka was a trustee as well he would
         5    have had to approve it if I wasn't available.
         6              Q.      Okay then ----
         7              A.      Or even if a Craig was a trustee
         8    then, but I don't know at that time whether he was
         9    or not.
       10               Q.      You see the next paragraph that we
       11     were just on, it says "Denariuz PTE LTD"?
       12               A.      Yes.
       13               Q.      It says -- it shows that that
       14     company received 117,959.06 Bitcoin, do you see
       15     that?
       16               A.      I see that it is written that, yes,
       17     did it say it received it?
       18               Q.      It says that the documents from
       19     that company show them receiving those same
       20     amounts as capitalisation in the company of
       21     Bitcoin, it is referring to the 117 right above
       22     that.   I am I reading that correctly?
       23                       MS. McGOVERN:      Object to the form.
       24               A.      Okay, yes, that is what it says,
       25     yes.
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                                                                          Page 73
         1                    RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.       Was that the investment or purchase
         4    of the super computer you were talking about?
         5              A.       No.   So, I actually really don't
         6    remember.      But the super computer, so the super
         7    computer was not actually with Denariuz, I don't
         8    believe it was with that company.           If you have --
         9    as I said, I don't have the company documents with
       10     me.   A particular company would have been involved
       11     with that, but I do not think it was Denariuz,
       12     I don't know.     If I had the company records in
       13     front of me I would have been able to tell you
       14     which company was involved in the super computer.
       15     But the fact is the Bitcoin would have been moved
       16     from Tulip Trading and paid to a separate company
       17     in Panama, I believe, who was actually managing
       18     the data centre, so the Bitcoin wouldn't have been
       19     moved into a company.
       20               Q.      Where would it have been moved to?
       21               A.      Well, Bitcoin would have been paid
       22     -- the Bitcoin would have been used to pay the
       23     data centre to run the super computers.
       24               Q.      Right, and you don't know who that
       25     data centre was?
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                                                                          Page 74
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      No, I don't.      There is an agreement
         3    somewhere in some of the company records it
         4    actually tells you where the -- I believe it might
         5    tell you where the data centre was, or the name of
         6    it.
         7              Q.      Okay.    Let me ask you -- if you go
         8    to tab -- the very next tab, tab 27?
         9          (Exhibit 4 was marked for identification)
       10               Q.      Miss Watts, do you have that in
       11     front of you?
       12               A.      I do, yes.
       13               Q.      Great, thank you.       At least on my
       14     copy, if everything is working smoothly, which it
       15     has so far, it is a four page document; do you see
       16     that?
       17               A.      Yes.
       18               Q.      It is -- I am going to focus on the
       19     first page.     I think, but we will confirm it as we
       20     go through, that the next three pages are the
       21     attachments or the annexures to the letter, okay?
       22               A.      Yes.
       23               Q.      Do you see that?
       24               A.      I do.
       25               Q.      This is a letter from Dr. Wright;
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                                                                          Page 75
         1                   RAMONA WATTS - CONFIDENTIAL
         2    do you see that?
         3                      MS. McGOVERN:      Object to the form.
         4    There is no authentication of this letter,
         5    Mr. Brenner.
         6    BY MR. BRENNER:
         7              Q.      Let us do this way.        Do you see
         8    this letter?
         9              A.      I see the letter, yes.
       10               Q.      Do you see the signature on that
       11     letter?
       12               A.      Barely.
       13               Q.      Okay.    Do you recognise that as
       14     your husband's signature?
       15               A.      Not really, because I can barely
       16     see it.
       17               Q.      Okay, so it is not that you are not
       18     saying it is and you are not saying it isn't, you
       19     just have trouble seeing it because of the quality
       20     of the copy?
       21               A.      Yes, I have trouble seeing it.
       22                       MS. McGOVERN:      Object to the form.
       23     Object to the form of the prior question.
       24     BY MR. BRENNER:
       25               Q.      If you look at the upper right-hand
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                                                                          Page 76
         1                    RAMONA WATTS - CONFIDENTIAL
         2    corner of the letter, do you see that?
         3               A.      I do.
         4               Q.      It has your husband's name;
         5    correct?
         6               A.      It does.
         7               Q.      It has an address; correct?
         8               A.      It does.
         9               Q.      And what is that address?
       10               A.      That address corresponds to the
       11     home address that we had at that time, that is
       12     where we were living.
       13               Q.      And Gordon NSW, is that an
       14     Australian address?
       15               A.      Yes.
       16               Q.      NSW is New South Wales?
       17               A.      That is correct.
       18               Q.      Was that a business address or home
       19     address?
       20               A.      It was a home address.
       21               Q.      Okay, that was your marital home?
       22               A.      That is correct.
       23               Q.      And you said "at that time", I take
       24     it you have moved out of that home; correct?
       25               A.      In June 2014?
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                                                                          Page 77
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.      No, some time after June 2014?
         3              A.      Yes, I mean we are now in England.
         4              Q.      Sure.    That home, you were living
         5    there in June of 2014 though?
         6              A.      I believe so, yes.
         7              Q.      And your husband was too?
         8              A.      Yes.
         9              Q.      Was that the last home that you
       10     lived in, in Australia?
       11               A.      Yes, I believe so, yes.
       12               Q.      Okay.    So when you left that home
       13     did you move to the UK?
       14               A.      That is correct.
       15               Q.      When did that happen?
       16               A.      December 2015.
       17               Q.      Through approximately the end of
       18     2015 you were living in Australia; correct?
       19               A.      That is correct.
       20               Q.      As was your husband; correct?
       21               A.      Yes -- well, he was here I think --
       22     I think he was in the UK in October and he came
       23     back.
       24               Q.      He came to the UK shortly before
       25     you?
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                                                                          Page 78
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      Yes, then he sort of travelled back
         3    and forth a little bit, but he was based here.
         4              Q.      Okay, so through the end of 2015
         5    you stayed in Australia with the kids?
         6              A.      That's correct.
         7              Q.      And then you reunited as a family
         8    end of 2015, beginning of 2016?
         9              A.      That's right.
       10               Q.      When you left the home in December
       11     2015, this is the -- I will call it the St. Johns
       12     Avenue home, okay?
       13               A.      Hmm hmm.
       14               Q.      When you left that home, did you
       15     sell the home?
       16               A.      No, we were renting.
       17                       MR. SAOUL:     Can I ask, Mr. Brenner,
       18     where you see the relevance of these questions and
       19     how they fit into the categories you are permitted
       20     to ask questions about?
       21                       MR. BRENNER:      Sure, and
       22     I appreciate that.       What I want you to understand
       23     is that the defendant is taking the position
       24     regarding certain documents that they are
       25     forgeries or hacks.       In particular the defendant
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                                                                          Page 79
         1                   RAMONA WATTS - CONFIDENTIAL
         2    yesterday took the position that -- you know what,
         3    I do not want to do this in front of the witness.
         4    If you want to have the witness step out I am
         5    happy to do it.
         6                      MR. SAOUL:     If you could identify
         7    for me which category within the English court
         8    order your questions fall under I am prepared to
         9    -- I am not asking you for some detailed
       10     explanation of the justification for your question
       11     in the wider litigation.        My concern is the
       12     English court order.       I just at the moment do not
       13     understand how the question that you just asked
       14     falls within the categories which you are, as a
       15     matter of English law, permitted to ask questions
       16     about.    If you disagree then just identify for me
       17     which bit of the order.        Otherwise it may be that
       18     it does not stem out of this order we should just
       19     move on.
       20                       MR. BRENNER:      Well, we cannot move
       21     on.   I will tell you that it goes to statements by
       22     Dr. Wright, which would include both written and
       23     oral statements.      This is one such statement, or
       24     at least it purports to be.         I am trying to
       25     ascertain, as you heard Ms. McGovern object, I am
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                                                                           Page 80
         1                   RAMONA WATTS - CONFIDENTIAL
         2    trying to ascertain the authenticity of the
         3    statement.
         4                      MR. SAOUL:     So just help me, I do
         5    not want to take up too much of your time,
         6    Mr. Brenner, statements made by Mr. Wright about
         7    what?   Because you drafted the form of words, or
         8    your legal team drafted the form of words that now
         9    finds itself in the English order, you have
       10     identified the topics in category (b), which is
       11     the relevant category here, so statements about
       12     what?
       13                       MR. BRENNER:      This one happens to
       14     be statements specifically about the trust and the
       15     Bitcoin, which are the centrepiece of everything
       16     she is here to testify about.
       17                       MR. SAOUL:     Okay.    Perhaps you can
       18     ask your question and we can understand how it
       19     concerns the trusts or Bitcoin.
       20                       MR. BRENNER:      I think if you read
       21     it, it says trust and Bitcoin.
       22                       MR. SAOUL:     I agree.
       23                       MR. BRENNER:      Okay, look,
       24     I understand you have got to do your job.             I am
       25     happy for you to do your job.          When I said I would
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                                                                           Page 81
         1                   RAMONA WATTS - CONFIDENTIAL
         2    try to finish by 7, its was based on no
         3    unnecessary delays.       You and I are not going to
         4    agree on this.      You have got to make a decision of
         5    what you want to do.       This goes to the absolute
         6    core of her testimony in the case.           So I don't
         7    mean to rush you, but this is exactly the type of
         8    thing that is going to make us not finish.              We
         9    cannot spend 15 minutes debating each other.
       10                       MR. SAOUL:     Mr. Brenner, I have
       11     been very careful not to interrupt you more than
       12     necessary.
       13                       MR. BRENNER:      I agree.
       14                       MR. SAOUL:     The fact that I am
       15     being polite should not be misunderstood as a lack
       16     of conviction or firmness on the position here.
       17     Okay?
       18                       MR. BRENNER:      Yes.
       19                       MR. SAOUL:     Right.     I am going to
       20     allow the witness to answer, but I expect the
       21     questioning quickly to return to the topics that
       22     we are expecting them to cover.
       23                       MR. BRENNER:      Okay.    I do not
       24     mistake anything you are doing for lack of
       25     firmness.    I fully trust that you are honestly and
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                                                                          Page 82
         1                   RAMONA WATTS - CONFIDENTIAL
         2    faithfully trying to discharge your duties as
         3    counsel to Miss Watts, and nothing I say should
         4    indicate otherwise.        But all I am trying to do is
         5    say that at some point we are going to each have
         6    to make our own calls, because otherwise we are
         7    going to spend too much time debating things.
         8    Okay?
         9                      MR. SAOUL:     Agreed.
       10     BY MR. BRENNER:
       11               Q.      So where I was, Miss Watts -- I am
       12     sorry, I am just going to get the screen back
       13     up -- I was trying to understand from you is what
       14     happened to the home after you left it.            Okay.
       15     What you said before we took a slight hiatus was
       16     that you were renting; is that right?
       17               A.      Yes, that is correct.
       18               Q.      So you were a renter in this home?
       19               A.      That is correct.
       20               Q.      When you left what did you do with
       21     your stuff?     Did you clean out the home?
       22               A.      Yes, because we were moving to the
       23     UK.
       24               Q.      Right.    Did you bring that stuff
       25     with you to the UK?
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                                                                          Page 83
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      The things that were in the house?
         3               Q.      Yes?
         4               A.      Yes.
         5               Q.      Did you bring computers with you to
         6    the UK?
         7               A.      The work computers, no, they were
         8    in the work office, because we still had the
         9    office running at that time and we still had staff
       10     as well.
       11               Q.      Perfect.     This will help your
       12     counsel's, I think objection, which is -- I am
       13     only interested in the work stuff, I am not trying
       14     to figure out what you did with the pictures of
       15     your children and things that are of sentimental
       16     or personal importance to you.          I have no interest
       17     to that, I am not going to enquire about that,
       18     okay?
       19               A.      Sure.
       20               Q.      To the extent there were work
       21     things in the home, concerning your work with
       22     Dr. Wright, you took those with you to London;
       23     correct?
       24               A.      Well, they were not really work
       25     things in the home, because everything was on the
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                                                                          Page 84
         1                    RAMONA WATTS - CONFIDENTIAL
         2    server.
         3               Q.      Perfect.    So, the server was where?
         4               A.      In the office in Sydney.
         5               Q.      Okay, and when you left, I think
         6    you mentioned this already, but when you left
         7    Australia at the end of 2015 you still maintained
         8    the office in Sydney; correct?
         9               A.      That is correct.      Well, we did not
       10     maintain it, but the office staff maintained it.
       11               Q.      Okay, folks that worked for you?
       12               A.      Yes.
       13               Q.      And how long did that remain the
       14     case, how long did that office stay up and
       15     running?
       16               A.      I don't recall.       It might have been
       17     six months perhaps.
       18               Q.      And then what happened to that,
       19     what happened to the office?
       20               A.      It was closed down.
       21               Q.      Then -- so there were obviously
       22     work things at the office; correct?
       23               A.      That is correct.
       24               Q.      What happened with the -- for
       25     example with the server; what happened with the
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                                                                          Page 85
         1                   RAMONA WATTS - CONFIDENTIAL
         2    server when you shut down the office in Australia?
         3              A.      I do not know, I don't know what
         4    the system administrator did.          I actually really
         5    don't know.
         6              Q.      Okay.     When you had moved to the
         7    UK, you and Dr. Wright had moved to the UK and the
         8    business was still running, or the office was
         9    still running in Australia, did you have a
       10     connection to the server in the UK?
       11               A.      I don't know.      I am not very
       12     technical, I really do not know.
       13               Q.      Okay, you picked an interesting
       14     spouse to not be very technical, but that is
       15     normally things how these work.
       16               A.      I know.
       17                       MS. McGOVERN:      I am going to object
       18     to the statement and to the form of that comment
       19     on the record, just strike it.
       20                       MR. BRENNER:      Okay, you can strike
       21     it.   My joke was obviously very offensive to you.
       22     It was meant to be humorous, Miss Watts, it was
       23     not a ----
       24               A.      I understand.
       25               Q.      I know you do, but Ms. McGovern did
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                                                                          Page 86
         1                   RAMONA WATTS - CONFIDENTIAL
         2    not.   Let us go back to the letter.
         3                      MS. McGOVERN:      Can you refrain from
         4    making those kinds of statements on the record, it
         5    is unnecessary.
         6                      MR. BRENNER:      Thank you Ma'am.
         7    BY MR. BRENNER:
         8              Q.      Let's go to the letter.         The letter
         9    is from June 2014; correct?
       10               A.      That is what it says here.
       11               Q.      Okay.    And it purports to be from
       12     Dr. Wright to Miss Uyen; correct?
       13               A.      I don't know.      I really don't know.
       14     We had quite a few problems in 2014, we had our
       15     computers hacked, our personal computers at home
       16     and the computers in the office.          So quite
       17     frankly, there are lots of e-mails back and forth,
       18     even to me, even from me, that were not mine.              We
       19     discovered that in 2014/2015 I think.
       20               Q.      This letter -- and I understand
       21     your testimony regarding what you just said --
       22     this letter, if you look at the second page, which
       23     is titled "annexure 1"?
       24               A.      Yes.
       25               Q.      The first thing it says is, it
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                                                                          Page 87
         1                    RAMONA WATTS - CONFIDENTIAL
         2    says:   "Software deal MJF Mining Services WA PTY
         3    LTD"?
         4               A.      I do.
         5               Q.      It does it say that Bitcoin and the
         6    amount of 358,852.45 was transferred to MJF Mining
         7    Services?
         8                       MS. McGOVERN:     Object to the form.
         9               A.      I actually really don't know what
       10     it says.    I didn't write it.
       11     BY MR. BRENNER:
       12               Q.      Regardless of what it says, are you
       13     aware of Bitcoin ever being transferred to MJF
       14     Mining Services by Tulip Trading?
       15               A.      I don't know if it was Tulip
       16     Trading but Craig did tell me that he was trying
       17     to buy, I think it was gold, from somewhere called
       18     Mark Ferrier.
       19               Q.      That is, the MJF initials is Mark
       20     Ferrier; correct?
       21               A.      I presume so.
       22               Q.      The second is "IAAS deal agreement
       23     with Signia/HighSecured."        Do you see that?
       24               A.      I do.
       25               Q.      Is that the data centre that you
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                                                                          Page 88
         1                    RAMONA WATTS - CONFIDENTIAL
         2    were referring to in your earlier answers?
         3               A.      So, HighSecured is not a data
         4    centre.     HighSecured is a law firm.
         5               Q.      I understand.
         6               A.      So I don't think it says the data
         7    centre, but I believe that the deal I talked
         8    about, in regards to the data centre, I think it
         9    was the IAAS deal, but I cannot remember.
       10               Q.      And does it sound about right that
       11     111,000 Bitcoin was transferred to IAAS by Tulip
       12     Trading?
       13               A.      I really have no idea, I don't
       14     know.
       15               Q.      The last one says "loan repayment"
       16     do you see that?
       17               A.      I see that.
       18               Q.      It says 117,956.06?
       19               A.      I see the numbers.
       20               Q.      Right, if you -- do you know what
       21     that loan repayment was; do you know what that is?
       22               A.      I have no idea.
       23               Q.      Do you believe what I have shown
       24     you as exhibit 4, I believe, is hacked document?
       25                       MS. McGOVERN:      Objection ----
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                                                                          Page 89
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.      You don't know?
         4                      THE COURT REPORTER:        I am sorry,
         5    you cut out.     Is "an accurate document"?
         6                      MR. BRENNER:      "Hacked".
         7                      MS. McGOVERN:      Object to the form
         8    of the question.
         9    BY MR. BRENNER:
       10               Q.      You can answer.
       11               A.      I really don't know.
       12               Q.      Okay.
       13               A.      As I said, I have reason to doubt
       14     many documents because we were hacked so -- and
       15     I didn't write this one, so I really don't know.
       16               Q.      Okay.    So, let me go back to the
       17     trust formation, 2011.        Do you know if there was a
       18     trust document drawn up at that time?
       19               A.      Yes.
       20               Q.      Was there?
       21               A.      Yes, definitely.
       22               Q.      Okay.    And did that -- that named
       23     you as a trustee; correct?
       24               A.      Yes.
       25               Q.      Did it also name Dave Kleiman as a
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                                                                          Page 90
         1                    RAMONA WATTS - CONFIDENTIAL
         2    trustee?
         3               A.      No, Dave Kleiman was never a
         4    trustee.
         5               Q.      Okay.   For any of the Tulip trusts?
         6               A.      No, never.
         7               Q.      Did Dave -- Dave Kleiman, when
         8    I say Dave -- I will try to say Dave Kleiman --
         9    did Dave Kleiman hold any keys to any of the
       10     Bitcoin?
       11               A.      To the Bitcoin, no.        He held keys
       12     but they weren't to Bitcoin.
       13               Q.      What were the keys to?
       14               A.      So he held key slices that were
       15     associated with a -- it is quite complicated.              So
       16     these are cryptographic keys, I believe, they are
       17     key slices to a key.       And this key would actually
       18     open electronic files, so I know that Craig had
       19     tasked Dave with sort of these key slices to be
       20     returned to him, but the key slices were opening
       21     electronic files and in the files there were
       22     I think Craig's notes, algorithms, formula, that
       23     sort of stuff.
       24               Q.      So Dave's keys were not to unlock
       25     any Bitcoin?
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                                                                          Page 91
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      No.
         3              Q.      Correct?
         4              A.      Correct, Dave's keys were not to
         5    unlock Bitcoin, no.
         6              Q.      Did your husband have        -- putting
         7    aside Bitcoin, did he have money in trusts?
         8              A.      I don't think so.
         9              Q.      Okay.    Let us go to tab number 35.
       10     I think that is the last tab.
       11                       THE EXAMINER:      That will be exhibit
       12     5.
 H     13          (Exhibit 5 was marked for identification)
       14     BY MR. BRENNER:
       15               Q.      Miss Watts, do you have that in
       16     front of you?
       17               A.      I do.
       18               Q.      That is a one page document, do you
       19     see that?
       20               A.      I do.
       21               Q.      I do not have a Bates stamp on
       22     that.   I am going to represent to you that,
       23     through your counsel, you produced to us 23
       24     documents on Monday, I think, do you recall that;
       25     you are aware of that?
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                                                                          Page 92
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      I am aware that my counsel had
         3    access to my e-mails, yes.         I don't know whether
         4    they ----
  CC
         5              Q.      Okay.    This one was in the
         6    documents I have given to you.          Actually it was
         7    Watts 1, the first document.
         8              A.      Okay.
         9              Q.      I am just doing that for the
       10     record, it did not print with a Bates stamp.             I am
       11     not sure why it is.       Maybe there was not one put
       12     on.   Okay?    So this is -- first of all, is this an
       13     e-mail that you -- or a copy of an e-mail that you
       14     wrote on or about May 28, 2012?
       15               A.      Frankly, it was eight years ago,
       16     I am looking at the date.        I don't recall the
       17     exact writing of it.       But I am reading it now and
       18     I recall the content definitely.          I don't recall
       19     writing it then, but I recall having a huge fight
       20     with Craig in 2012 about this exact topic.
       21               Q.      Okay, so tell me what the fight was
       22     about?
       23               A.      I didn't understand what he was
       24     trying to do.
       25               Q.      What didn't you understand?
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                                                                          Page 93
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      So in 2012 I was working two jobs,
         3    we didn't have a lot of money, he was working day
         4    and night and it was financially very difficult
         5    for us.     I had no idea really what Bitcoin was all
         6    about.     We discussed the trust, he said, you know,
         7    "This is my life's work, we're going to have --
         8    make sure there are certain rules to this trust so
         9    that the Bitcoin can only be spent for certain
       10     things".    In 2012 here I am not being able to put
       11     decent food on the table for my kids and I'm,
       12     saying, you know, "If there's Bitcoin why can't we
       13     just spend it?"
       14               Q.      Okay.    So in 2011 you were already
       15     the trustee for Tulip Trust, which is holding
       16     shares in the company called Wright International,
       17     which has a substantial amount of Bitcoin; is that
       18     fair?
       19               A.      Yes, it is fair, but you have to
       20     understand that in 2011 I really didn't understand
       21     what Bitcoin was.      He said to me it was some sort
       22     of digital cash, and it was his thing and he said
       23     this is, you know, something that we will be using
       24     in the future to fund other companies, to promote
       25     Bitcoin, to make it legal again because it was use
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                                                                          Page 94
          1                  RAMONA WATTS - CONFIDENTIAL
          2   used for nefarious purposes in 2011.           But in 2012,
          3   as I said, things were getting pretty desperate
          4   and I said, "Whatever it is in there, you know,
          5   you are telling me you cannot touch it, it's
          6   ridiculous, so give me some sort of explanation".
 H        7             Q.      Let's go to the actual e-mail,
          8   okay?
          9             A.      Yes.
         10             Q.      I am going to focus on, I guess it
         11   is technically the third paragraph that starts
         12   with the word "So"?
         13             A.      Yes.
         14             Q.      Your understanding, when wrote this
         15   e-mail, was that there was a lot of money in the
         16   trust and that Dave holds "keys" and others do as
         17   well; correct?
         18             A.      But my understanding was wrong,
         19   that is the thing.       So I didn't actually
         20   understand.     So I was just spewing out whatever
         21   I felt at that time.       I was very angry.
     H   22             Q.      Okay.    At this point you thought
         23   your husband had money in a trust; correct?
         24             A.      No, I don't know what I thought, to
         25   be honest with you, I really don't know what
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                                                                          Page 95
         1                    RAMONA WATTS - CONFIDENTIAL
  H      2    I thought.      I just didn't understand.        I don't
         3    know if you have ever been in a fight with your
         4    wife, but your wife I am sure will have said
         5    things that she doesn't mean and doesn't
         6    understand, and that is exactly what this is
         7    about.     He set me straight though, we had many,
         8    many conversations after this, many more fights.
         9               Q.     Okay, and how did he set you
       10     straight?
       11               A.      Well, he explained exactly what was
       12     going on.
       13               Q.      And he explained that ----
       14               A.      Okay, so he ----
       15               Q.      Go ahead.
       16               A.      He explained that the keys that
       17     Dave had were actually keys to -- there were key
       18     slices to another key.        And if you had all the key
       19     slices together then you would have this one key,
       20     this key, that would be able to unlock an
       21     electronic file.      I believe there were several of
       22     these, so there would be several electronic files.
       23     He said in these electronic files, there was his
       24     notes, all his notes, that he had written about
       25     Bitcoin.    So the start of Bitcoin, how it started,
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                                                                          Page 96
         1                   RAMONA WATTS - CONFIDENTIAL
  H
         2    why, the purpose behind it.         It had formula and
         3    algorithms.     The formula and algorithms would
         4    allow him to then calculate the private keys to
         5    the Bitcoin that was in Wright International.
         6              Q.      At Wright International         ----
         7              A.      Basically what he was saying was
         8    that he didn't have access to it because he didn't
         9    have the private keys, because he and Dave had had
       10     an understanding where Dave had the keys to the
       11     electronic file, and so Craig didn't have the
       12     formula to calculate the keys for the Bitcoin.
       13     Then he said, "And even if I did, I couldn't do
       14     anything about it because it doesn't fit the
       15     purpose of the trust".
       16               Q.      Okay.    At the time you wrote -- by
       17     the way, this is an e-mail you found in your
       18     computer; is that right, recently?
       19               A.      Well, I didn't find it.         My lawyers
       20     did.
       21               Q.      Okay.    But it comes from your own
       22     device; correct?
       23               A.      I believe so.
       24               Q.      At the time, in May 2012, what --
       25     were you a director of business services at
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                                                                          Page 97
         1                    RAMONA WATTS - CONFIDENTIAL
         2    Panoptocrypt?
         3               A.      I believe I was.
         4               Q.      What was Panoptocrypt?
         5               A.      Panoptocrypt was a cyber security
         6    company, a forensics company.          So Dave was doing
         7    -- not Dave -- Craig was doing work on forensics,
         8    I am not sure exactly what he was working on, but
         9    we didn't have a lot of money coming in from
       10     Panoptocrypt at that time.         There was scada(?) and
       11     forensics that he was doing.         I don't remember
       12     what else though.
       13               Q.      Was Dave working with Panoptocrypt?
       14               A.      No, I do not think so, no.
       15               Q.      Do you have any reason to dispute
       16     that this is an authentic e-mail that you wrote on
       17     about May 28, 2012?
       18               A.      I don't know.      As I said, I don't
       19     recall writing this e-mail.         I recall the content
       20     of it very much though and I recall the time,
       21     because I remember that in about 2012, mid-2012
       22     Craig and I had several very, very big fights over
       23     this exact thing.
       24               Q.      Okay.    Let's talk about Dave
       25     Kleiman.    Did you ever meet Dave Kleiman?
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                                                                          Page 98
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.      Not in person, no.
         3              Q.      Did you ever speak with Dave
         4    Kleiman?
         5              A.      Yes, I did.
         6              Q.      Was that by telephone or by some
         7    sort of video connection, or both?
         8              A.      I think mostly Skype.         I don't know
         9    if it was Skype, but yes, a video connection.
       10               Q.      In your mind you recall what he
       11     looked like?
       12               A.      Yes.
       13               Q.      Okay.    Dave Kleiman was a close
       14     friend of your husband's?
       15               A.      Yes, he was his best friend.
       16               Q.      Was he a partner of your husband's?
       17               A.      In terms of work?       No.
       18               Q.      Was it is your testimony that they
       19     did -- strike that.       Did they work together?
       20               A.      I think so, yes.       I mean, Dave
       21     edited a lot of Craig's papers, I think they wrote
       22     a book together.      Yes, I think they did.        They
       23     must have, they wrote a book together.            I think
       24     they wrote several books together, but I can't
       25     remember.
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                                                                           Page 99
         1                    RAMONA WATTS - CONFIDENTIAL
MPT
         2               Q.     So when you answered my question
         3    that they were not partners in a work sense, what
         4    did you mean?
         5                       MS. McGOVERN:     Object to the form.
         6               A.     Well, I suppose it depends on what
         7    a partner means.      They could have been.        I mean,
         8    I just said to someone the other day, "Do you want
                                                              n
         9    to partner up and go to Costco and buy toilet
       10     paper and split it up between us?"           It depends how
       11     you use the word.
       12                       MR. SAOUL:     I am going to make an
       13     objection from an English perspective, Mr.
       14     Brenner, which is that you asked her if they were
       15     work partners.      So I think the question is what
       16     did you mean by that expression, which the witness
       17     was adopting.
       18                       MR. BRENNER:      Okay.    I am not sure
       19     that that is right, but I will clean it up.             No
       20     problem.
       21     BY MR. BRENNER:
       22               Q.      The work that your husband and
       23     Mr. Kleiman did together was not really analogous
       24     with going to Costco and buying toilet paper, is
       25     it?
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                                                                         Page 100
         1                    RAMONA WATTS - CONFIDENTIAL
         2                       MS. McGOVERN:      Object to the form.
         3               A.      No, but I am saying I use that word
         4    very loosely.
         5    BY MR. BRENNER:
         6               Q.      Okay, fair enough.
         7               A.      I use the word "partner" very
         8    loosely.
  L      9               Q.      They did work together on matters
        10    related to Bitcoin; correct?
        11              A.       I don't think that the book that
        12    they wrote together had anything to do with
        13    Bitcoin.     I think it was more a forensic one, but
        14    I am not sure.
        15              Q.       Go ahead.     That is not my question,
        16    not asking about the book.         I my question is,
        17    and I will try to be clear, your husband and Dave
        18    did work together on matters relating to Bitcoin?
        19              A.       I don't know.      Can you be more
        20    specific?
        21              Q.       No, I cannot.
        22              A.       Well, then, I cannot answer that
        23    question.
        24                       MS. McGOVERN:      I object to the form
        25    of the question.
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                                                                            Page 101
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.       Did your husband write the Bitcoin
         4    white paper?
         5              A.       Yes, he did.
         6              Q.       Did Dave help him with that?
         7              A.       No, he didn't.
         8              Q.       How do you know that?
         9              A.       Craig told me.      When I met him in
        10    2010 he said, "I've written something, I have
        11    created something, I've done something".             Plus
        12    I have had many conversations with Dave.
        13              Q.       Maybe my word "work" is bad.          Do
        14    you know if Dave helped edit the Bitcoin white
        15    paper?
        16              A.       I don't know if he edited it, no,
        17    I don't know.
        18              Q.       You say you had conversations with
        19    Dave about that issue.        What were the those
        20    conversations?
        21              A.       About which specific issue?
        22              Q.       Well, I asked you how did you know
        23    that Dave did not work with your husband on
        24    Bitcoin, and you said one of the reasons is that
        25    you had conversations with Dave.           What were those
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                                                                         Page 102
         1                   RAMONA WATTS - CONFIDENTIAL
         2    conversations?
         3              A.       He said things to me like, "Your
         4    husbands is brilliant, what he's come up with,
         5    he's brilliant", that sort of stuff.
         6              Q.       Anything else?
         7              A.       Yes, "Look after him, take care of
         8    him, he's a" -- beep beep beep.           He said some
         9    nasty things about him, but in a very joking
        10    manner, absolutely.
        11              Q.       Sure.    Did he ever said to you that
        12    he had no involvement in Bitcoin; did Dave ever
        13    say that?
        14              A.       That would be a very strange thing
        15    to say to me, "Hi Ramona, I have no involvement in
        16    Bitcoin".
CC-NQ   17              Q.       I agree.
        18              A.       That would be a very strange thing
        19    to say to me.      No.
        20              Q.       I agree it would be strange.          That
        21    is why I am asking you if you are saying he said
        22    that?
        23                       MS. McGOVERN:      Object to the form.
        24              A.       I never said that he said that the
        25    all.
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                                                                         Page 103
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.       Okay.
         4              A.       I said that he said to me, "Ramona
         5    look after Craig, he's brilliant, if you see what
         6    he's done he is brilliant.         He is a pain in the
         7    arse, but you need to look after him".
         8              Q.       Go back to, I think last exhibit we
         9    were on, I think it was exhibit 5.           Did Craig ever
        10    explain to you why Dave was asked to hold the key
        11    slices you testified about?
        12              A.       Which one am I looking at, sorry,
        13    exhibit 5?
        14              Q.       It is the first tab, yes, sure the
        15    first tab ----
        16                       MR. SAOUL:     The last tab, tab 35.
        17                       MR. BRENNER:     No -- yes, you are
        18    right, tab 35.      Yes, my bad.
        19              A.       That e-mail?
        20    BY MR. BRENNER:
        21              Q.       Yes, on the top of my notebook.
        22              A.       Yes, sorry what was your question?

   CC
        23              Q.       It would be great if I could
        24    remember it.      My question was, did Craig ever tell
        25    you why Dave was asked to hold key slices related
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                                                                         Page 104
         1                   RAMONA WATTS - CONFIDENTIAL
         2    to the trust?
         3              A.       The key slices were not related to
         4    a trust at all.      The key slices were related to
         5    electronic files that has Craig's notes in it.              It
         6    had nothing to do with the trust.
         7              Q.       Okay.    So the key slices only were
         8    to files that included Craig's notes?
         9              A.       Yes.
        10              Q.       And did those notes have anything
        11    to do with the ability to access Bitcoin?
        12              A.       So, those notes were the beginnings
        13    of Bitcoin and how he had written it and why he
        14    had written it and all his research, and in those
        15    notes there were formulas and algorithms on how
        16    you calculate private keys.

   L    17              Q.       Right, but in those notes was the
        18    ability to -- was it in those notes the private
        19    keys to the Bitcoin that had been mined that was
        20    now part of Wright International?
        21                       MS. McGOVERN:      I am going to object
        22    to the form of the question.
        23    BY MR. BRENNER:
        24              Q.       You can answer.
        25              A.       So those notes had nothing to do
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                                                                         Page 105
         1                   RAMONA WATTS - CONFIDENTIAL

   L     2    with private keys.       Those notes were all his notes
         3    on how he created Bitcoin and all the research and
         4    all the formula and algorithms.
         5              Q.       So the key slices or key slice
         6    which Dave held one of actually had nothing to do
         7    with private keys to Bitcoin; correct?
         8                       MS. McGOVERN:      I object to the form
         9    of the question.       That is not the testimony that
        10    has been given.
        11                       MR. BRENNER:     Ms. McGovern, please.
        12    The words are "object to the form".            Anything more
        13    is unacceptable.
        14                       MS. McGOVERN:      You are misstating
        15    the record.
        16                       MR. BRENNER:     Ms. McGovern, that is
        17    unacceptable.      The objection is to the form and
        18    you know better.
        19                       MS. McGOVERN:      Mr. Brenner, I am
        20    objecting to this form of questioning.
        21                       MR. BRENNER:     That is the end,
        22    thank you.     Your objection is noted.
        23    BY MR. BRENNER:
        24              Q.       Miss Watts, subject to that
        25    objection, the notes -- Craig's notes that Dave
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                                                                         Page 106
         1                   RAMONA WATTS - CONFIDENTIAL
         2    held a key slice, or one of the key slices to,
         3    those notes had nothing to do with the private
         4    keys to the Bitcoin that was being held by Wright
         5    International.      Is that not correct?
         6                       MS. McGOVERN:      Object to the form.
         7              A.       So, Mr. Brenner, I really don't
         8    know because I didn't write those notes and he
         9    wrote them before I met him.          So I couldn't answer
        10    that question.
        11    BY MR. BRENNER:
        12              Q.       Are those notes still in an
        13    encrypted file?
        14              A.       Yes.
        15              Q.       The encrypted file that you helped
        16    your husband unlock recently, through the help of
        17    Mr. Mayaka, were those the notes that Dave held
        18    the key slice to?
        19                       MS. McGOVERN:      Object to the form.
        20              A.       So I did not unlock anything with
        21    Craig.    We were sent things from Denis Mayaka.
        22    BY MR. BRENNER:
        23              Q.       The encrypted file that Dave held a
        24    key slice to, it is your testimony that it is
        25    still encrypted?
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                                                                         Page 107
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes, and I am not sure if it is one
         3    file or several files, to be honest with you,
         4    I actually really don't know.          I think there are
         5    several encrypted files.         Dave doesn't, or didn't
         6    hold one key Dave held several keys, and he was
         7    supposed to be sending them back in 2020.
         8              Q.       Supposed to be sending them back
         9    via a bonded courier; correct?
        10              A.       I do not know how he was supposed
        11    to send them back.
        12              Q.       And regardless of how he was
        13    supposed to send them back, that still has not
        14    happened; correct?
        15              A.       We have received some things, I do
        16    not know what they are though.          We sent them to
        17    the lawyers, but I don't think we received
        18    everything.
        19              Q.       What did you receive?
        20              A.       Funny strings of numbers.         I don't
        21    know what it was.
        22              Q.       Who from?
        23              A.       I don't know, from a very strange
        24    e-mail, a very strange e-mail.          Not anyone I knew.
        25              Q.       When was that?
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                                                                         Page 108
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Perhaps in January.
         3              Q.       You received an e-mail in January
         4    with very strange numbers?
         5              A.       Hmm hmm.
         6              Q.       Did use turn those over to your
         7    lawyers?
         8              A.       Yes, right away.
         9              Q.       How many e-mails did you receive,
        10    with strange numbers?
        11              A.       I think only one.
        12              Q.       You did not know the person who it
        13    was from, was there someone identified as the
        14    sender?
        15              A.       It was not a name, I don't think,
        16    no, it was some strange made up thing, no.
        17              Q.       Do you recall what it was?
        18              A.       No, I don't but my lawyers have it,
        19    the US lawyers will have it.
        20              Q.       Okay.
        21                       MR. BRENNER:     Has that been turned
        22    or to us, Ms. McGovern?
        23                       MS. McGOVERN:      Yes it has,
        24    Mr. Brenner.      Those were the anonymous e-mails
        25    that were sent to you last year.
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                                                                          Page 109
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.       Okay, so Miss Watts, you just told
         4    me you received things in January; correct?
         5              A.       I said I don't remember.
         6              Q.       Okay.
         7              A.       I said I don't remember when
         8    I received them.       I received lots of e-mails, I do
         9    not know when I received them.
        10              Q.       So it may have been as far back as
        11    last June, is that your testimony?
        12              A.       No, I don't think so.
        13              Q.       Right, it was this year, wasn't it,
        14    ma'am?
        15              A.       I don't remember.       It could have
        16    been December, it could have been January.             It
        17    would not have been so far back in June,
        18    definitely not.
        19              Q.       Okay.
        20                       MS. McGOVERN:      I did just pose an
        21    objection to the last question or rather
        22    statement.     If it was a question that was made,
        23    Mr. Brenner, I would like to make it clear on the
        24    record, so there is no confusion here, that
        25    anything that has been received with respect to
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                                                                         Page 110
         1                   RAMONA WATTS - CONFIDENTIAL
         2    testimony about anonymous receipt of information
         3    related to strange numbers, was produced to
         4    plaintiffs upon receipt.
         5                       MR. BRENNER:     Okay.
         6    BY MR. BRENNER:
         7              Q.       Miss Watts, how many times would
         8    you estimate -- I know it is hard, but I am just
         9    trying to get a general sense -- did you speak
        10    with Dave Kleiman?
        11              A.       I don't -- I really couldn't
        12    estimate, I don't know.        I, mean, he was often
        13    talking to Craig on Skype and I would walk in on a
        14    regular basis.      So I couldn't put a number to it.
        15              Q.       Okay.    How often do you think your
        16    husband was speaking to Dave Kleiman?
        17              A.       I don't know.
        18              Q.       Is it fair to say that they spoke
        19    about work sometimes?
        20              A.       I wasn't always in the room when
        21    they spoke.     A lot of times they were just
        22    talking, just general "how are you doing", sort of
        23    conversations.      A lot of times Craig was very
        24    frustrated with him, I know that, there was a lot
        25    of raised voices.
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                                                                         Page 111
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Were there some times when they
         3    were talking about work, or you do not recall any
         4    time they were talking about work?
         5              A.       I don't know, I wasn't a actually
         6    listening to the conversations.
         7              Q.       Were there times when you yourself
         8    had conversations with Mr. Kleiman that your
         9    husband was not part of?
        10              A.       Yes, if Craig walked out of the
        11    room.
        12              Q.       And what would you guys talk about?
        13              A.       Mostly about Craig.       Mostly Dave
        14    would be saying, you know, "I know he's difficult
        15    but you just have to hang in there because what
        16    he's doing is pretty amazing and pretty remarkable
        17    and you really need to support him".            He was a
        18    really good listener.
        19              Q.       Dave was?
        20              A.       Yes.
        21              Q.       Okay.    Did you ever talk to Dave
        22    about the Tulip Trust?
        23              A.       No.
        24              Q.       Did you ever talk to Dave about the
        25    Bitcoin that was mined by Wright International?
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                                                                         Page 112
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      No.
         3               Q.      Did you ever talk to Dave about
         4    Bitcoin that was purchased by Tulip Trading?
         5               A.      No.
         6               Q.      Let's take our break.        I am about
         7    to change subject.
         8                       THE EXAMINER:      So maybe we should
         9    have a break for five minutes or so, if that suits
        10    you.
        11                       THE WITNESS:     Sure.
        12                       MR. BRENNER:     If I could just --
        13    one other thing.       Can you let me know when you
        14    guys are going to want to take the little more
        15    extended break for lunch?
        16                       THE WITNESS:     I'm okay, I don't
        17    need it.     It is up to you guys.        I don't mind.
        18                       MR. SAOUL:     After the next one,
        19    3 o'clock?
        20                       MR. BRENNER:     After the next hour?
        21                       MR. SAOUL:     Yes.
        22                       MR. BRENNER:     Okay, whatever you
        23    guys want is fine with me.
        24                       THE EXAMINER:      I think it will be
        25    your lunch and soon be our tea.
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                                                                         Page 113
         1                     RAMONA WATTS - CONFIDENTIAL
         2                        MR. BRENNER:    Yes, okay.
         3                        THE EXAMINER:     So let's go off the
         4    record and have a five minute break.
         5                        THE COURT REPORTER:      We are going
         6    off the record at 2.10 p.m.
         7                   (A short break off the record
         8                     from 2.10 p.m. to 2.17 p.m.)
         9                        THE COURT REPORTER:      We are back on
        10    the record. It is 2.17 p.m.
        11    BY MR. BRENNER:
        12              Q.       Miss Watts, let me tie up a couple
        13    of loose ends from where we were, and then we will
        14    switch topics in a little bit, okay?
        15              A.       Sure.
        16              Q.       I had asked you if you could
        17    estimate for the amount of times you had spoken to
        18    Mr. Kleiman and you told me it was a long time ago
        19    and you really couldn't give me an estimate; is
        20    that fair?
        21              A.       Yes, I don't remember now many
        22    times.    As I said, I walked in and out a lot when
        23    they were chatting.
        24              Q.       That is what I was going to say.
        25    It happened rather frequently that you would walk
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                                                                         Page 114
         1                    RAMONA WATTS - CONFIDENTIAL
         2    in and your husband would be talking to
         3    Mr. Kleiman; correct?
         4               A.      There were times, I don't know how
         5    many times, I don't know if it was frequent, but
         6    they were chatting, yes.
         7               Q.      Okay.    Was that over the course of
         8    -- let me ask you this, and again I don't mean to
         9    pry, but I am just trying to ascertain what you
        10    know.    You were married in 2013, right?
        11              A.       Yes.
        12              Q.       And I am just trying to figure out
        13    where you were.      Were you living with Dr. Wright
        14    before that?
        15              A.       Yes.
        16              Q.       Okay, when did that start?
        17              A.       2011.
        18              Q.       So from the period of 2011 -- and
        19    you understood that Mr. Kleiman died in 2013;
        20    correct?
        21              A.       Yes.
        22              Q.       So for that two year period there
        23    were times where you walked in and you husbands
        24    was talking to Mr. Kleiman; correct?
        25              A.       Yes.
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                                                                         Page 115
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       There were times when your husband
         3    would be talking to Mr. Kleiman and he would walk
         4    out and you would just talk to Mr. Kleiman;
         5    correct?
         6              A.       That is correct.
         7              Q.       Were there ever times where you
         8    initiated the contact yourself to Mr. Kleiman?
         9              A.       No.
        10              Q.       Were there times when Mr. Kleiman
        11    initiated the contact to you?
        12              A.       No.
        13              Q.       Okay.    So your conversations were
        14    either as part of a conversation with you and your
        15    husband and Mr. Kleiman, or times when your
        16    husband stepped out and you would have the
        17    conversation?
        18              A.       Yes, he was my husband's best
        19    friend.    I had no reason to just call him.
        20              Q.       Sure.    We went through that 2017 --
        21    I guess I will call them the 2017 trust document,
        22    I think we called it before; do you recall that?
        23              A.       Yes.
        24              Q.       And in that document it listed some
        25    beneficiaries; do you recall that?
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                                                                         Page 116
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes.
         3              Q.       Were those the beneficiaries of the
         4    trust when it started in 2011?
         5              A.       They were the intended
         6    beneficiaries.      I think in 2011 -- I do not
         7    remember the wording, it might have just said a
         8    family.
         9              Q.       Okay.    Was there anyone outside of
        10    yours and Dr. Wright's family that was ever a
        11    trustee of the Tulip Trust?
        12              A.       Trustee?
        13                       MS. McGOVERN:      Object to the form.
        14    BY MR. BRENNER:
        15              Q.       Yes, bad question.       I mis-spoke.
        16    Was there anyone outside the family that was ever
        17    a beneficiary of Tulip Trust in 2011?
        18              A.       No, never.
        19              Q.       And you think sometimes it named
        20    people by name and other times you just talked
        21    about family or children and things like that?
        22              A.       Yes.
        23              Q.       And does that remain true today?
        24              A.       Yes.
        25              Q.       Okay, we talked about this a little
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                                                                         Page 117
         1                   RAMONA WATTS - CONFIDENTIAL
         2    bit, but let me -- you know, let me ask you one
         3    other question.      You have referred to, on a few
         4    occasions you used the term "my US counsel"; do
         5    you recall that?
         6              A.       That is correct.
         7              Q.       Okay, who is your US counsel?
         8              A.       Amanda.
         9              Q.       It is your understanding that
        10    Ms. McGovern is representing you; is that correct?
        11              A.       Yes.
        12              Q.       And has that been the case since
        13    this lawsuit was filed?
        14              A.       No, I have my British counsel here
        15    as well, with me, in this room.
        16              Q.       Right.    It was a bad question.        Not
        17    to the exclusion of your British counsel.
        18    I understand they have and are representing you.
        19    But has Ms. McGovern and her law firm been
        20    representing you since the beginning of this
        21    litigation?
        22              A.       I don't think her law firm --
        23    I don't know the legal ramifications of all that
        24    sort of thing.      I think it is just her.         I don't
        25    know.
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                                                                         Page 118
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       And your understanding is, since
         3    the beginning of this litigation, Ms. McGovern has
         4    been representing you?
         5              A.       I don't think it is since the
         6    beginning of the litigation.          It is possibly since
         7    I was served.
         8              Q.       Since you were served with a
         9    deposition notice?
        10              A.       I believe so.
        11              Q.       Before that, were you represented
        12    by US counsel?
        13              A.       No, because there was nothing to
        14    represent me for.
        15              Q.       If you could go to tab 34, are you
        16    there?
        17              A.       Yes.
        18              Q.       If our system is working you are
        19    looking at something that looks like a filing in a
        20    court case?
        21              A.       Yes.
        22              Q.       Is that right?
        23              A.       Yes.
        24              Q.       It should be a four page document;
        25    do you see that?
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                                                                          Page 119
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes.
         3              Q.       Can we mark that as the next
         4    exhibit.
         5         (Exhibit 6 was marked for identification)
         6              Q.       I will represent to you that there
         7    is actually a fifth page, which was a page that
         8    had your husband's signature on it, but because of
         9    the issues regarding the coronavirus at the time
        10    that he signed it, it was able to be formally
        11    affirmed or -- we call it notarised here.             But
        12    there is no other substantive information on that
        13    page, okay?
        14              A.       Hmm hmm.
        15              Q.       Have you seen this document before?
        16              A.       No, never.
        17              Q.       I want to make sure I understand
        18    this document as it relates to you because it
        19    talks about you?
        20              A.       Yes.
        21              Q.       Okay.    If you will look at where it
        22    says interrogatory number 2, do you see that on
        23    the first page?
        24              A.       Yes.
        25              Q.       Just so you understand what that
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                                                                         Page 120
         1                   RAMONA WATTS - CONFIDENTIAL
         2    is, in the American court system the parties,
         3    through their counsel, are able to issue each
         4    other written questions.         We call them
         5    interrogatories, okay?
         6              A.       Okay.
         7              Q.       And then the court rules the
         8    parties require to, subject to legal objections,
         9    to answer those questions under oath, okay?
        10              A.       Yes.
        11              Q.       And this happens to be a
        12    supplemental response.        What I mean by that is it
        13    is a second response to this interrogatory that
        14    your husband swore to, and was served to us by
        15    Ms. McGovern, okay?
        16              A.       Hmm hmm.
        17              Q.       I am going to go to interrogatory
        18    number 2, the response, but if you could just read
        19    interrogatory number 2 to yourself, so you will
        20    understand what was being asked and the answer may
        21    make a little more sense?         Just let me know when
        22    you are ready.      (Pause for reading)
        23              A.       Okay, I have just read
        24    interrogatory number 2.
        25              Q.       My question was a bad one, but I am
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                                                                         Page 121
         1                   RAMONA WATTS - CONFIDENTIAL
         2    glad you did it.       You read both the interrogatory
         3    and the response, right?
         4              A.       I am sorry, yes, sorry.
         5              Q.       No, you did great.       You read them
         6    both, right?
         7              A.       I didn't read the interrogatory,
         8    I read the response.        Now I am going to read the
         9    interrogatory, sorry.        Okay, I have read that.
        10              Q.       Great.    It is fair to say that the
        11    significant part of this interrogatory talks about
        12    things that you either were asked to do, or did do
        13    or said; correct?
        14              A.       Yes.
        15                       MS. McGOVERN:      Object to the form.
        16    I object to the form of the last question.
        17    BY MR. BRENNER:
        18              Q.       Miss Watts, having now had an
        19    opportunity to read the interrogatory itself and
        20    the response, let me just ask you first, is that
        21    an accurate description of the events that
        22    transpired and are described in that interrogatory
        23    response as you understand them?
        24                       MS. McGOVERN:      Object to the form
        25    of the question.
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                                                                         Page 122
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       This is how it happened ----
         3              Q.       Okay.
         4              A.       -- in my view.
         5    BY MR. BRENNER:
         6              Q.       Okay, good.     So let's go through it
         7    so I can understand it, okay?
         8              A.       Yes.
         9              Q.       I am starting at the -- I am going
        10    to page 2, and I am just going to walk you through
        11    it, okay?
        12              A.       Okay.
        13              Q.       I am starting on page 2 where it
        14    says, "The production"?
        15              A.       Where it says what, sorry?
        16              Q.       "The production to plaintiffs"?
        17              A.       Okay.
        18              Q.       So it says:     "The production to
        19    plaintiffs of the Trust Agreement in the list of
        20    public addresses ordered to be produced by
        21    Magistrate Reinhart occurred as a result of me
        22    requesting my wife, Ramona Ang May Fong (Ramona)
        23    to obtain documents associated with the trust and
        24    the company, Wright International Investments Ltd,
        25    company number 064409."          Do you see that?
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                                                                         Page 123
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I do.
         3              Q.       Do you understand that the capital
         4    "T" -- Trust capital "A" -- Agreement referred to
         5    in that sentence is what we have been calling the
         6    2017 trust agreement?
         7              A.       Yes.
         8              Q.       Which has been previously marked as
         9    an exhibit to this deposition?
        10              A.       Yes.
        11              Q.       Did you understand -- strike that.
        12    What exactly did Dr. Wright request that you do,
        13    as referenced in that interrogatory?
        14              A.       Oh, so, I actually don't remember
        15    him actually saying, "Send this to me".             So
        16    I don't recall the conversation like that at all.
        17    So, it says here -- "to obtain documents" -- what
        18    I recall, from my recollection, is that we had
        19    actually discussed it, in December some time, that
        20    we were going to get access to the trusts in 2020
        21    and we knew that any of the trust document anyway
        22    because we locked it up for that long, and in
        23    December I was going to request it from Denis.
        24              Q.       Okay.    So let us unpack that a
        25    little bit.     You and your husband had a
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                                                                         Page 124
         1                    RAMONA WATTS - CONFIDENTIAL
         2    conversation regarding the trust in December 2019?
         3               A.      Yes, I don't know when in December,
         4    but yes, we did.
         5               Q.      Sure that con -- tell me again
         6    because you actually broke up a little bit on the
         7    video for me.
         8               A.      Yes.
         9               Q.      Tell me again what precipitated or
        10    what caused that conversation?
        11              A.       I don't recall, I don't recall what
        12    caused it.
        13              Q.       Okay, I will tell you what I heard.
        14    But it did break up so maybe that will jog your
        15    memory a bit.
        16              A.       Sure.
        17              Q.       What I thought you said is because
        18    -- you had that conversation because you were --
        19    or "we were about to get access to the trust in
        20    2020"?
        21              A.       The trust document, yes.         So when
        22    we locked it up we said that we would be having a
        23    meeting in, I think, I don't know, December or
        24    January.     By January anyway we had said that that
        25    is what we were going to do.          So if I were to have
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                                                                          Page 125
         1                    RAMONA WATTS - CONFIDENTIAL
         2    access to it in January I thought I'd better ask
         3    Denis in December, because I wasn't sure how long
         4    it would take for him to get back to me.
         5               Q.      When you say "it", when you had
         6    access to it, what is the it you are talking
         7    about?
         8               A.      The document, the trust document.
         9               Q.      So to make sure I understand, the
        10    trust document we have been talking about, the
        11    2017 trust document, you can refer to it if you
        12    want, but it is a document you signed in 2017;
        13    correct?
        14              A.       I don't recall.
        15              Q.       Let's look at that and make sure
        16    I am not wrong.
        17                       MS. McGOVERN:      Object to the form
        18    of the question.
        19    BY MR. BRENNER:
        20              Q.       Let me get the document.         It is
        21    tab ---
        22                       THE EXAMINER:      33 is that a help to
        23    you?
        24                       MR. BRENNER:     No, because I think
        25    it is tab 26 -- you are right, it is tab 33.
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                                                                         Page 126
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Thank you.
         3                       THE EXAMINER:      It is exhibit 2 for
         4    the record.
         5    BY MR. BRENNER:
         6              Q.       Thank you.     Miss Watts, if you
         7    could go back to tab 33 in exhibit 2?
         8              A.       Yes.
         9              Q.       I was incorrect, so let's go to
        10    page 14 of the document.         There are two signatures
        11    on the document; correct?
        12              A.       Yes.
        13              Q.       One -- do you recognise that as
        14    your husband's signature, Dr. Craig Wright?
        15              A.       It looks like his signature.
        16              Q.       Did you witness him sign this
        17    document?
        18              A.       No, I didn't.
        19              Q.       The second signature lists -- it
        20    says trustee, Denis Bosire Mayaka; correct?
        21              A.       That is what it says, yes.
        22              Q.       You understand that actually you
        23    are the trustee; right?
        24              A.       We were both trustees.
        25              Q.       Okay, well let's look at that,
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                                                                         Page 127
         1                    RAMONA WATTS - CONFIDENTIAL
         2    because we had that come up before.            Let's go to
         3    page 5 of the document.        Do you see that?
         4               A.      Hmm hmm.
         5               Q.      I am going to the middle of the
         6    page where it says:        "Trustee and successor
         7    trustee."
         8               A.      Umm hmm.
         9               Q.      Can you read into the record who is
        10    identified as the trustee of the document, can you
        11    read that first sentence?
        12              A.       "The trustee of the trust shall be
        13    Ramona Ang."
        14              Q.       Okay.    You were the trustee,
        15    weren't you ma'am?
        16              A.       Yes, but so was Denis.
        17              Q.       Let's look at that.       Denis comes up
        18    about a third of the way through that paragraph,
        19    or two thirds; correct?        Do you see in bold
        20    letters?
        21              A.       Yes, he is a successor trustee,
        22    that is still a trustee though.
        23              Q.       Well, it actually says if Ramona
        24    Ang -- is Ramona Ang you, by the way?
        25              A.       It is, but why don't you turn to
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                                                                         Page 128
         1                   RAMONA WATTS - CONFIDENTIAL
         2    page 1 of it.      It says there ----
         3              Q.       Okay, I will?
         4              A.       -- it says there, "Denis Mayaka,
         5    trustee of the Tulip Trust".
         6              Q.       Okay, first let's do what I was
         7    doing and then I will go to your page, I promise
         8    you, okay.
         9              A.       Sure.
        10              Q.       It says:    "If Ramona Ang is not
        11    able to serve in the intermediate period before
        12    2020 for any reason Denis Bosire Mayaka will act
        13    as caretaker trustee without the ability to
        14    dispose of assets..."        And it goes -- it describes
        15    what he would do.       Do you see that?
        16              A.       I do.
        17                       MS. McGOVERN:      I make objection to
        18    the record that when Miss Watts is speaking and
        19    she might state something, that she should be able
        20    to speak and complete her sentence without
        21    interruption by you.
        22                       MR. BRENNER:     Okay, I have told her
        23    to let me know if that happens.           She seems more
        24    than capable of doing that, and she has able
        25    counsel with her.       I have not cut off Miss Watts.
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                                                                         Page 129
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       MS. McGOVERN:      (Unclear).
         3                       MR. BRENNER:     In fact -- excuse me
         4    -- I have not cut her off, but she knows and I
         5    will repeat it, if I do, or her counsel there
         6    believes I do, then they will let me know.
         7                       MS. McGOVERN:      Okay.
         8    BY MR. BRENNER:
         9              Q.       So let's go back to -- you wanted
        10    to go to page 1 of the document, which is page
        11    number 1 but it is actually the second page;
        12    right?
        13              A.       Yes, it just says page number 1
        14    though.
        15              Q.       It says -- and tell me what you
        16    want me -- you want me to ----
        17              A.       So the third bullet point, you see
        18    that it says, "Denis Bosire Mayaka trustee of the
        19    Tulip Trust."
        20              Q.       Okay, so is it your understanding
        21    that Mr. Mayaka and you were both trustees of the
        22    Tulip Trust?
        23              A.       That that is my understanding, yes.
        24              Q.       And when I say, this is in 2017 at
        25    or about the time it is executed, right?
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                                                                         Page 130
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes, I think I would be the main
         3    trustee and he would be the secondary trustee, but
         4    he is still a trustee, yes.
         5              Q.       Just so I understand your
         6    testimony, you did not sign this document;
         7    correct?
         8              A.       I did not, no.
         9              Q.       Is it your testimony -- there is a
        10    provision in here, and I just cannot find it
        11    quickly -- but there is a provision which states
        12    that your husband was not allowed to have a copy
        13    of the document, I think it is before some time in
        14    December 2019; does that sound right to you?
        15              A.       That is correct, yes.
        16              Q.       There is no such provision that
        17    says that you as the trustee cannot have a copy of
        18    the document; correct?
        19              A.       That is correct.
        20              Q.       Okay.    Did you have a copy of this
        21    document?
        22              A.       No.
        23              Q.       Why not?
        24              A.       Because my lawyer had it.
        25              Q.       Did you have access to it?
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                                                                         Page 131
         1                    RAMONA WATTS - CONFIDENTIAL
         2              A.       I could have requested it.
         3              Q.       At any time, right?
         4              A.       Yes.
         5              Q.       In fact, if you wanted to know
         6    whether something you were doing or not doing was
         7    consistent with the terms of the trust, you would
         8    have reviewed the document; correct?
         9              A.       I didn't need to though, because we
        10    weren't doing anything at that time.
        11              Q.       Okay.    So it is your testimony that
        12    you don't have a -- your lawyer is holding a copy
        13    of the trust agreement, but you don't have it --
        14    is it your testimony that you don't have it until
        15    December 2019?
        16              A.       That is correct.
        17              Q.       So let us go back to the
        18    interrogatories that we were on.           (Unclear) off
        19    onto this tangent.        So you and your husband are
        20    having a conversation in December 2019, and is it
        21    your testimony that you decided at that time with
        22    him to request a copy of the trust document?
        23              A.       I don't actually recall what
        24    happened.      I just know that I requested it from
        25    Denis.    I don't know whether or not it was a joint
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                                                                         Page 132
         1                     RAMONA WATTS - CONFIDENTIAL
         2    decision or whether I made that decision on my
         3    own.     I don't remember that.
         4               Q.       Let me ask you this.       Was that
         5    decision in any way related to anything that your
         6    husband had been ordered to do by the court in
         7    Florida?
         8               A.       It might have been for him, but
         9    certainly not for me.        I wasn't ordered to do
        10    anything.       I knew what I had to do before January
        11    2020.
        12              Q.        You recall that your husband came
        13    down to Florida to participate in court hearings
        14    in June and August 2019; do you recall that?
        15              A.        I know he went to Florida some
        16    time, I cannot remember the dates.
        17              Q.        Do you remember he testified in
        18    court?
        19                        MS. McGOVERN:     I am going to object
        20    to the line of questioning, that it may spousal
        21    privilege regarding litigation against Dr. Wright.
        22    They are married, this is potentially invading a
        23    spousal privilege regarding litigation and issues
        24    in the litigation that would be intended to be
        25    confidential between husband and wife.            To the
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                                                                         Page 133
         1                   RAMONA WATTS - CONFIDENTIAL
         2    extent that the questions put Miss Watts in the
         3    position of potentially testifying against her
         4    husband, I am going to invoke the suppose
         5    privilege.     Again, I do not want to do that.           If
         6    you could rephrase your question so you do not
         7    invade any suppose privilege, then we can take it
         8    question by question.
         9                       MR. BRENNER:     Okay, the question on
        10    table is, which you are instructing her not to
        11    answer is, were you aware that your husband
        12    testified in Florida in 2019.          You are instructing
        13    her not to answer that question?
        14                       MS. McGOVERN:      I am.
        15                       MR. BRENNER:     That is my question.
        16    Just instruct her.       I am not going to debate it
        17    with you,     I disagree with you, but if you want to
        18    instruct her, do it.
        19                       MS. McGOVERN:      I have the right to
        20    speak without you dictating what I say.
        21                       MR. BRENNER:     I am just pointing
        22    for the record again, this is the type of thing
        23    that is going to take us time.          So we will do what
        24    we can do.     Go ahead.
        25                       MS. McGOVERN:      Let me know when you
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                                                                         Page 134
         1                   RAMONA WATTS - CONFIDENTIAL
         2    are done.
         3                       MR. BRENNER:     I am done.
         4                       MS. McGOVERN:      Mr. Brenner, I did
         5    not instruct Miss Watts not to answer.            I simply
         6    said, to the extent because you are going quickly
         7    and I am not able to object as I wish over these
         8    video conferences, I want to make sure there is no
         9    invasion of the spousal privilege for litigation
        10    while they are married.        So let us take it
        11    question by question.        Miss Watts, please give me
        12    an opportunity to inject my objection to make sure
        13    that the privilege is not invaded.           I am not
        14    instructing you not to answer that question.
        15    BY MR. BRENNER:
        16              Q.       Were you aware that your husband
        17    testified in Florida in the summer of 2019?
        18              A.       I was aware that he was in America
        19    for some court proceedings, I don't remember
        20    exactly when, I don't know if he was testifying,
        21    I know he had to go for a court proceeding.
        22              Q.       At any time prior to December 2019,
        23    okay, did your husband ask you to, as he puts in
        24    this interrogatory, obtain documents associated
        25    with the 2017 trust?
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                                                                         Page 135
         1                    RAMONA WATTS - CONFIDENTIAL
         2              A.       I don't have a specific
         3    recollection of him actually saying to me, "Can
         4    you please give me"--        what was this, the exact
         5    document.      I do not have a specific recollection
         6    of that.
         7              Q.       Do you have a general recollection
         8    of him ever asking you to obtain the 2017 trust
         9    prior to December 2019?
        10              A.       I don't have a specific
        11    recollection of that.        I have a recollection of us
        12    discussing the fact, as I mentioned to you before,
        13    that the trust was -- not the trust, it was more
        14    the trust document -- was going to be available in
        15    2020, and that we had to have a trust meeting
        16    between I think December and January, I cannot
        17    remember the dates.       That is when I said that I
        18    would be getting that information from Denis.
        19              Q.       Right.    The only time you remember
        20    your husband asking you anything about getting the
        21    2017 trust document was this conversation you told
        22    me about some time in December 2019?
        23                       MS. McGOVERN:      Object to the form
        24    of the question.
        25    BY MR. BRENNER:
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                                                                         Page 136
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       You can answer, ma'am.
         3              A.       What was the question again?
         4              Q.       Sure.    The only time you have a
         5    recollection of your husband asking you to obtain
         6    the 2017 Tulip Trust document is in the
         7    conversation you told me about that took place in
         8    December 2019?
         9                       MS. McGOVERN:      Same objection.
        10              A.       Well, I don't actually have a
        11    recollection of him actually saying, "Please can
        12    you get me a trust document".
        13    BY MR. BRENNER:
        14              Q.       So when he wrote writes in his
        15    interrogatory that he, "Requested my wife, Ramona,
        16    to obtain documents associated with the trust",
        17    you don't recall that happening?
        18                       MS. McGOVERN:      Object to the form
        19    of the question.
        20              A.       I recall agreeing with him that I
        21    would be getting documents for the trust.
        22    BY MR. BRENNER:
        23              Q.       And that was in December of 2019?
        24              A.       Yes, it would have been.
        25              Q.       Never before, correct?
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                                                                         Page 137
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       No, not before.
         3              Q.       Then -- by the way, I think you
         4    answered this before, but you could have requested
         5    this document from Denis Mayaka, the 2017 trust
         6    document at any time; correct?
         7              A.       But I had no reason to.
         8              Q.       Not my question.       My question is
         9    you could have requested that document at any time
        10    you wanted to if you decided you had a reason to?
        11              A.       Sure, yes.
        12              Q.       And the only reason you decided to
        13    do it in December of 2019 is because you
        14    understood that things associated with the trust
        15    were going to happen in 2020?
        16              A.       Yes, plus the discussion that we
        17    had about that, yes.
        18              Q.       Plus the discussion you had.          What
        19    does that mean?
        20              A.       In that we had to have the
        21    meetings, we had to have meetings between --
        22    I believe it was December and January, I don't
        23    remember the dates, but I know that we had set out
        24    terms that said we had to have meetings, sometime
        25    I think before the end of January.           I don't
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                                                                         Page 138
         1                     RAMONA WATTS - CONFIDENTIAL
         2    remember the dates.
         3              Q.        Could you go back to the Tulip
         4    Trust document, the 2017 document?
         5              A.        Yes.
         6              Q.        Since you now have referred to the
         7    meeting, let me make sure we are on the same page.
         8    If you go to -- again we are using the page
         9    numbers,       if you go to page 18, do you see that?
        10              A.       I do.
        11              Q.       Schedule D?
        12              A.       Yes.
        13              Q.       It refers to a video recording of a
        14    meeting; do you see that?
        15              A.       I do see what is written.
        16              Q.       Is that the meeting -- was there a
        17    meeting among the -- has there ever been a meeting
        18    between the beneficiaries and members discussing
        19    the rights, obligations and interpretations
        20    regarding the trust agreement?
        21              A.       Yes, we had a meeting in December.
        22              Q.       Was that meeting videotaped?
        23              A.       Sorry?
        24              Q.       It appears to me when I look at
        25    this, that meeting was supposed to be videotaped.
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                                                                         Page 139
         1                     RAMONA WATTS - CONFIDENTIAL
         2    Was it videotaped?
         3               A.       It wasn't videotaped.
         4               Q.       Okay, and that meeting took place
         5    before or after you requested the trust document
         6    from Mr. Mayaka?
         7               A.       After.
         8               Q.       So let's go back to the
         9    interrogatory answer.          You -- it says you made a
        10    request to the director of this company, Denis
        11    Mayaka, do you see that?
        12              A.        What line are we on?
        13              Q.        Sure, that is bad of me.        I am
        14    still in the paragraph that says "the production".
        15              A.        Yes, okay.
        16              Q.        So I am sort of picking up where we
        17    left off.       I am starting with the sentence that
        18    says, "The shares of this company"?
        19              A.        Okay.
        20              Q.        It says:    "The shares of this
        21    company are held by the trust" -- what that is
        22    referring to is the shares of Wright International
        23    Investments were held by the trust; is that
        24    correct?
        25                        MS. McGOVERN:     Mr. Brenner, I am
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                                                                         Page 140
         1                   RAMONA WATTS - CONFIDENTIAL
         2    going to object to the extent that you are asking
         3    Miss Watts to interpret an interrogatory answer
         4    written by somebody else.
         5                       MR. BRENNER:     I am going to object
         6    to anything more than object to the form.             In all
         7    honesty, if you do it again I am a going to try to
         8    get the court online.        There is no basis for you
         9    to make that objection.        You can object to the
        10    form, it preserves every single objection you
        11    have.
        12                       MS. McGOVERN:      You can ring the
        13    court on the phone any time you like.            I object to
        14    what you are doing here.         Objection (unclear).
        15                       MR. BRENNER:     If you object to what
        16    I am doing how about try this, "objection".              Then
        17    you will have an objection.
        18    BY MR. BRENNER:
        19              Q.       Miss Watts, the shares of this
        20    company are held by the trust, do you see that?
        21              A.       Yes.
        22              Q.       That is a reference to what you
        23    told me before, the shares of Wright International
        24    Investments were held by the trust; correct?
        25              A.       So what I told you, the shares of
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         1                   RAMONA WATTS - CONFIDENTIAL
         2    Wright International, yes, the trust holds shares
         3    in Wright International.
         4              Q.       Right.    The next line, now this is
         5    directly about you, so I am just trying to give
         6    context to it.      It says:     "Ramona made a request
         7    to the director of this company, Denis Mayaka, in
         8    December 2019."      Do you see that?
         9              A.       I see what it is written, yes.
        10              Q.       Okay, it is true that you made a
        11    request to Mr. Mayaka; correct?
        12              A.       I did.
        13              Q.       Is it true that Mr. Mayaka is a
        14    director of Wright International Investments?
        15              A.       I don't know.
        16              Q.       Okay, so you don't know whether
        17    that statement is true or false; correct?
        18              A.       I do not know.      That is right.
        19              Q.       Now, he says specifically, now
        20    Dr. Wright has specifically testified about what
        21    he asked you to do; do you see that?
        22              A.       I do.
        23              Q.       "I asked my wife, who is the
        24    primary trustee of the trust, to obtain a copy of
        25    the trust agreement."        Is that true?
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                                                                         Page 142
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      It could have been.        As I said,
         3    I don't have a specific recollection.
         4               Q.      He also asked you, according to
         5    this, to obtain the associated records, including
         6    the company accounts that related to the entities
         7    owned by the trust?
         8               A.      That one I specifically remember
         9    because he actually did say to me when we got --
        10    so we got the trust document in December, I think
        11    it was, and he said it was not the full documents,
        12    he said that there should be other company
        13    documents as well.       And I couldn't remember what
        14    Denis had and what he didn't have.            So I asked him
        15    again, I don't know if it was the end of December
        16    or early January, to give us the company
        17    documents.      I remember that conversation.
        18              Q.       Okay, so you asked Mr. Mayaka for
        19    the trust document; correct?
        20              A.       So I asked him or the for the trust
        21    document -- again, I don't remember the dates, but
        22    I am sure it was in December.          Yes.    Then I asked
        23    him for all the documents, so including company
        24    records and everything else in, I think it was
        25    January.
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                                                                         Page 143
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Okay.    He gave you the trust
         3    documents, you already testified to that; correct?
         4              A.       He did.
         5              Q.       Did he give you these related
         6    company documents that are referred to here?
         7              A.       At a later stage, he did, yes.
         8              Q.       Did you turn those over to US
         9    counsel?
        10              A.       Yes.
        11              Q.       I am going to now go to the next
        12    paragraph, because it is saying something you
        13    specifically said -- I shouldn't say specifically,
        14    there is no quotation mark, it is talking about
        15    you.    Do you see that?
        16              A.       "My wife requested the trust
        17    agreement" that one?
        18              Q.       No, next paragraph?
        19              A.       Okay.
        20              Q.       Before looking at that paragraph
        21    let me ask you a question.         Did you understand
        22    that there was dispute in the lawsuit regarding
        23    the public addresses to certain Bitcoin?
        24              A.       No.
        25              Q.       Okay.    Here it says:      "Ramona told
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                                                                         Page 144
         1                   RAMONA WATTS - CONFIDENTIAL
         2    me that the list of public addresses which was
         3    ordered to be produced by Judge Reinhart did not
         4    arrive with the trust agreement."           You did not
         5    know that there was a list of public addresses
         6    that was being ordered by Judge Reinhart, did you?
         7                       MS. McGOVERN:       Object to the
         8    form -- let me object to the form of the question.
         9                       MR. SAOUL:     I am also going to make
        10    an objection, which is, I am not the dependent in
        11    this interrogatory, but it does seem to me that
        12    the reading that is being put on that sentence is
        13    not sustained by the words.
        14                       MR. BRENNER:     Okay let's try it
        15    again then, because I am trying to read it
        16    honestly and to understand it.          If you are having
        17    a confusion, I will take that in good faith and I
        18    will try to clean it up.
        19    BY MR. BRENNER:
        20              Q.       Okay.    He says:    "Ramona told me
        21    that the list of public addresses" -- when you got
        22    the trust document did you discuss with Dr. Wright
        23    anything about public addresses?
        24              A.       No, I just gave him the trust
        25    document and I said, "This is what we are going to
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                                                                         Page 145
         1                    RAMONA WATTS - CONFIDENTIAL
         2    be giving to the lawyers".
         3               Q.      So you did not tell him that the
         4    list of public addresses did not arrive; correct?
         5               A.      No, but he asked me whether
         6    anything else, was there anything else with the
         7    trust document, was there anything, and I said no,
         8    it was just the trust document.
         9               Q.      Okay.    Did he ask you specifically
        10    if there were public addresses?
        11              A.       He asked me if there was anything
        12    else.    He said, "Did you get anything else?"
        13    I said it was only the trust document.            I guess he
        14    knows that trust document does not have a list of
        15    public addresses.
        16              Q.       It says -- so, basically, you gave
        17    -- when you got the trust document did you give it
        18    to him, to Dr. Wright?
        19              A.       I did give it to him.
        20              Q.       Just so I understand the
        21    conversation, he asked if there was anything else;
        22    correct?
        23              A.       Yes.
        24              Q.       And you said no?
        25              A.       Yes.
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                                                                         Page 146
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       And then the next paragraph is
         3    supposedly what happens next -- the next sentence,
         4    so let's look at that, okay?
         5              A.       Sure.
         6              Q.       "After my wife received the trust
         7    agreement and gave it to me to give to my
         8    attorneys I asked my wife to request additional
         9    documents held by the trust and the companies
        10    owned by the trust including Wright International
        11    Investments."      Is that true?
        12              A.       So he asked me to ask Denis for all
        13    the other documents.
        14              Q.       Okay, and what did you ask him?
        15              A.       I just said, "Give me everything
        16    that is associated with any of the company
        17    records, just give us everything that you have".
        18              Q.       When you say the company, you are
        19    referring to Wright International?
        20              A.       Yes.
        21              Q.       So you asked Denis that; correct?
        22              A.       Yes.
        23              Q.       And was this all happening by
        24    e-mail, by telephone, or so some other way?
        25              A.       So there is then encrypted -- it is
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                                                                         Page 147
         1                   RAMONA WATTS - CONFIDENTIAL
         2    like Snapchat, I think it is called Vistomail.              It
         3    is like Snapchat, where you actually send someone
         4    a message and they send it back to you.
         5              Q.       Okay.    Have you ever met Denis
         6    Mayaka?
         7              A.       No, I have had Skype conversations
         8    with him, phone conversations.
         9              Q.       What does he look like?
        10              A.       I don't remember.       More phone
        11    conversations.      I have had more phone
        12    conversations than Skype conversations.
        13              Q.       What colour is his skin?
        14              A.       He is dark.
        15              Q.       Then it says -- I am just reading
        16    further in the sense, because it is talking about
        17    you, okay:     "Ramona received those documents
        18    through a Vistomail account in an encrypted file."
        19    Do you see that?
        20              A.       Yes.
        21              Q.       Is that true?
        22              A.       Well, I received it.        I do not know
        23    if it was an encrypted file.          As I said, I am not
        24    very technical, so I received something.
        25              Q.       Were you able to open whatever you
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                                                                         Page 148
         1                     RAMONA WATTS - CONFIDENTIAL
         2    received?
         3              A.        I gave it to Craig.
         4              Q.        Okay, so you received a file
         5    through a Vistomail exchange from Denis Mayaka --
         6    let me take it back, since that is not entirely
         7    correct.       Whatever you received by Vistomail, did
         8    it come from Denis Mayaka?
         9              A.        Yes.
        10              Q.       Okay.    Then did you just -- you
        11    said you gave it to Craig.         It seems to me it is
        12    something electronic.        How did you give it to him?
        13              A.       Well, I said, "This is what
        14    I received".
        15              Q.       Okay, so you showed him the -- I am
        16    going to call it an e-mail, is that correct; is
        17    Vistomail an e-mail?
        18              A.       I don't know, I don't know what it
        19    is.   I think it is like a Snapchat but I am not
        20    exactly sure.      I think they are e-mail functions,
        21    but I don't really know.
        22              Q.       I am going to call it a Vistomail
        23    message, just so we can refer to it as something,
        24    okay?
        25              A.       Sure.
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                                                                         Page 149
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       You got the Vistomail message from
         3    Mr. Mayaka, this is still in December 2019?
         4              A.       I think this one was now in
         5    January, because this was the second ----
         6              Q.       The second go around?
         7              A.       Yes.
         8              Q.       Whether it is December or January
         9    not going to hold you to it, it is in this general
        10    time frame?
        11              A.       Yes.
        12              Q.       Then when you got it did you
        13    forwards the Vistomail message to Craig or
        14    Dr. Wright, or did you        ----
        15              A.       No, I just let him have a look at
        16    it.   But Denis also sent me something on my
        17    e-mail, but I think it was through his Vistomail
        18    account, so he sent the same thing, so he must
        19    have sent it twice.
        20              Q.       He sent it once to your e-mail and
        21    once through Vistomail?
        22              A.       Yes.
        23              Q.       The "it" was an encrypted file, or
        24    a file, you do not know if it was encrypted or
        25    not; correct?
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                                                                         Page 150
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       The one on Vistomail was encrypted,
         3    the one on machine e-mail was not.
         4              Q.       Were you able to open it?
         5              A.       Yes.
         6              Q.       And what was it?
         7              A.       It was corporate records, it was
         8    just all the documents, company documents.
         9              Q.       Was there a list of other addresses
        10    to e-mail -- sorry, strike that -- was there a
        11    list of public addresses to Bitcoin in the file
        12    you received from Denis Mayaka?
        13              A.       I don't know.      I just -- I looked
        14    at a lot of things, there were lots of
        15    spreadsheets, there were a lot of things.
        16              Q.       Whatever you received from
        17    Mr. Mayaka, did you give to Dr. Wright?
        18              A.       That one I am not sure if I sent it
        19    directly to the US lawyers or I forwarded it to
        20    Dr. Wright.     I am not sure.      I cannot remember.
        21              Q.       I am going to scroll down a little
        22    bit because I want to get to the parts that are
        23    about you, okay?
        24              A.       Sure.
        25              Q.       So we will go to the next
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                                                                         Page 151
         1                   RAMONA WATTS - CONFIDENTIAL
         2    paragraph, this is "The files received"?
         3              A.       Okay.
         4              Q.       It says:    "The files received by
         5    Ramona as trustee" -- is this referring to the
         6    files you received from Mr. Mayaka?
         7              A.       I don't know what he's referring
         8    to.
         9              Q.       Okay.    If you go to the next
        10    sentence it says:       "Ramona showed these files and
        11    other associated files to me but retained the
        12    files."
        13              A.       Umm hmm.
        14              Q.       Do you see that?
        15              A.       Yes.
        16              Q.       Is it true that Dr. Wright -- well,
        17    did you give the files to Dr. Wright?
        18              A.       Well, I let him look at it, as
        19    I said to you, in the Vistomail, I let him look at
        20    it.   I don't think there is a function where you
        21    can forward on Vistomail, but I do not really know
        22    how Vistomail works, to be honest with you.
        23              Q.       Okay.    If you could go now to the
        24    next page, the paragraph starts with "Ramona".
        25              A.       Umm hmm.
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                                                                          Page 152
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      It says:    "Ramona has witnessed my
         3    receipt of the trust agreement and the file
         4    containing the Bitcoin public addresses."               Do you
         5    see that?
         6               A.      Umm hmm.
         7               Q.      Did you witness Dr. Wright's
         8    receipt of the file containing the public
         9    addresses?
        10              A.       Well, I received files.        I don't
        11    know what they were.        So if there were public
        12    addresses in them then he would have had them.
        13              Q.       The truth is you don't know if
        14    those files contained the public addresses?
        15              A.       Mr. Brenner, do you know that my
        16    husband has Asperger's and struggles a great deal
        17    actually to express himself and to interpret
        18    himself?     I have troubles with him at all the
        19    time, I have fights with him all the time.              In the
        20    ten years that we have been together we used to
        21    fight every day initially ----
        22              Q.       Okay.
        23              A.       -- because he has an inability to
        24    express himself simply and succinctly.            So,
        25    sometimes when he writes things and sometimes when
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                                                                         Page 153
         1                    RAMONA WATTS - CONFIDENTIAL
         2    he says things, it is not what we perceive it to
         3    be, it is how he perceives it to be.            He is
         4    literal beyond anything.         So if he thinks that I
         5    -- if he thinks that I knew something, just
         6    because he knew something, he would say that
         7    exactly in this sort of case.          We had so many
         8    troubles.      When he was supposed to pick a child
         9    and he didn't pick the child up because of certain
        10    things that he said.        You are asking me to
        11    interpret what he said.        I wasn't even a party to
        12    this.    I have never read this before.          I am just
        13    telling you the truth of what I have seen and what
        14    I have heard, but what I have seen and what I have
        15    sent or what I have not sent, he really struggles
        16    with expressing himself correctly.           I think that
        17    is probably why he gets into so many problems,
        18    with me primarily, but everyone else.            He
        19    struggles with looking at you in the eye when he
        20    talks to you.      It has taken me ten years, and I
        21    live with him -- it has taken me ten years for him
        22    to look me in the eye when he talks to me.
        23              Q.       My question only is this -- nothing
        24    to do with Dr. Wright, I am asking only about you,
        25    Miss Watts.     You do not know whether the files you
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                                                                         Page 154
         1                    RAMONA WATTS - CONFIDENTIAL
         2    received from Mr. Mayaka contain public addresses
         3    to Bitcoin?
         4               A.      I was given files to everything.
         5    So I don't -- at that time I didn't know.
         6               Q.      Do you know now?
         7               A.      So you are asking me what I have
         8    learned through this litigation process, is that
         9    you are asking me?
        10                       MS. McGOVERN:      I would like to ask,
        11    to interpose my objection, and to the extent that
        12    the question seeks to invade spousal privilege
        13    about this litigation and the claims against
        14    Dr. Wright, I am going to instruct her not to
        15    answer.    I asked you to rephrase the question to
        16    avoid this instruction because, like you, I would
        17    like Miss Watts to tell us everything she knows
        18    without invading any privileges.           So I ask you to
        19    please rephrase.
        20    BY MR. BRENNER:
        21              Q.       At the time you received the files
        22    from Mr. Mayaka, you did not know whether they
        23    contained Bitcoin public addresses, that is
        24    correct?
        25              A.       At the time I received it I did not
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                                                                         Page 155
         1                    RAMONA WATTS - CONFIDENTIAL
         2    know what it contained at all.
         3               Q.      Okay.    Since that time, without
         4    telling me what you learned, has your knowledge or
         5    understanding of what those files contain changed?
         6               A.      Yes.
         7               Q.      Is the only information you have as
         8    to what is in that file, did it come to you from
         9    either the lawyers for Dr. Wright or Dr. Wright
        10    himself?
        11              A.       Both.
        12              Q.       Have you yourself, regardless of
        13    what anyone else told you, have you yourself
        14    reviewed the files from Mr. Mayaka and confirmed
        15    that they contain public addresses?
        16              A.       So, I am not technical.        If you
        17    gave me public addresses I would not even know
        18    what they were.
        19              Q.       So the answer is no, you have not
        20    done that?
        21              A.       I have reviewed the files, but we
        22    have accountants doing those sort of things for
        23    us.
        24              Q.       All I can ask about is you.         Have
        25    you reviewed the files ----
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                                                                         Page 156
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I have reviewed the files.
         3              Q.       -- and determined that they contain
         4    public addresses to Bitcoin?
         5              A.       I am not able to determine that
         6    because I am not a technical person.
         7              Q.       Okay, that is all I am asking.          We
         8    are done with that document.          We have about
         9    fifteen minutes before lunch.          Let me go back to
        10    tab 35.    According to this e-mail and the story
        11    you told me, in 2012 you were having difficulty --
        12    you were having financial difficulties in your
        13    family; is that fair?
        14                       MS. McGOVERN:      I am Object to the
        15    form of the question.        If you would like me to
        16    tell you exactly why I object to the form so you
        17    can rephrase it I will be happy to do so.
        18                       MR. BRENNER:     No, I am good, thank
        19    you.
        20    BY MR. BRENNER:
        21              Q.       You were having financial
        22    difficulties in your family; correct?
        23              A.       It is all relative, isn't it?          We
        24    could pay our bills, we weren't starving.
        25              Q.       Well, you did tell me you were
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                                                                         Page 157
         1                    RAMONA WATTS - CONFIDENTIAL
         2    having trouble putting proper food on the table;
         3    correct?
         4               A.      So we could not get the best steak
         5    for the kids, no.       We were eating a lot of beans
         6    and spaghetti bolognaise.
         7               Q.      You were making sacrifices because
         8    of the financial condition that you and your
         9    family were in?
        10                       MR. SAOUL:     I am going to challenge
        11    this.    Please be careful here not to stray outside
        12    your scope.     I will allow this question to be
        13    answered, but I will expect it quickly to return
        14    to the appropriate territory.
        15                       MR. BRENNER:     Sure.    I am picking
        16    up on an answer.       It will be a three minute
        17    segment.
        18    BY MR. BRENNER:
        19              Q.       That is what you told me earlier,
        20    correct, that you were mad at Craig because you
        21    didn't understand why, if he had so much Bitcoin,
        22    you guys were having trouble with money; correct?
        23              A.       Is as I said to you, my
        24    understanding was not correct.          This is the
        25    problem.     I had an incorrect understanding of what
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                                                                         Page 158
         1                    RAMONA WATTS - CONFIDENTIAL
         2    was going on.      I was just frustrated and I was
         3    just venting, so we had many fights, yes.
         4               Q.      Right.    The part that is wrong --
         5    what was wrong, what was wrong about your
         6    understanding?
         7               A.      Well, I think a lot of things that
         8    I have written here, I didn't even understand what
         9    I was writing.
        10              Q.       I am not looking at the e-mail.
        11    What was wrong about your understanding in the
        12    conversation you were having with Dr. Wright when
        13    you were frustrated about the finances?
        14              A.       I don't recall exactly the
        15    specifics of what I understood.           I do recall that
        16    when we did have several conversations in 2012
        17    that he put me straight, and I understood things.
        18    I don't recall the little bits that I didn't
        19    understand, I just remember thinking everything
        20    was very confusing.
        21              Q.       Right, and what he explained to you
        22    was there was a good reason that he had why he
        23    could not use the Bitcoin that Wright
        24    International Investments and Tulip Trading had;
        25    correct?
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                                                                         Page 159
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       MS. McGOVERN:      Object to the form
         3    of the question.
         4    BY MR. BRENNER:
         5              Q.       Is that correct?
         6              A.       No, he didn't say why he couldn't
         7    use it.    He just explained to me how it was
         8    structured, because my understanding was
         9    apparently all incorrect, all wrong.
        10              Q.       Your understanding was you were the
        11    trustee that was -- holding the share of the trust
        12    that was holding the shares to the companies that
        13    owned all this Bitcoin; correct?
        14              A.       So my understanding was that I was
        15    a trustee, yes, I am the trustee.
        16              Q.       Right, and you understood that the
        17    ability to use that Bitcoin was limited by the
        18    scope of the trusts?
        19              A.       Yes.
        20              Q.       You understood that if that Bitcoin
        21    that was held by Tulip Trading and Wright
        22    International, although you couldn't use it, had a
        23    lot of value; right?
        24                       MS. McGOVERN:      Object to the form
        25    of the question.
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                                                                         Page 160
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       At that time I am not sure how much
         3    value there was, to be honest, in 2011.
         4    BY MR. BRENNER:
         5              Q.       It had enough value to put proper
         6    food on the table; right.
         7                       MS. McGOVERN:      Object to the form
         8    of the question.
         9                       MR. SAOUL:     This is not within the
        10    scope of the order.       You are allowed to ask about
        11    the ownership, you are allowed to ask about the
        12    trusts ----
        13                       MR. BRENNER:     Let's excuse the
        14    witness so I can explain to you.           I can't do it in
        15    front of the witness, so if you want to take the
        16    time to do it, that is fine.          Excuse the witness.
        17    I cannot do it in front of the witness.             It is not
        18    proper.
        19                       MR. SAOUL:     Would you pop out for
        20    two minutes, Miss Watts.         We will come and get
        21    you.
        22                       THE WITNESS:     Sure.
        23                       MR. SAOUL:     Thank you.
        24                       THE EXAMINER:      Before she goes --
        25    could you just call her back one second -- that
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                                                                         Page 161
         1                   RAMONA WATTS - CONFIDENTIAL
         2    she should not discuss her evidence with anybody
         3    while she is out of the room.          Could you just tell
         4    her that.
         5            (The witness withdrew from the room)
         6       (For Proceedings in the Absence of the Witness
         7                    See Separate Transcript)
         8                      (The witness returned,
         9               questions by Mr. Brenner, continued)
        10                       MR. SAOUL:     Mr. Brenner is going to
        11    resume his questioning now, Miss Watts.
        12                       THE WITNESS:     Okay, sure.
        13    BY MR. BRENNER:
        14              Q.       Miss Watts, just to reorient you,
        15    we are on tab 35?
        16              A.       Yes, sure.
        17              Q.       This document, dated May 28 2012,
        18    in part is talking about talking about trusts;
        19    correct?
        20              A.       Well, it was a conversation that my
        21    husband and I eventually had several conversations
        22    of.   I am not quite sure when it was written.             As
        23    said, I do not recall specifically writing this.
        24    I recall that at the time I was very, very, very
        25    angry with him, so.
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                                                                         Page 162
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Okay ----
         3               A.      I don't know if it was dealing with
         4    trust, as in me trusting him, or trusts as in --
         5    I do not recall.
         6               Q.      That is not really -- let us stick
         7    to the document for a second.          It is not talking
         8    about your trust in him.         It says:    "Let me get
         9    this straight, you have a secret trust, a trust
        10    Dave knows of, a trust for gambling, or as you say
        11    gaming, and a trust for software."           We are
        12    actually talking about trusts, not the word like
        13    "I trust you dear"; correct?
        14              A.       Perhaps, I do not remember.         I do
        15    not remember.      This is eight years ago.
        16              Q.       Okay.    I am going to assume for the
        17    purpose of my question that this e-mail is written
        18    in 2012.     I know that you cannot confirm that, but
        19    I am going to assume it for the purpose of my
        20    question, okay?
        21              A.       Sure.
        22              Q.       In 2012 you are not married to
        23    Dr. Wright; correct?
        24              A.       No.
        25              Q.       You are the trustee for the trust
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                                                                         Page 163
         1                   RAMONA WATTS - CONFIDENTIAL
         2    that has been set up for the benefit of he and his
         3    entire family -- he and his family; correct?
         4              A.       That is correct.
         5              Q.       That trustee is holding all of the
         6    Bitcoin that was mined by Information Defence and
         7    held by Wright International; correct?
         8              A.       That is correct.
         9              Q.       That trust is also holding whatever
        10    Bitcoin had been purchased as of that point and
        11    not stamped by Tulip Trading; correct?
        12              A.       That is correct.
        13              Q.       You agree with me at that point
        14    that trust holds hundreds of thousands, if not a
        15    million Bitcoin?
        16              A.       I don't know how much was in it at
        17    that time.
        18              Q.       You agree with me that regardless
        19    of how much Bitcoin was being held, in those
        20    companies, the shares of which were being held by
        21    the trust, you agree with me that you were having
        22    frustration with Craig over financial issues
        23    within your household?
        24              A.       Yes.
        25                       MR. BRENNER:     Do you want to take
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                                                                         Page 164
         1                     RAMONA WATTS - CONFIDENTIAL
         2    our lunch break?
         3                        THE EXAMINER:     Yes, that seems an
         4    appropriate time.       If we say 20 minutes, we will
         5    all meet again.      So can we go off the record now.
         6                        MR. BRENNER:    Alright, thank you.
         7                        THE COURT REPORTER:      Going off the
         8    record at       3.15 p.m.
         9                   (A short break off the record
        10                      from 3.15 to 3.35p.m.)
        11                       MR. BRENNER:     Miss Watts, do you
        12    recall a company called Strasan -- S-T-R-A-S-A-N?
        13              A.       Vaguely, yes.
        14              Q.       Was that a company that was
        15    associated with Dr. Wright?
        16              A.       Yes, I believe so.
        17              Q.       Were you a director of that
        18    company?
        19              A.       I don't recall that.        I might have
        20    been.
        21              Q.       Let us go -- I don't know either.
        22    Let me look at that earlier exhibit we looked at
        23    and see if that is one of the listed companies.
        24    It does not appear to be.         Okay, so you think you
        25    may or may not have been a director?
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                                                                           Page 165
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I don't recall.
         3              Q.       Okay, fair.     What was Strasan?
         4              A.       I really don't remember.         I know
         5    that Craig worked with four other guys on it.
         6    I don't know what they were doing.           I think they
         7    were trying to do some perhaps hardware stuff, but
         8    I think one of the men they wanted to work on
         9    consulting work, so it did not last for very long.
        10              Q.       Was one of the guys that working on
        11    Strasan with Craig Dave Kleiman?
        12              A.       No, Shaoib Usev(?), I was thinking
        13    of a different person.        I believe his name was
        14    Shaoib -- S-H-A-O-I-B, I think.
        15              Q.       If you could go to tab 24?
        16              A.       Yes.    It is a different Strasan
        17    that we are talking about.
        18              Q.       What is this Strasan?
        19              A.       I don't know.      I have not seen this
        20    one at all.
        21              Q.       Okay.    You have never seen this
        22    document?
        23              A.       I don't recall, no.
        24              Q.       Have you ever heard of company
        25    called W&K Info Defense?
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                                                                          Page 166
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes, I have heard of it.
         3              Q.       What do you know about that
         4    company?
         5              A.       Nothing, it was before my time.
         6    I think it was Lynn's(?) company.           So I wasn't
         7    involved?
         8              Q.       You used that expression a couple
         9    of times, you said, "It was before my time".               What
        10    are you defining as before your time?
        11                       MR. SAOUL:     Can I just ask, are we
        12    marking tab 24 as an exhibit or ----
        13         (Exhibit 7 was marked for identification)
        14                       MR. BRENNER:     Sure, we didn't do
        15    anything with it, but we can mark it.            That is
        16    better.    Thank you.
        17              A.       It was before I met Craig, I think.
        18              Q.       When you say "before my time", it
        19    is before 2010?
        20              A.       Yes, or I wasn't involved in it.
        21    But mostly, I really mean it is before I met him,
        22    yes.
        23              Q.       Is it your testimony, as you sit
        24    here today, that you don't know anything about W&K
        25    Info Defence?
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                                                                         Page 167
         1                    RAMONA WATTS - CONFIDENTIAL
         2              A.       I know that the it was Lynn's
         3    company, and I remember asking Craig about it and
         4    he said that it was Lynn's company, and I think
         5    there were other shareholders, but I don't
         6    remember.      I wasn't actually involved with that
         7    company.
         8              Q.       Did any of the companies that you
         9    were a director of ever use intellectual property
        10    that had been developed by W&K Info Defence?
        11              A.       I don't recall.
        12              Q.       You don't recall, or the answer is
        13    -- that is it, you don't recall?
        14              A.       Yes, I really don't remember.
        15              Q.       Do you know if W&K Info Defence
        16    ever had Bitcoin?
        17              A.       Well, I wasn't part of W&K so
        18    I actually really don't know.
        19              Q.       Do you think, do you know if your
        20    husband was ever involved with W&K Info Defence?
        21              A.       I don't know.
        22              Q.       Do you know if Dave Kleiman was
        23    ever involved with W&K Info Defence?
        24              A.       I think so, because I am sure Craig
        25    had said that it was Lynn's company with Dave.
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                                                                         Page 168
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Your understanding was it was a
         3    company that Dave had with Lynn?
         4              A.       Yes.
         5              Q.       Lynn's training is as a nurse;
         6    correct?
         7              A.       I don't know.
         8              Q.       What is DeMorgan?
         9              A.       It is the company that we had in
        10    Australia as we left Australia.
        11              Q.       Is that the company that had its
        12    offices in Sydney that we talked about earlier?
        13              A.       That is correct, yes.
        14              Q.       Is it fair to say that DeMorgan was
        15    the primary holding company for Dr. Wright?
        16              A.       I don't know if it was.        I just
        17    know that it was a company that I worked for and
        18    we had offices in Australia; it was like the
        19    parent company, really.
        20              Q.       That is what I meant.        It was the
        21    parent company for the various Dr. Wright related
        22    entities; correct?
        23              A.       I don't know if they were all --
        24    they were not related to him, they were -- it was
        25    a parent company for several different companies.
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                                                                         Page 169
         1                    RAMONA WATTS - CONFIDENTIAL
         2    We hired staff through DeMorgan.
         3               Q.      We had gone through the exhibit
         4    earlier which showed the companies -- or at least
         5    purported to show the companies that you were a
         6    director of.      A lot of those companies were under
         7    the parent of DeMorgan; correct?
         8               A.      I don't know.
         9               Q.      You don't know?
        10              A.       No, I think some of them were,
        11    I don't know if all of them were.
        12              Q.       Okay.    You were a director of
        13    DeMorgan; correct?
        14              A.       I was.
        15              Q.       In fact, DeMorgan was established
        16    in September 2014, does that sound right?
        17              A.       I don't recall.      As I said, there
        18    were many companies, so I don't know the exact
        19    year.    It sounds right, but I do not recall.
        20              Q.       Were you, as a director of
        21    DeMorgan, were you an authorised signatory for the
        22    company?
        23              A.       Yes, one of several.
        24              Q.       One of several, thank you.         Let us
        25    go to I think it is tab 23.         Just let me know when
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                                                                         Page 170
         1                   RAMONA WATTS - CONFIDENTIAL
         2    you are there.
         3              A.       Yes, I am here.
         4              Q.       I think it is an eight page
         5    document, does that seem right?
         6              A.       It is a what page document?
         7              Q.       It is eight pages.
         8              A.       Sure.
         9              Q.       Because I don't have that in front
        10    of me, I want to make sure we are looking at the
        11    same thing.
        12              A.       Sure.
        13              Q.       The first page says the DeMorgan
        14    Wright family trust.        What is Wright family trust?
        15              A.       That would be, I believe --
        16    actually I cannot remember now, because it does
        17    not hold anything any more, but I think the Wright
        18    family trust was actually the Australian
        19    representative of the Tulip Trust.
        20              Q.       Okay.
        21                       THE EXAMINER:      Can we call this
        22    exhibit 8.
        23                       MR. BRENNER:     Yes, ma'am, thank
        24    you.
   H    25           (Exhibit 8 was marked for identification)
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                                                                         Page 171
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
 H       3              Q.       When it says IP deed of assignment,
         4    do you understand that "IP" means intellectual
         5    property?
         6              A.       I do.
         7              Q.       Do you recognise this document?
         8              A.       It is familiar.
         9              Q.       Okay.    Turn to page 8 for me
        10    please?
        11              A.       Yes.
        12              Q.       There are two signatures there, are
        13    there not?
        14              A.       Yes.
        15              Q.       The first signature, it purports to
        16    be from you, is that your signature?
        17              A.       It looks like it is my signature.
        18              Q.       Then the second signature, I think
        19    it is fair to say, purports to be Dr. Wright; is
        20    that correct?
        21              A.       That is what it says.
        22              Q.       Okay.    And you were signing on
        23    behalf of DeMorgan, correct, as the assignor?
        24              A.       Yes, it would say -- yes, that is
        25    right.
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                                                                         Page 172
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Okay.     I don't want to trick you.
         3    If you go back to the third page of the document?
         4               A.      So, I don't think -- so the Wright
         5    family trust, DeMorgan would not be the company
         6    DeMorgan, though.         I don't think.    I think what
         7    you have to do is actually look at the difference
         8    ABNs and see whether they were the same thing,
         9    because I don't think they are.           I think it was
        10    just called the Wright family trust DeMorgan, but
        11    it was not DeMorgan Limited or the DeMorgan, the
        12    company.     ABN is an Australian Business Number, so
        13    each entity would have its own number, so I don't
        14    believe this would be DeMorgan, the company.
        15              Q.       So you think this is another
        16    company you were an authorised signatory for?
        17              A.       No, I think this would be the
        18    representative of the Tulip Trust.           But as I said,
        19    because I don't have all the paperwork in front of
        20    me, I cannot confirm that.
        21              Q.       Okay.    Whatever the company is, you
        22    are signing on its behalf; correct?
        23              A.       Yes.

   H
        24              Q.       And it is purporting to assign
        25    certain intellectual property; correct?
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                                                                         Page 173
         1                   RAMONA WATTS - CONFIDENTIAL
   H
         2              A.       Can you point me to the page where
         3    it says ----
         4              Q.       It is page 3(?)
         5              A.       Yes.
         6              Q.       Do you see that?
         7              A.       I do.
         8              Q.       It says that the assignor owns the
         9    intellectual property and intellectual property
        10    rights in the core technology.          Do you see that?
        11              A.       Yes.
        12              Q.       What is the core technology?
        13              A.       I don't recall what the actual core
        14    technology was.      It is not described in here.          It
        15    is not in detail.
        16              Q.       Yes, it is.     Let's go to page --
        17    unfortunately these are not page numbered, it is
        18    sixth page of the document.         The core technology
        19    is defined there; correct?
        20              A.       Yes.
        21              Q.       It has to do with certain banking
        22    technology?
        23              A.       Sure, okay, yes.
        24              Q.       If you go back to page 3 please.
        25    The assignee is Coin-Exch PTY LTD?
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                                                                         Page 174
         1                   RAMONA WATTS - CONFIDENTIAL

   H     2              A.       That's right.
         3              Q.       That is also a company that you
         4    were a director for?
         5              A.       Yes.
         6              Q.       Also a company that Dr. Wright was
         7    a director for?
         8              A.       I don't know if he was a director.
         9    I know I was.
    H   10              Q.       Okay.    This assignment is dated --
        11    if you look at the front page, it is September 15
        12    2013, do you see that?
        13              A.       Yes.
        14              Q.       And that also coincides, so you
        15    know, it is the same date that the signatures are
        16    -- same date at least typed on the signature page?
        17              A.       Sure.
        18              Q.       So September 15, 2013 is how long
        19    after Dave Kleiman dies?
        20              A.       I don't remember when he died.
        21    I know he died in 2013.
        22              Q.       You don't recall he died in April
        23    2013?
        24              A.       No.
        25              Q.       I represent to you then that he
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                                                                         Page 175
           1                   RAMONA WATTS - CONFIDENTIAL
           2   dies in April 2013?
           3              A.      Yes.
           4              Q.      This the five months later, right?
           5              A.      Sure.
           6              Q.     Let us see what the Wright family
 CC

           7   trust DeMorgan, whatever that company is, let us
           8   see what it is claiming is the IP that it holds,
           9   okay?    Do you see that, do you follow with me,
          10   that is what I am going to do with you, okay?
      H
          11            A.       Okay.
          12            Q.       If you look at paragraph 3B -- I am
          13   sorry, page 3?
          14            A.       Yes.
          15            Q.       It says:    "The IP held in total by
          16   DeMorgan" -- describing what IP DeMorgan holds;
          17   correct?
          18            A.       Yes.
          19            Q.       -- "consists of source code,
          20   algorithms and technical materials that have been
          21   obtained by Craig Wright R&D."         You see that?
          22            A.       I do.
          23            Q.       That is your husband's company;
          24   right?
          25            A.       Craig Wright R&D, I don't know what
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                                                                         Page 176
         1                     RAMONA WATTS - CONFIDENTIAL
         2    it was.    It was a company.       I am not sure if it
         3    was his.       It was a company.
         4              Q.        You are not sure if Craig Wright
         5    R&D is Craig Wright's company?
         6              A.        They are all documented in
         7    corporate records, so they are different
         8    assignments for different things, I really don't
         9    know.

  H     10              Q.       Okay.    Then it says -- it describes
        11    how Craig Wright R&D obtained the IP, does it not?
        12              A.       It doesn't say that that is how it
        13    is obtained, but -- yes, it actually does --
        14    "obtained by Craig Wright R&D".
        15              Q.       Yes, it says it was obtained by
        16    Craig Wright from three sources -- Craig Wright
        17    R&D by three sources?
        18              A.       Yes.
        19              Q.       One of the sources we talked about
        20    earlier was MJF Mining Services; correct?
        21              A.       That's right.
        22              Q.       That was something that was
        23    actually paid for using Bitcoin; correct?
        24              A.       I believe so.
        25              Q.       Then there was a second purchase
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                                                                         Page 177
         1                   RAMONA WATTS - CONFIDENTIAL
         2    from MJF Mining Services also paid for using
         3    Bitcoin; correct?
         4              A.       You see, I don't know, because
         5    I wasn't involved with these purchases, so
         6    I actually don't know.
         7              Q.       Well, you were -- it actually is
         8    you, you are the authorised signatory for this
         9    document, are you not?
        10              A.       But I was not involved with the
        11    purchase of MJF Mining when he purchased -- when
        12    Craig Wright R&D purchased those -- whatever he
        13    purchased from these people.
        14              Q.       Okay, so you know as of this point,
        15    because you are signing the document, that
        16    DeMorgan Wright trust has the IP that is assigned,
        17    you just don't know how it got it?
        18              A.       Sorry, was the question?
        19                       MS. McGOVERN:      Object to the form.
        20    BY MR. BRENNER:
   H    21              Q.       Let me rephrase it.       This is an
        22    assignment
              a ssignment of certain IP by a company that you are
        23    the
              th
               he authorised signatory?
               h
        24              A.       That is correct.
        25              Q.       When you signed this document did
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                                                                         Page 178
         1                   RAMONA WATTS - CONFIDENTIAL
         2    you ascertain that the intellectual property you
         3    were assigning was in fact held by the company you
         4    were assigning it on behalf of?
         5              A.       Can you ask me the question again?
         6              Q.       Sure.    I am just asking, in this
         7    assignment, when you are assigning intellectual
         8    property on behalf of DeMorgan, did you confirm
         9    that you actually -- the company actually had what
        10    it was assigning?
        11              A.       I had our accountants do that.
        12              Q.       Okay, and you were comfortable
        13    enough to sign your name to it; correct?
        14              A.       Yes.

    H   15              Q.       Then the third place you got --
        16    that DeMorgan got IP was from W&K Information
        17    Defence Research LLC; is that right?
        18              A.       That is what it says here.         But as
        19    I said, we had financial controllers and
        20    accountants at that time so I got a lot of my
        21    advice from them.
        22              Q.       But you trust them, correct?
        23              A.       Of course I do, yes.

   H    24              Q.       Right.             confirm
                                                         rm to you
                                           And they confir
                                                         r
        25    that you have this IP to assign it?
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                                                                            Page 179
         1                     RAMONA WATTS - CONFIDENTIAL

   H     2               A.      They did, yes.
         3               Q.       And they confirmed to you it was
         4    accurate that in part the IP had been obtained
         5    from W&K Information Defence Research LLC;
         6    correct?
         7               A.       I believe so.     I am not quite sure
         8    if this was actually carried out.           That is the
         9    problem.       We did a lot of -- there were lots of
        10    deeds and there were lots of contracts and some of
        11    them were in draft form.         I am not sure if this
        12    was actually carried out, to perfectly honest with
        13    you, I do not know.
   H    14              Q.       It was signed by two parties;
        15    correct?
        16              A.       Yes.
        17              Q.       Both parties to the contract;
        18    correct?
        19              A.       Yes.
        20              Q.       And you just don't know if the
        21    assignment actually took place; correct?
        22              A.       I cannot confirm that it did.          I
        23    really cannot.      Unless I actually saw some
        24    corporate documents that said it actually
        25    occurred.
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                                                                         Page 180
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       When it was through or not, you
         3    have no reason to dispute as of September 15, 2013
         4    DeMorgan the Wright family trust was claiming IP
         5    that was once held by W&K Information Defence
         6    research LLC, do you?
         7              A.       I don't know the details, I really
         8    don't.    As I said, I had my accountants, my
         9    financial controllers give me advice on that, so I
        10    don't know.
        11              Q.       My only question is, do you have
        12    any reason to dispute the accuracy of this
        13    document?
        14              A.       Currently I have a lot of reason to
        15    doubt actually, because I said to you before, we
        16    had -- our computers were hacked so I am very
        17    jaded, I really don't know what is real and what's
        18    not any more.
        19              Q.       So when was the computer hacked?
        20              A.       In 2014 we knew that our computer
        21    was hacked.     I don't know whether it was hacked in
        22    2013 or not.      But in 2014 we were getting very,
        23    very strange messages.
        24              Q.       So you think it is possible that
        25    someone hacked your computer, made a document,
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                                                                          Page 181
         1                   RAMONA WATTS - CONFIDENTIAL
         2    dated it to 2013, forged your signature, forged
         3    Dr. Wright's signature, and therefore you doubt
         4    the authenticity of this exhibit.           Is that your
         5    testimony?
         6              A.       No, I didn't say that at all.           You
         7    asked me whether I doubt the authenticity of this
         8    document and I really don't know.           As I said,
         9    I really don't know.        It could be perfectly valid
        10    and it might be not be, I do no know.            You are
        11    asking me to tell the truth.          I am delling the
        12    truth.
        13              Q.       Of course.     Putting aside the
        14    document, do you doubt that various entities of
        15    which you were a director obtained IP once held by
        16    W&K Information Defence; do you doubt that?
        17              A.       I don't know, because I don't have
        18    the actual records in front of me.           If I did, if I
        19    could see the actual assignments and if I knew
        20    that they were actually carried out, that is a
        21    different story, but I don't.          These are
        22    photocopies, these are things that might --
        23    I don't know who handed these ones in.            They could
        24    have been from our computers that were hacked, so
        25    I don't know.      If I went straight directly to our
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                                                                          Page 182
         1                   RAMONA WATTS - CONFIDENTIAL
         2    corporate secretary, who could give me all the
         3    corporate records, then I could answer your
         4    question.
         5              Q.       Who is your corporate secretary?
         6              A.       In Australia, I do not remember.
         7    We had a corporate secretary in Brisbane, I do not
         8    remember the names.
         9              Q.       If I were sitting here and I wanted
        10    to know if this document was authentic, are you
        11    telling me that you cannot answer that question?
        12              A.       Yes.    I don't know.
        13              Q.       Are you telling me that you don't
        14    know who can answer that question?
        15              A.       I don't know.
        16              Q.       Okay.    Let's look at another one.
        17    Let's go to tab 30.        Are you there?
        18              A.       Yes.
        19              Q.       It is a long document.        It is 39
        20    pages long I think.
        21              A.       Yes.
        22              Q.       So at any point if you want to look
        23    somewhere else in the document to get context you
        24    are welcome to do so.        I don't think it is a good
        25    use of our either of our time to read 40 pages to
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                                                                         Page 183
         1                    RAMONA WATTS - CONFIDENTIAL
         2    ourselves right now; okay?
         3               A.      Sure.
         4               Q.      Do you recognise this document?
         5               A.      I recognise something similar to
         6    this, yes.
         7               Q.      Okay.    It is a document that is
         8    produced by a company called Business Reports and
         9    Values; correct?
        10              A.       Yes.
        11              Q.       That was a company that was
        12    retained by entities you were affiliated with to
        13    do evaluation of certain (unclear) engineering;
        14    correct?
        15              A.       That is right.
        16              Q.       And that valuation was done on or
        17    about November 13, 2014; correct?
        18              A.       I don't remember.       I know we had
        19    valuations done on the company, yes.
        20              Q.       The companies of which the
        21    valuations were being done, one was called
        22    Cloudcroft; is that right?
        23              A.       Yes.
        24              Q.       You were a director of that
        25    company; correct?
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                                                                         Page 184
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I don't remember.
         3              Q.       Okay.
         4                       THE EXAMINER:      Shall we call this
         5    exhibit 9.
         6                       MR. BRENNER:     Yes, ma'am, thank
         7    you.
   H
         8           (Exhibit 9 was marked for identification)
         9    BY MR. BRENNER:
        10              Q.       You don't recall whether you were a
        11    director of Cloudcroft at any point?
        12              A.       So Mr. Brenner, as I explained to
        13    you before, I was a director of many companies
        14    over many years.       At some point I was a director
        15    and at other points I wasn't a director of
        16    different companies.        So you are asking me to
        17    recall now if I was a director of a particular
        18    company seven years ago, eight years ago.             I don't
        19    recall, no.
        20              Q.       So my question may have been
        21    imprecise.     I am not asking on this date, I am
        22    asking at any point were you a contractor of
        23    Cloudcroft?
        24              A.       I don't remember.       I was a director
        25    for many different companies at many different
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                                                                            Page 185
         1                     RAMONA WATTS - CONFIDENTIAL
         2    times.
         3               Q.       I think you told me earlier you do
         4    remember you were a director for Hotwire; correct?
         5               A.       Yes, because I worked very
         6    specifically with -- actually was I?            This is the
         7    thing, I don't even remember if I was a director
         8    for Hotwire.       I was a chief people officer for
         9    them.     I probably was a director.        I do not
        10    recall.    I would need to actually look at the
        11    corporate records.
        12              Q.        What about Coin-Exch, do you recall
        13    being a director of that one?
        14              A.        Coin-Exch I do remember.
        15                        MR. SAOUL:    I thought we started
        16    with these questions.
        17                        MR. BRENNER:    We did, I cannot --
        18    we did.    Now we have a document, I want to see if
        19    this is refreshes her recollection, because she
        20    claims she does not remember, so I want to see if
        21    this refreshes her recollection.
        22              A.        My answer is still the same.         It
        23    was many years ago, I was a director of many
        24    different companies.        Asking me now I don't
        25    remember.       I worked on all of them at some point.
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                                                                         Page 186
           1                  RAMONA WATTS - CONFIDENTIAL
           2   I worked with all of my staff on all of them at
           3   some point.     Whether I worked as a director or
           4   whether I worked as a chief people officer or an
           5   HR, I worked across all of them, and I do not
           6   recall.
           7   BY MR. BRENNER:
           8             Q.      And you will give me the same
           9   answer if I ask about CO1N; correct?
          10             A.      That is correct.
  H       11             Q.      If you turn to page 7 of the
          12   document, do you see that?
          13             A.      I do.
          14             Q.      Okay.    It says the valuation report
          15   is concerned with valuing source code at the
          16   (unclear) of four separate companies; do you see
          17   that?
          18             A.      Yes.
          19             Q.      And that is consistent with your
          20   recollection that over the years you did
          21   valuations for various companies that you were
          22   involved with; correct?
          23             A.      Yes, we did.
      H   24             Q.      Let's see if the next paragraph
          25   refreshes your recollection of whether you are a
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                                                                         Page 187
         1                     RAMONA WATTS - CONFIDENTIAL
   H     2    director.       It says:   "Ownership and capital
         3    structure."      Do you see that?
         4               A.      Yes.
         5               Q.      It says:    "The controlling entity
         6    for the above" -- which is the four companies --
         7    "is DeMorgan Ltd."         Do you see that?
         8               A.      Yes.
         9               Q.      So these are four companies that
        10    were controlled by DeMorgan Ltd; correct?
        11              A.       That is correct.
        12              Q.       And those companies, the directors
        13    of those companies, there is a grand total of two
        14    people; correct?
        15              A.       That is what it says here.
        16              Q.       One is Dr. Craig Steven Wright;
        17    correct?
        18              A.       That is what it says here, yes.
        19              Q.       And one is Ramona Watts.         That is
        20    you; correct?
        21              A.       That is what it says.
        22              Q.       Does that refresh your recollection
        23    that you were one of two directors for the holding
        24    company that controlled Cloudcroft, Hotwire
        25    Coin-Exch and CO1N?
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                                                                         Page 188
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Well, I had actually said to you
         3    before that I was a director of DeMorgan.
         4    I remembered that.
         5              Q.       Sure.    Do you now recall that
         6    DeMorgan controlled these four entities?
         7              A.       Controlled is the wrong word.
         8    I would not use the word controlled.            That was not
         9    my understanding, that it was controlled.
        10    I understood that DeMorgan actually hired a lot of
        11    staff for those different entities.            I didn't
        12    write this paper.
        13              Q.       So you would quarrel with the term
        14    the controlling entity?
        15              A.       No, I would not, because if that is
        16    how it is written in business terms, perhaps, then
        17    it would be the right phrase to use.            I don't
        18    know.    I would certainly speak to, I don't know, a
        19    business lawyer, perhaps, to get advice on whether
        20    that was the right term or not.
   H    21              Q.       Okay.    Let us look at -- give me
        22    one second.     Turn to page 15.       Are you there?
        23              A.       Yes.
        24              Q.       Okay.    So let us walk through to
        25    together and see how the companies are discussed.
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                                                                         Page 189
         1                    RAMONA WATTS - CONFIDENTIAL
         2    It says "Hotwire PE has purchased the W&K ID
         3    package as part of the business strategic
         4    direction with the objective of establishing a
         5    worldwide Bitcoin banking system."           Do you see
         6    that?
         7               A.      I do.
         8               Q.      Does that refresh your
         9    recollection, do you understand, as you sit here,
        10    that WKID refers to W&K Information Defence?
        11              A.       I don't know.
        12              Q.       You don't know?
        13              A.       I don't know that it is W&K
        14    Information Defence.        I can only assume that it is
        15    but I actually really don't know.
   H    16              Q.       Okay.    Then it says that Hotwire
        17    purchased the package relating to the Bitcoin
        18    banking system from that entity; correct?
        19              A.       That is what it says here.
        20              Q.       You have no reason to dispute that;
        21    correct?
        22              A.       No, I don't, but I don't know.
        23              Q.       If you go to the end of that page,
        24    do you see that?
        25              A.       Yes.
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                                                                           Page 190
               1                    RAMONA WATTS - CONFIDENTIAL
        H
               2              Q.       The last paragraph?
               3              A.       Yes.
               4              Q.       It says in the last sentence, it
               5   says:   "Hotwire will be able to develop an
               6   internationally recognised Bitcoin banking system
               7   based on the W&K ID software."        Do you have any
               8   reason to dispute the accuracy of that?
               9              A.       No, I do not think so.   No.

Inc. Desig.   10           Q.          Let us go to the next page, it is
              11   going to go through the next company, Cloudcroft.
              12   Do you see that?
              13           A.          Could we go through company by
              14   company, so if you are asking me the question of
              15   whether or not I dispute that Hotwire was going to
              16   develop a banking system, can you finish your
              17   questioning on that?        Because I can tell you that
              18   we never did.       We tried, but we never did, as in
              19   Hotwire.    So I am not quite sure where you are
              20   headed with these questions, that is all.          It is
              21   very confusing for me.        I see a lot of things that
              22   are written in this document.
              23           Q.          Okay.   Your counsel have the
              24   opportunity to ask you other questions about the
              25   document.       I am just literally going to the next
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                                                                         Page 191
         1                   RAMONA WATTS - CONFIDENTIAL
         2    line of the document.        Okay?
         3              A.       Okay.
   H     4              Q.       The next page is -- we finish page
         5    15, we are on page 16, okay?
         6              A.       Yes.
         7              Q.       That is a discussion of Cloudcroft;
         8    right?
         9              A.       Yes.
        10              Q.       It says it is an Australian company
        11    specialising in developing and researching systems
        12    preventing cyber criminal attacks; correct?
        13              A.       That is what it says, yes.
        14              Q.       Do you have any reason to dispute
        15    that?
        16              A.       I don't know have all my company
        17    record notes on me, so I don't currently, but if I
        18    did it might be different.         I didn't write this so
        19    I really don't know.
        20              Q.       Okay.
        21              A.       I do not know it is accurate.
        22              Q.       If you go to the bottom of that
        23    page, where it describes what percentage of the
        24    source code used by Cloudcroft is coming from WK,
        25    do you see that?
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                                                                           Page 192
         1                   RAMONA WATTS - CONFIDENTIAL
  h      2              A.       Yes.
         3              Q.       And it says WK source accounted for
         4    46% of the source for Cloudcroft; correct?
         5              A.       That is what it says, I do not know
         6    what it means exactly.        As I said, I didn't write
         7    this.
         8              Q.       Then it says at the end:         "W&K
         9    source will enable research activities associated
        10    with a virtual universe."         Do you see that?
        11              A.       I see what it says.
        12              Q.       Any reason to dispute it?
        13              A.       As I said, I didn't write it so
        14    I don't know where it came from.
        15              Q.       This is a company that we
        16    established is controlled by an entity that you
        17    are one of two directors of, so I am asking you,
        18    regardless of what it says, do you have any reason
        19    to dispute that?
        20                       MS. McGOVERN:      Let me state my
        21    objection to that question for the record.             You
        22    have not established anything, Mr. Brenner,
        23    I think it is an inappropriate question.
        24                       MR. BRENNER:     I am not familiar
        25    with that legal objection, but it is noted.
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                                                                         Page 193
          1                  RAMONA WATTS - CONFIDENTIAL
          2   BY MR. BRENNER:
          3             Q.       Go ahead.
          4             A.       What was your question again?
          5             Q.       My question is, regardless of what
          6   the document says, do you have any reason to
          7   dispute, based on you being a director of DeMorgan
          8   LTD, which was the controlling entity of
          9   Cloudcroft, the description that Cloudcroft was
         10   using -- was obtaining 46% of its source share
         11   from W&K?
         12             A.       Well, I don't have the company
         13   records in front of me to check, so I don't know.
         14             Q.       Let us go to the next one, which is
         15   the Hotwire PE?
         16             A.       Hmm hmm.
         17             Q.       That one you actually have better
         18   recollection because you actually worked for that
         19   company too; correct?
         20             A.       I did.
         21             Q.       You were the people officer?
         22             A.       I was.
         23             Q.       What is that?
         24             A.       It is HR role, really.

     H   25             Q.       Good name.     It says:
                                                   say
                                                     ys:     "Hotwire
                                                                  i   PE
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                                                                         Page 194
         1                   RAMONA WATTS - CONFIDENTIAL
   H     2    accelerates early stage technological and
         3    scientific research programmes creating world
         4    class solution platforms."         Do you see that?
         5              A.       Yes.
         6              Q.       Do you think that a fair
         7    description, at least on a general basis, of what
         8    Hotwire was doing?
         9              A.       That one, yes, I would say it was,
        10    yes.
        11              Q.       "The primary focus is on high
        12    leverage automated systems with potential to
        13    change how the world operates on a day-to-day
        14    basis."    Do you agree with that statement?
        15              A.       I do.
        16              Q.       You agree with that, do you
        17    understand and agree that that in part had to do
        18    with using Bitcoin?
        19              A.       No, it does not say that.
        20              Q.       I am not asking if it says that.
        21    Do you understand that the "change how the world
        22    operates on a day-to-day basis" was in part
        23    relating to the use of crypto coin?
        24              A.       No.
        25              Q.       Then it says:      "Working with both
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                                                                         Page 195
         1                   RAMONA WATTS - CONFIDENTIAL

  H      2    government and commercial partners the company
         3    seeks to leverage the opportunities of a globally
         4    interconnected cyberspace thereby opening
         5    opportunities for commerce and trade."            Is that a
         6    fair description of what Hotwire was doing?
         7              A.       Yes.
         8              Q.       Okay.    Then if you can scroll down,
         9    it also allocates, and says that 32% of the source
        10    share comes from W&K.        Do you see that?
        11              A.       Well, I don't know what it means.
        12    As I said, I didn't write this.
        13              Q.       Do you have any reason to dispute
        14    that?
        15              A.       I don't have my company records in
        16    front of me, so I cannot really say if this is
        17    accurate or not.
        18              Q.       By the way, do you doubt the
        19    authenticity of this document?
        20              A.       I don't know.
        21              Q.       You don't know one way or the
        22    other?
        23              A.       I don't.
        24              Q.       Okay.    Do you have an independent
        25    recollection of retaining Business Reports and
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                                                                         Page 196
           1                 RAMONA WATTS - CONFIDENTIAL
           2   Values for anything?
           3            A.       I know we did do something very
           4   similar, it could very well be this document,
           5   I really don't know.       We did a valuation and
           6   I believe it was with -- is it BRV?           I think that
           7   was one of the companies, so I know we did a
           8   valuation.    I don't know if this was the final
           9   report, I don't know if there were several
          10   reports, I don't know if this is a draft, I do not
          11   know.
          12            Q.       Okay.    It is BRV, just for the
          13   record, Business Reports and Values?
          14            A.       Sure, yes.
 Auth-H   15            Q.       You recognise that company, you
          16   just don't remember this particular report?
          17            A.       I don't remember this particular
          18   report, I remember receiving reports from them.
          19   I do not know whether it is this one, I do not
          20   know if this is the first or the final or the
          21   draft.   I do not know.      This could be incorrect,
          22   and we could have pulled them up and said, "Look,
          23   you know, this is wrong, do it again", because a
          24   lot of times it was our accountant who actually
          25   dealt with them.      And if our accountant did not
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                                                                         Page 197
         1                   RAMONA WATTS - CONFIDENTIAL
    H    2    understand something and sent something off then
         3    it would not have been correct and we would have
         4    had to correct them.
         5              Q.       Go to page 4 -- don't worry about
    H    6    page 4.    I will keep going.       On
                                                  O the
                                                     th bottom
                                                        b tt   of
                                                                f page
         7    17 it says:     "W&K source will enable the creation
         8    of world class solution platforms in support to
         9    research activities undertaken as part of
        10    Coin-Exch CO1N and Cloudcroft.          "Do you see that?
        11              A.       I see that that was written, yes.
        12              Q.       Any reason to dispute it?
        13              A.       As I said, again, and I will say it
        14    again, I do not have any of my corporate records
        15    in front of me so I cannot check.           I do not know
        16    if this is a draft, first draft, second draft, or
        17    the tenth draft.
        18              Q.       Okay.
        19              A.       Our accountants liaised with these
        20    people,
              p eople, our accountants often made -- sometimes
        21    made
              m ade mistakes or didn't understand something.
        22    They
              T hey could come to us to check.          We would then go
        23    with
              w ith through our corporate records with our
        24    corporate
              c orporate secretary and say, "this is wrong" or
        25    "this
              " this is right".      But I would then have all my
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                                                                         Page 198
          1                   RAMONA WATTS - CONFIDENTIAL
    H
          2   records in front of me so I could check.             You are
          3   asking me to authenticate something and I have
          4   nothing in front of me to check, so I cannot do
          5   that.

 H-F-S    6              Q.      Okay.    I am not sure you have
          7   nothing, but let's see if this helps you.             Let's
          8   go to page 23.      This is not a draft, is it, ma'am.
          9   This is a signed document, isn't it?
         10             A.       I can see a signature, but I do not
         11   know if it is a draft or not.
         12             Q.       As you sit here, it is your
         13   testimony that Mr. Goldstein may have signed this
         14   but it was just in draft form as far as he was
         15   concerned?
         16                      MR. SAOUL:     I am sorry, I do object
         17   to that.     This is not a document that this witness
         18   has produced, it is not her signature.            These are
         19   not matters within her knowledge.           Unless you have
         20   any basis for suggesting otherwise you cannot ask
         21   her a question like that.
         22                      MR. BRENNER:     Sir, I just
         23   established earlier in the document she is the
         24   director of the company that sought this report.
         25   Please, of course it is her document.            Do you want
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                                                                         Page 199
            1                  RAMONA WATTS - CONFIDENTIAL
            2   to go back, we can go back if you would like.            Let
            3   me try to keep this moving.
            4   BY MR. BRENNER:
Auth-F-S    5             Q.     Let's go back again, go back to
            6   page 7, do you see that?       Do you see that?      It is
            7   an evaluation of four companies, Cloudcroft,
            8   Hotwire, Coin-Exch and CO1N; correct?
            9             A.     That is what the document say.
           10             Q.     According to the document those are
                                                                 ar
           11   all part of the holding company and controlled by
           12   something called DeMorgan Ltd; correct?
           13             A.     Well, it is according to this
           14   document that I didn't write.        And as I said to
           15   you before, we have had many drafts of different
           16   documents, and we have perhaps go gone back and
           17   said "this is not right" or "this is incorrect".
           18   I do not know if this is the first draft or the
           19   final draft.
           20             Q.     Okay, and you are identified as a
           21   director of DeMorgan Ltd; correct?
           22             A.     I have always said that I am a
           23   director of DeMorgan, yes.
           24             Q.     Thank you.     Let's go back to page
           25   18 now.    This is Coin-Exch; correct?
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                                                                         Page 200
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      That is right.
         3               Q.      This one clearly has to do with
         4    Bitcoin, does it?
         5               A.      It was an exchange platform, so,
         6    yes.
    H    7               Q.      "Coin-Exch will offer exchanges in
         8    trades between Australia dollars and Bitcoins";
         9    correct?
        10              A.       Yes.
        11              Q.       "It will also offer trading
        12    products with the ability to exchange Bitcoin with
        13    other national currencies, commodities and Bitcoin
        14    derivatives"; correct?
        15              A.       You see, this is what it says, but
        16    you understand that Coin-Exch never did that in
        17    the end.
        18              Q.       Okay.    Did I read it correctly?
        19              A.       You read it correctly and the
        20    wording here is correct, but it actually did not
        21    do that in the end.        We did not have the right
        22    staff, we didn't have enough resources to do it.
        23    So a lot of what says here in this document, they
        24    are lovely words, but a lot of it didn't actually
        25    happen.
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                                                                         Page 201
         1                     RAMONA WATTS - CONFIDENTIAL
    H    2               Q.      Okay.    It says that Coin-Exch is
         3    also using W&K source, does it not?
         4               A.      That is what it says on this piece
         5    of paper.       I actually don't even know if it is
         6    using it to source, it says "source share", and
         7    I actually really do not understand that.             I don't
         8    know what it means because I didn't write it.
         9               Q.      Okay.    Then the next, at the end it
        10    says:    "W&K source will enable the creating of a
        11    fast and stable trading platform, trade Bitcoin as
        12    fundamental currency to buy and sell traditional
        13    assets and securities."        Correct?
        14              A.       That is what is written on this
        15    piece of paper.
        16              Q.       The last one is CO1N.        Am
        17    I pronouncing that right, because it is a number.
        18    Do you refer to it as "coin"?
        19              A.       It is CO1N, yes.
        20              Q.       This one, this company also has to
        21    do with Bitcoin, does it not?
        22              A.       It does not have to do with
        23    Bitcoin, this was a wallet that we were trying to
        24    produce.

    H   25              Q.       "CO1N is offering an online
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                                                                         Page 202
         1                    RAMONA WATTS - CONFIDENTIAL
    H
         2    scalable e-wallet solution with secure vault
         3    technology for the Bitcoin market."            Correct?
         4              A.       It does not have to do with
         5    Bitcoin.
         6              Q.       Okay, has to do with Bitcoin
         7    wallets?
         8              A.       It is a wallet, it is a Bitcoin
         9    wallet, yes.

    H   10              Q.       Yes ma'am.     Again, the same thing,
        11    using W&K source; correct?
        12              A.       I don't know, I do not know what it
        13    means when it as source share because I didn't
        14    write it.      I did not provide the information for
        15    any of this.
        16              Q.       Okay.    It says:    "W&K source will
        17    enable the development of transaction protocols
        18    and the rule based algorithms to significantly
        19    reduce transaction times and design novel security
        20    protocols and encryption algorithms without
        21    compromising transaction times or scale ability."
        22    Do you have any reason to dispute that?
        23              A.       I don't know whether this actually
        24    happened or not.       I know that we never finished
        25    the wallet.     As with Coin-Exch we did not have the
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         1                    RAMONA WATTS - CONFIDENTIAL

   H     2    resources and we did not have the people.             So
         3    I can tell you that this was not finished, it
         4    wasn't even half done, I don't think, which is
         5    very disappointing, because when we started this
         6    there was so much potential.
         7               Q.      At the very end there is a
         8    conclusion about the valuation, is there not, page
         9    23, it is near the very end, not the very end?
        10              A.       That's right.
        11              Q.       For those four companies it assigns
        12    the value of the software which used in part W&K
        13    source at $378,475,713; correct?
        14              A.       That is what is written there, but
        15    I do not understand when it says using W&K source.
        16    I did not provide the information.           I don't know
        17    if any of this information is correct.
        18              Q.       Okay.    Do you know Lee Goldstein?
        19              A.       No.
        20              Q.       Alright, let's move on.        Earlier
        21    I asked you a question and I inadvertently limited
        22    the question.      I had asked you to tell me
        23    everything that Dave Kleiman talked you about
        24    Bitcoin.     Let me just broaden it out.         Can you
        25    tell me everything that Dave Kleiman ever told
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                                                                         Page 204
         1                   RAMONA WATTS - CONFIDENTIAL
         2    you, other than what you have told me before?
         3                       MR. SAOUL:     That is an
         4    exceptionally broad question, Mr. Brenner.
         5                       MR. BRENNER:     Intentionally so.
         6                       MR. SAOUL:     Well, yes, but I do not
         7    see how any witness could possibly be ever
         8    reasonably expected to answer a question of that
         9    nature.    I mean it is broad beyond belief.           Could
        10    you please try to particularise it a little bit.
        11    BY MR. BRENNER:
        12              Q.       Let me start with what you told me,
        13    then we can see if you can tell me if there is
        14    anything else.
        15              A.       Sure.
        16              Q.       I am basing it on my notes.         If I
        17    get it wrong, you will tell me, okay.            I believe
        18    you told me that Dave Kleiman never discussed with
        19    you anything about Bitcoin.         Is that correct?
        20              A.       That is right.
   H    21              Q.       I believe you told me that you had
        22    lots of -- or some discussions with Dave where
                                                       where you
        23    talked about Craig's personally?
        24              A.       Yes.
        25              Q.       Right, things about how he could be
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                                                                         Page 205
         1                   RAMONA WATTS - CONFIDENTIAL

  H      2    difficult and things like that, right?
         3              A.       That is correct.
         4              Q.       You told me that Dave Kleiman also
         5    told you, or said to you words to the effect of,
         6    "I know Craig can be difficult but he is really
         7    creating something brilliant."
         8              A.       Yes.
         9              Q.       I think that is all you told me so
        10    far.    Does that accord with your memory?
        11              A.       Yes.
 H-R    12              Q.       Okay.    Are there any other subject
        13    matters that you discussed with Mr. Kleiman?
        14              A.       Sure, I discussed my children,
        15    I ----
        16              Q.       I don't need to know about that.
        17    What else?
        18              A.       I seriously cannot remember.
        19    I might have complained about my landlord.
        20              Q.       That is personal nature, I don't
        21    need to know about it.
        22              A.       Right, so most of my conversation
        23    with him was personal.
        24              Q.       Okay.    Maybe this will address your
        25    counsel's concern, which I take, which is, other
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                                                                         Page 206
         1                     RAMONA WATTS - CONFIDENTIAL
         2    than personal things, are there any other things
         3    that you have not told me about that you discussed
         4    with Dave Kleiman?
         5               A.       That I discussed personally with
         6    him, no.       He was usually having a conversation
         7    with Craig, I would pop in and say, "How are you",
         8    and we would be having a chat.
         9               Q.       Anything you overheard in those
        10    conversations, other than what you have already
        11    told me?
        12              A.       So, I've heard Craig getting
        13    annoyed with him because Dave didn't understand
        14    certain things.      I know Craig was often trying to
        15    explain things to him but I don't know what in
        16    particular.      That I couldn't tell you, but I ----
        17              Q.       I didn't mean to cut you off.
        18    Anything else?
        19              A.       Not really.     I mean, I am trying to
        20    think now as hard as I can, as I said, most of the
        21    time I would walk into a conversation and say,
        22    "Hello, how are you", have a bit of a
        23    conversation.      Then if Craig walked out to go to
        24    the bathroom or get something to eat we would have
        25    a chat.
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                                                                         Page 207
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Okay.    As you sit here today, and
         3    I appreciate you are trying your best, have you
         4    told me everything you recall discussing with
         5    Mr. Kleiman?
         6              A.       Yes.
         7              Q.       And everything you recall over
         8    hearing?
         9              A.       Yes, I ----
        10                       MR. BRENNER:     Okay.    I do not know
        11    where we are vis-?-vis breaks.          Are we up for a
        12    break, or no.      I don't remember.
        13                       THE EXAMINER:      We are due for one.
        14    You have a bit more time.         Does anybody feel they
        15    need a break now?
        16                       THE WITNESS:     I am okay, I am fine.
        17                       MR. BRENNER:     I am fine.      Let's try
        18    to go 10 or 15 more minutes.
        19                       THE EXAMINER:      Let us go on while
        20    we can.
        21                       MR. BRENNER:     Yes.    I have been
        22    trying to keep a tab on the time and I lost this
        23    one.
        24                       THE EXAMINER:      We came back at
        25    about 35 ----
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         1                   RAMONA WATTS - CONFIDENTIAL
         2                       MR. BRENNER:     I will shoot for 35,
         3    and I will let you know if there is a breaking
         4    point before that.
         5    BY MR. BRENNER:
         6              Q.       Miss Watts, there came a time after
         7    Mr. Kleiman, Dave Kleiman passed away, that you
         8    had communications with Ira Kleiman.            Do you
         9    recall that?
        10              A.       I do, yes.
        11              Q.       There were communications
        12    originally between your husband and Dave's father
        13    Louis.    Were you aware of those?
        14              A.       Craig said to me -- he had said to
        15    me that he was going to contact Dave's father,
        16    yes.
        17              Q.       Let me just get this out of the
        18    way.    Did you ever have any contact with David's
        19    father, Louis?
        20              A.       I don't remember, I don't remember,
        21    I remember dealing with Ira, but I don't know
        22    whether I dealt with Louis, I don't know.
        23              Q.       Good, you answered my next
        24    question, which was you do have a recollection of
        25    dealing with Ira?
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                                                                         Page 209
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I do.
         3              Q.       We talk about this, I am going to
         4    ask you to accept my representation that Dave died
         5    in April 2013?
         6              A.       Okay, sure.
         7              Q.       Just to give you a time frame.
         8              A.       Sure.
         9              Q.       Do you know when -- was the first
        10    contact between your family, and I mean your
        11    family, you or your husband and the Wright family
        12    post Dave's death, was that from between Craig and
        13    Louis?
        14              A.       I don't know.      I think so.     I don't
        15    know because I didn't reach out to anyone.
        16              Q.       Because you told me Craig told you
        17    that he was reaching out to Louis.           Do you know
        18    when that contact first happened?
        19              A.       No, I don't know.
        20              Q.       Do you know approximately, even a
        21    year that it happened?
        22              A.       I have no idea.
        23              Q.       Do you know why Craig was reaching
        24    out to Louis?
        25              A.       Yes.
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                                                                         Page 210
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Why is that?
         3              A.       Because Craig had offered Dave's
         4    shares in -- I think it was Coin-Exch, for Dave to
         5    do some work for Coin-Exch.         The work was not done
         6    though, because Dave actually died, but Craig said
         7    that it was the right thing to do, to give it to
         8    his father.
         9              Q.       So let me see if I can summarise
        10    that a little bit.        I think you did a pretty good
        11    job.    Before Dave died it is your understanding
        12    that Dave was going to do certain work for
        13    Coin-Exch in exchange for shares in that company?
        14              A.       Yes.    Well, it was not my
        15    understanding, I mean we were all at a meeting.
        16    So there was -- I cannot remember when we had this
        17    meeting, but we had several people on board.              I do
        18    not think it was other directors because I do not
        19    think there were other directors that the time.
        20    But we had -- I cannot remember who they are now,
        21    but I recall having a Coin-Exch meeting where Dave
        22    was supposed to have done some work, yes.
        23              Q.       Okay.    Am I right in assuming that
        24    Dave was not physically present at that meeting?
        25              A.       No, he dialled in remotely.
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                                                                         Page 211
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Do you know if he was in the
         3    hospital at the time?
         4              A.       I don't know.
         5              Q.       And was there a formal contract
         6    entered between Dave and Coin-Exch?
         7              A.       I don't recall.
         8              Q.       Do you recall if the contract was
         9    going to be with Dave personally, or with W&K Info
        10    Defence, or some other entity?
        11              A.       It would have been with Dave
        12    personally.
        13              Q.       And your understanding, broad
        14    strokes, was that Dave was going to do certain
        15    work and -- was his payment solely going to be in
        16    shares of Coin-Exch?
        17              A.       I don't recall.
        18              Q.       You recall at least part of his
        19    remuneration was going to be shares in Coin-Exch?
        20              A.       I do not even know if it was a
        21    remuneration, but yes, it was an agreement that he
        22    would get shares in Coin-Exch for certain work
        23    that he was supposed to have done.
        24              Q.       You said that Dave died before the
        25    work was done, and I am just making sure
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                                                                         Page 212
         1                   RAMONA WATTS - CONFIDENTIAL
         2    I understand, was the contact done but the work
         3    was not completed yet, or the contact didn't get
         4    done before Dave died?
         5              A.       I think the contract was actually
         6    done.
         7              Q.       Okay.    And Dave, because -- whether
         8    it is because of his illness and ultimately his
         9    passing or whatever the reason, by the time he
        10    dies the work was not complete?
        11              A.       No, not at all.
        12              Q.       Was it started?
        13              A.       I do not think it was even started.
        14              Q.       And now to bring us back to where
        15    we were, your understanding is Craig reached out
        16    to Louis, Louis Kleiman, to make sure that he got
        17    the shares in Coin-Exch that Dave was supposed to
        18    get?
        19              A.       Well, not so much him but Dave's
        20    estate, I suppose, whoever was meant to get the
        21    shares.
        22              Q.       That is fair.      That is fair.      And
        23    Craig did that the because he thought it was the
        24    right thing to do?
        25              A.       That is right.      It is probably the
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                                                                         Page 213
         1                   RAMONA WATTS - CONFIDENTIAL
         2    legal thing to do as well, I suppose, if you have
         3    someone who has shares in a company, I do not
         4    know.
         5              Q.       Okay.    When you say the word
         6    "Craig" here is it Craig or is it Coin-Exch, or
         7    Craig is acting on behalf of Coin-Exch?
         8              A.       Well, I mean, Craig, I do not know
         9    if he was a director of Coin-Exch at that time,
        10    but he was the one who reached out to Louis, so
        11    I say Craig.
        12              Q.       Okay.    Now, were those shares ever
        13    given to Louis Kleiman?
        14              A.       No, because we had negotiations
        15    with Ira.
        16              Q.       Okay.    At some point did Louis
        17    Kleiman step out of the negotiations and Ira took
        18    his place?
        19              A.       Yes, and I don't know whether it
        20    was when Louis Kleiman passed away or if Ira took
        21    over because Louis was sick.          I really don't know
        22    those details.
        23              Q.       Okay.    You said that there then
        24    ensued negotiations with Ira regarding the
        25    Coin-Exch shares, is that what you said?
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                                                                         Page 214
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       That's right.
         3              Q.       You were involved in those
         4    personally, were you not?
         5              A.       Yes.
         6              Q.       And Dr. Wright was involved in
         7    those; correct?
         8              A.       Yes.
         9              Q.       Stefan Matthews was involved in
        10    those; right?
        11              A.       At the end, yes.
        12              Q.       Who is Stefan Matthews?
        13              A.       So Stefan worked with Craig a long
        14    time ago, I think when Craig was working at a
        15    company called BDO, and Stefan introduced us to an
        16    early investor who we made -- DeMorgan actually
        17    made a deal with this person, Rob, his name was
        18    Rob, in terms of funding DeMorgan and us moving to
        19    the UK and for Craig to be doing IP work.
        20              Q.       Okay.    Now, if you would go back to
        21    -- by the way, do you know when the conversations
        22    or negotiations with Ira began?
        23              A.       If I had to guess I would say some
        24    time in 2015, but I am not 100% sure.
        25              Q.       When -- let us go to -- if you go
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                                                                         Page 215
          1                   RAMONA WATTS - CONFIDENTIAL
          2   back to tab 23, which has already been marked as
          3   an exhibit to the deposition.          What number does it
          4   have on that?
          5              A.      8.
Auth-H    6              Q.      So we are talking about exhibit 8,
          7   thank you so much.         This was the DeMorgan IP deed
          8   of assignment.      Do you recall that?
          9              A.      I recall you and I having a
         10   conversation about this.
         11             Q.       Sure, that is all I am asking at
         12   this point.     Can you go to page 3 of that
         13   document?
         14             A.       Yes.
         15             Q.       I am focused on paragraph (d), do
         16   you see that?
         17             A.       Hmm hmm.
         18             Q.       "It is noted that although the
         19   contract with W&K Info Defence Research LLC" --
         20   that is what we have been referring to as W&K,
         21   correct?
         22             A.       I don't know, I do not know how
         23   many W&Ks are there, I really don't.
         24             Q.       Okay.
         25             A.       I have noticed there are several
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                                                                         Page 216
         1                   RAMONA WATTS - CONFIDENTIAL
         2    actually, so there is W&K Information Defence
         3    Research, there is W&K ID, is there just something
         4    called W&K?     I do not know of -- I am sure they
         5    are separate, I do not think they are all one
         6    entity.
         7              Q.       You don't think W&K ID is short for
         8    W&K Information Defence, that doesn't make sense
         9    to you?
        10              A.       I don't know.      I didn't set this up
        11    so I don't know.
        12              Q.       Which one did you think was Dave
        13    and Lynn's company, then?         Which one are you
        14    talking about?
        15              A.       Definitely W&K, but is it W&K
        16    Information Defence?        I am sure it is W&K
        17    Information Defence.        I did not realise it has a
        18    Research and an LLC at the end, so I do not know.

   H    19              Q.       You don't know in this document if
        20    this is the one that is a company associated with
        21    Dave Kleiman?
        22              A.       I can only assume because there is
        23    a W&K in there, but I don't know.
        24              Q.       This document talks about a lawsuit
        25    that was filed against W&K Information Defence --
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                                                                         Page 217
         1                   RAMONA WATTS - CONFIDENTIAL

   H     2    a Statement of Claim, I will use the proper
         3    terminology.
         4              A.       Yes.
         5              Q.       You know that your husband brought
         6    a lawsuit or a Statement of Claim against W&K
         7    Information Defence; you know that, don't you
         8    ma'am?
         9              A.       I know that he did something,
        10    I didn't realise it was a lawsuit.           It is called a
        11    Statement of Claim, which is quite different.
        12              Q.       Well, we can debate whether it is
        13    different.     What he did was, is he made a claim in
        14    the courts in Australia saying that W&K
        15    Information Defence owed him a whole lot of money,
        16    did he not?
        17              A.       I don't know, I wasn't there.
        18              Q.       You weren't there when?
        19                       MS. McGOVERN:      Object to the
        20    form ----
        21    BY MR. BRENNER:
        22              Q.       This is your time, what do you mean
        23    by you were not there?
        24                       MS. McGOVERN:      If you could stop.
        25    I need a beat between the question and answer,
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                                                                         Page 218
         1                   RAMONA WATTS - CONFIDENTIAL
         2    particularly these kind of questions.            I am going
         3    to object to the form on this question and the
         4    prior question.
         5    BY MR. BRENNER:
         6              Q.       Okay, you can answer?
         7              A.       I was not there at the court with
         8    him.
         9              Q.       So as you sit here today you do not
        10    nose that your husband brought a Statement of
        11    Claim against W&K Information Defence for tens of
        12    millions of dollars; that is something that you
        13    don't know?
        14              A.       I know that he brought a Statement
        15    of Claim against W&K.
        16              Q.       You know he got what is called a
        17    default judgment against them, meaning he got the
        18    court to award him a tremendous amount of money
        19    from W&K; your know that don't you, ma'am?
        20              A.       I know that he got a default
        21    judgment, yes.
        22              Q.       Right, and he used that default
        23    judgment to take all of W&K's intellectual
        24    property, you know that too, don't you ma'am?
        25                       MS. McGOVERN:      I am going to
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                                                                         Page 219
         1                   RAMONA WATTS - CONFIDENTIAL
         2    object.
         3                       MR. BRENNER:     You just did, that is
         4    enough, thank you.
         5                       MS. McGOVERN:      I ----
         6                       MR. BRENNER:     No.    You want to send
         7    the witness out?
         8                       MS. McGOVERN:      Slow down ----
         9                       MR. BRENNER:     Send the witness out,
        10    please.
        11                       MS. McGOVERN:      (Unclear).
        12                       MR. BRENNER:     Send the witness out,
        13    please.    Send the witness out, please.          I am not
        14    letting you object in front of this witness.              I am
        15    not letting you do it.        Period, end of story.        If
        16    you want to make a speaking objection we will send
        17    the witness out.
        18                       MS. McGOVERN:      I just want to
        19    object.
        20                       MR. BRENNER:     Good. Objected.
        21    BY MR. BRENNER:
 A-L
        22
         2              Q.       Ma'am, you know that, based on that
        23
         3    default judgment, your husband obtained all of the
        24
         4    intellectual property that was owned by W&K
        25
         5    Information Defence; isn't that correct?
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                                                                           Page 220
             1                 RAMONA WATTS - CONFIDENTIAL
      A-L
             2            A.       No, that is not correct at all.
             3                     MS. McGOVERN:      Object to the form.
             4   BY MR. BRENNER:
             5            Q.       What is incorrect about it?
             6            A.       Well, my husband does a lot of
             7   things for the company, or through the company
             8   with the company, so I don't have all the details.
             9   I know that he had a Statement of Claim and I know
            10   that he had a default judgment, and he hasn't gone
            11   into details about everything else.
            12            Q.       But this is your company, this is
Auth-H-S
            13   the Morgan Wright family trust.          How did it get
            14   W&K's information (unclear) how did your company
            15   DeMorgan get W&K's intellectual property which you
            16   are assigning in paragraph 8; how did they get it?
            17            A.       I don't know, I don't have any come
            18   economy any records in front of me.           If I did have
            19   it in front of me I might be able to tell you.             If
            20   I had access to my company secretary and had all
            21   my records I would be able to tell you.            You are
            22   just telling me things now that supposedly
            23   happened and I do not have any of those records.
            24            Q.       You do not know that?
            25            A.       Sorry?
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                                                                           Page 221
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      You do not know that; this is
         3    something that you claim not to have knowledge of;
         4    correct?
         5               A.      What exactly do I claim not to have
         6    knowledge about?
         7               Q.      That your husband and his companies
         8    got all of W&K's intellectual property vis-?-vis a
         9    Statement of Claim he filed in Australia.              You
        10    know that ----
        11              A.       I said that I know he had a
        12    Statement of Claim, and I know that he had a
        13    default judgment.       Now, in the company records
        14    there are so many assignments, there are so many
        15    different assignments from different companies.
        16    I couldn't say to you, I know this happened and
        17    I do not know this happened.          I really couldn't.
        18    If I could have access to my company secretary and
        19    if I had     everything directly from them I would go
        20    through the list and say, "oh yes, this did happen
        21    because this was accounted for, or that happened
        22    because that was accounted for".           Now you are
        23    asking me do I or do I not know.           I don't even
        24    know if I can answer that question because I do
        25    not have any records in front of me.
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Is there anything that I or my
         3    client or my colleagues have done to prevent you
         4    access to your records?
         5                       MS. McGOVERN:      Object to the form.
         6                       MR. SAOUL:     You are asking a
         7    question based on a document that was provided
         8    this morning.      The witness has explained what she
         9    is able to answer based on her knowledge as she
        10    sits here.     She is not alleging that anyone on
        11    your side has withheld documents, she is simply
        12    answering your question.
        13                       MR. BRENNER:     I just said that.
        14    The answer said "if I could get access".             I want
        15    to know if she is claiming anyone is preventing
        16    her.
        17                       MR. SAOUL:     She is sitting in a
        18    room with the documents you have provided, not
        19    with her records in front of her.           It is obvious
        20    what the answer is.
        21                       MR. BRENNER:     Okay.
        22    BY MR. BRENNER:
        23              Q.       Do you agree with your counsel's
        24    statement?
        25              A.       I do.
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         1                     RAMONA WATTS - CONFIDENTIAL
         2                        MR. BRENNER:    Let's take a break.
         3                        THE EXAMINER:     It is now 4.38 in
         4    Britain, so if we take a break for five minutes
         5    this time, unless anybody needs longer.
         6                   (A short break off the record
         7                       from 4.38 to 4.47 p.m.)
         8                        THE COURT REPORTER:      We are going
         9    back on the record at 4.47.
        10    BY MR. BRENNER:
        11              Q.       Miss Watts, I just want to follow
        12    up on the very last thing we were talking about,
        13    which is at -- or at least partly talk about
        14    authentic and inauthentic documents.            Okay?
        15              A.       Sure.
        16              Q.       You made a reference a few times,
        17    that if you could see your corporate records you
        18    would be able to answer with better clarity some
        19    of the things I have asked you to today; is that
        20    true?
        21              A.       I believe so, yes.
        22              Q.       And you told me today that although
        23    you have referenced your corporate secretary on a
        24    few occasions, you do not know who that is;
        25    correct?
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                                                                         Page 224
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I don't know the name of the
         3    corporate secretary, they are in Brisbane.
         4              Q.       Okay.    Do you know how to contact
         5    them?
         6              A.       So, my secretary used to do that,
         7    my assistant used to do that.          I could find a way
         8    of contacting my assistant, but I haven't
         9    contacted her in five years.
        10              Q.       You haven't contacted your
        11    assistant in five years?
        12              A.       Yes, this was the companies in
        13    Australia.
        14              Q.       As you sit here today, you would
        15    not now know how to get in contact with the
        16    corporate secretary that you have referenced?              Is
        17    that fair?
        18              A.       I don't know.      I think I would have
        19    to try and find the search, I might be able to,
        20    I don't know.      I haven't tried.
        21              Q.       Are you aware of any accusations
        22    that have ever been made that DeMorgan Ltd
        23    submitted false documents to the Australian Tax
        24    Office; are you familiar with that allegation?
        25              A.       I am familiar that the Australian
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                                                                         Page 225
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Tax Office might have mentioned that, but the
         3    thing is we were actually hacked, so I would not
         4    be surprised if some of our staff changed some of
         5    our documents.
         6              Q.       Documents that were submitted by
         7    the Australian Tax Office; is it your testimony
         8    that if they were false it was someone else that
         9    did it?
        10              A.       Well, I certainly didn't do it.
        11              Q.       What about your husband?
        12              A.       He would doubt very much that he
        13    would have done something like that.
        14              Q.       Who is Andrew Sommers?
        15              A.       He was our lawyer in Australia.
        16              Q.       Do you trust him?
        17              A.       I don't know him personally.          He is
        18    a lawyer.
        19              Q.       Do you remember the name of his law
        20    firm?
        21              A.       Clayton Utz.
        22              Q.       Did they Clayton Utz represent
        23    DeMorgan in connection with -- well, did Clayton
        24    Utz ever represent DeMorgan Limited?
        25              A.       I do not know if he represented the
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                                                                         Page 226
          1                  RAMONA WATTS - CONFIDENTIAL
          2   companies, I actually really don't know the
          3   relationship whether he represented Craig
          4   personally, or represented the companies.             It
          5   probably was the companies.         I am not sure which
          6   one in particular.
          7             Q.       Okay.    If you could go to tab 32.
          8   Let me know when you are there?
          9             A.       Yes.

Auth-H
         10           (Exhibit 10 marked for identification)
         11             Q.       Miss Watts, do you see what I have
         12   marked as exhibit 10?
         13             A.       I do.
         14             Q.       Is that a letter from Clayton Utz?
         15             A.       Yes.
         16             Q.       Is it an authentic letter?
         17             A.       I do not know, but I recognise it.
         18             Q.       It is e-mailed to you; correct?
         19             A.       Yes.
         20             Q.       As a director of what company?
         21             A.       As a director of DeMorgan.
         22             Q.       It has your e-mail address, was
         23   that your Hotwire e-mail address?
         24             A.       Its was, but we worked across
         25   several companies, as I said to you before.
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                                                                          Page 227
                1                RAMONA WATTS - CONFIDENTIAL
                2           Q.        Sure.   I am just saying that that
                3   was a correct e-mail address for you; right?
                4           A.        Yes.
                5           Q.        Does that a refresh your
                6   recollection that Clayton Utz was representing
                7   DeMorgan Limited?
                8           A.        It does now, yes.

  Improper      9           Q.        Okay, very well.    Does it refresh
 Refreshing
               10   your recollection that at some point in time
Recollection
               11   Clayton Utz determined that they could no longer
               12   represent DeMorgan Limited?
               13          A.      Yes.
               14           Q.     And the reason that Clayton Utz
               15   informed you that they could no longer represent
               16   DeMorgan Limited is that your husband had provided
               17   documents that lacked integrity to both the law
               18   firm and the Australian Tax Office?
               19                  MR. SAOUL:     No, the document says
               20   "raises serious questions".
               21                  MR. BRENNER:     Alright, let's do it
               22   that way.
               23   BY MR. BRENNER:
               24           Q.     Did Clayton Utz determine that the
               25   documents that your husband has submitted both to
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                                                                         Page 228
         1                    RAMONA WATTS - CONFIDENTIAL
         2    its office and to the Australian Tax Office had
         3    serious questions about their integrity?
         4              A.       That what it says here, but I also
         5    had a phone call with Andrew, because before he
         6    sent me this letter, he called me.
         7              Q.       And what did he tell you?
         8              A.       Pretty much the same as this
         9    letter, but he said, "I was going to send you this
        10    letter", he said that the ATO contacted him saying
        11    that there were some documents that had been
        12    modified.      He said he didn't believe Craig did it
        13    at all, because we had already told me that we had
        14    been hacked.      He said, "but I am under instruction
        15    not to be able to represent you because it does
        16    not look good for my company".          He was hugely
        17    apologetic.

H-MPT   18              Q.       Right.    The company, Clayton Utz,
        19    was not only concerned that there were questions
        20    about the integrity of documents submitted to the
        21    Australian Tax Office, but also documents that
        22    were submitted to the law firm; correct?
        23              A.       Well, that is not what he told me.
        24    I know that is what was written here, and he said
        25    "I will be sending you a letter that is quite
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                                                                         Page 229
         1                   RAMONA WATTS - CONFIDENTIAL
         2    standard and it is going to sound awful, but this
         3    is my position, because I have been told from the
         4    top".
         5              Q.       Does this seem like a standard type
         6    letter to you?
         7              A.       Well, I don't know, I have never
         8    written a letter from a law firm before.
         9              Q.       Let me ask you some questions
        10    specifically about conversations you had with your
        11    husband, okay?
        12              A.       Sure.
        13              Q.       Has your husband ever told you that
        14    he was the creator of Bitcoin?
        15              A.       Yes, before he was my husband, yes.
        16              Q.       When did hay say that?
        17              A.       Probably late 2010, 2011, shortly
        18    after we started going out together.
        19              Q.       What did he tell you?
        20              A.       "I created" -- I think he called it
        21    "a digital cash and it's called Bitcoin".
        22              Q.       Did he tell you whether he worked
        23    with anyone else on that?
        24              A.       No.
        25              Q.       Did he tell you he did not work
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                                                                          Page 230
         1                     RAMONA WATTS - CONFIDENTIAL
         2    with anyone else?
         3               A.       No, he said, "I created digital
         4    cash, it's called Bitcoin".
         5               Q.       Did he tell you anything else about
         6    his creation of Bitcoin?
         7               A.       Yes, he said he's been working on
         8    it for 20 years.
         9               Q.       Did he tell you anything else?
        10              A.        He told me a lot of things.        He
        11    said it was a very long process, that he has --
        12    I think at that time he was working on a Masters
        13    or was going to work on a Masters -- oh, no, I
        14    think or had worked on a Master that had very
        15    similar things to Bitcoin and that is where he got
        16    all his ideas from; he had been working on it for
        17    20 years.       Yes, it was just a long, drawn out
        18    process.     I think it started when he was in his --
        19    I don't know, 20s even.
        20              Q.        What did he tell you, if anything,
        21    about Satoshi Nakamoto?
        22              A.        Then he didn't and I hadn't even
        23    heard of the name Satoshi Nakamoto.
        24              Q.        When did you first hear that name?
        25              A.        I don't remember.      I think I was
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                                                                         Page 231
         1                   RAMONA WATTS - CONFIDENTIAL
         2    reading some information online probably and I put
         3    two and two together, that if he created Bitcoin
         4    and if Satoshi Nakamoto created Bitcoin, then he
         5    had to be Satoshi Nakamoto.
         6              Q.       The first you learned that he was
         7    Satoshi Nakamoto was what you were able to put
         8    together, as opposed to him telling you?
         9              A.       He told me when we were married
        10    some time that he was actually Satoshi Nakamoto,
        11    but he told me that he created Bitcoin way before
        12    we were married.
        13              Q.       What did he tell you about his
        14    dealings with Dave Kleiman?
        15              A.       He said Dave was his best friend.
        16              Q.       Anything else?
        17              A.       Yes, that he was a shoulder to cry
        18    on, he was someone who actually understood him, he
        19    listened to him, he didn't judge him.            He said
        20    some lovely things about Dave.          He also said that
        21    he was not well, I think, that he was in and out
        22    of hospitals, but when he was great he was
        23    fantastic and when he was not, you know, Craig
        24    said he wished he could do more for him, but Dave
        25    didn't often say very much when he wasn't well, so
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                                                                          Page 232
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Craig didn't know.
         3              Q.       Before the break we had talked
         4    about a contract with Dave with your husband,
         5    regarding some work that ended up not being
         6    completed prior to Dave dying?
         7              A.       That's right, yes, with Coin-Exch.
         8              Q.       With Coin-Exch, thank you.         Did
         9    your husband tell you any other work he ever did
        10    with Dave Kleiman?
        11              A.       Yes, he said he wrote some books
        12    with him, he edited some of his papers.             That is
        13    mostly it.
        14              Q.       Did he tell you whether they ever
        15    mined Bitcoin together?
        16              A.       No.
        17              Q.       That is a bad question.        Did he
        18    talk to you at all about the subject, meaning
        19    whether and he Dave mined Bitcoin together, or did
        20    he tell you that they did not?
        21              A.       He never told me either way.
        22              Q.       Okay.    Who is Ritzela DeGracia?
        23              A.       Oh, I recognise the name.         I don't
        24    know.    Is -- he could be a lawyer from -- he might
        25    be one of the people from HighSecured, I do not
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                                                                         Page 233
         1                   RAMONA WATTS - CONFIDENTIAL
         2    know, I don't recall.        I just remember the name.
         3              Q.       Do you ever remember any of the
         4    discussions with Craig about Ritzela DeGracia?
         5              A.       I don't remember who that person
         6    is.
         7              Q.       Did you have any discussion with
         8    Craig about W&K Info Defence?
         9              A.       Yes, I did ask him what it was,
        10    what W&K, was because I wasn't involved in it.
        11              Q.       And what did he say?
        12              A.       He said it was Lynn's company with
        13    Dave.
        14              Q.       Did he tell you what they did, what
        15    that company did?
        16              A.       He might have, I don't remember.
        17              Q.       Can you tell me what Craig told you
        18    about Tulip Trading?
        19              A.       He told me that he had bought
        20    Bitcoin and Tulip Trading held the bought Bitcoin.
        21              Q.       Is that what Tulip Trading did, was
        22    it a company that was going to buy and either hold
        23    and sell Bitcoin; is that what Tulip Trading was?
        24              A.       It didn't sell Bitcoin, it bought
        25    and it held the Bitcoin.
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                                                                          Page 234
         1                    RAMONA WATTS - CONFIDENTIAL
         2              Q.       But it did use some of the Bitcoin,
         3    we went through that before, for various projects;
         4    correct?
         5              A.       For some of the work projects, yes,
         6    but it did not sell it for cash, I do not think.
         7    I don't know.      I wasn't -- I don't know.
         8              Q.       What about Wright International
         9    Investments, what did Craig tell you that was?
        10              A.       He told me it was a company that he
        11    started, and I don't remember what year.             I think
        12    it was 2009 but I am not exactly sure.            Then it
        13    held the mined Bitcoin.
        14              Q.       Anything else that he told you?
        15              A.       I don't recall off the top of my
        16    head, I don't know whether it has IP, I do not
        17    know.
        18              Q.       Okay.    Have you already told me
        19    everything Craig told you regarding the formation
        20    and purpose of the Tulip Trust, or is there more?
        21              A.       I am not sure.      That is a very
        22    general question.       Do you have a very specific
        23    question?      If you can ask me a specific question
        24    I will answer it specifically.          I do not know if I
        25    have told you everything because I do not recall
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                                                                         Page 235
         1                     RAMONA WATTS - CONFIDENTIAL
         2    everything off the top of my head.           When you ask
         3    me a question I might remember it.
         4              Q.        What did Craig specifically tell
         5    you was the purpose of the Tulip Trust?
         6              A.        The purpose of the trust was to
         7    continue the research that he had started on
         8    Bitcoin and to promote the legal nature of
         9    Bitcoin.       As I said, in 2010 or 2011, I don't
        10    know.    When we found out that the Bitcoin was used
        11    for nefarious purposes like drugs and money
        12    laundering he was very, very upset.            He said that
        13    was never the way it was intended.           He didn't want
        14    it -- people were claiming that it was supposed to
        15    be anonymous, and he said Bitcoin was never, ever
        16    meant to be and anonymous and never meant to be
        17    used on the black net or dark net, or whatever it
        18    was called.      He said the trust's -- the sole
        19    purpose of the trust really was to continue the
        20    work of what he had been doing, but in a totally
        21    legitimate and legal way, so that Bitcoin was to
        22    be used, you know, so people could use Bitcoin,
        23    but legitimately, not illegally and not
        24    anonymously at all.
        25              Q.       Denis Mayaka, who we talked about
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                                                                         Page 236
         1                    RAMONA WATTS - CONFIDENTIAL
         2    before, did you come to know him through your
         3    association with Craig or in some other way?
         4               A.      Through Craig, yes.
         5               Q.      Did Craig know him before you knew
         6    him?
         7               A.      I believe so, yes.
         8               Q.      Okay.    What did Craig tell you
         9    Mr. Mayaka -- about why Mr. Mayaka played a role
        10    in the trust?
        11                       MS. McGOVERN:      If I could just
        12    interject, Magistrate Reinhart has asked
        13    plaintiff's counsel to refer to Craig as
        14    Dr. Wright (unclear) respect during this
        15    deposition as well.
        16                       MR. BRENNER:     I am doing my best.
        17    I will go back to it, but sure.           Let me reframe
        18    the question.
        19    BY MR. BRENNER:
        20              Q.       What did Dr. Wright tell you about
        21    Mr. Mayaka and his role in the trust?
        22              A.       He said he was a lawyer.         I am not
        23    quite sure which law firm he represented.             He did
        24    tell me, I cannot remember, and that he was a
        25    trustee.
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                                                                         Page 237
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Now, the Tulip Trust, if we to look
         3    at the 2017 document, the Tulip Trust holds either
         4    directly or indirectly all of the assets that your
         5    family has; correct?
         6               A.      So, what was the question, the
         7    Tulip Trust holds?
         8               Q.      Yes, either directly through shares
         9    in other companies -- or indirectly through shares
        10    and companies, or directly holds all of the assets
        11    that your family has; correct?
        12              A.       No, that is not correct at all.          I
        13    have other assets, I have my own savings.
        14              Q.       Okay, other than your own savings,
        15    all of the assets, whether it be in through prior
        16    trust, any asset your husband has, is all held
        17    directly or indirectly through the Tulip Trust;
        18    correct?
        19              A.       I believe so, yes.       I think what he
        20    had told me was that the mined Bitcoin was
        21    actually in a previous trust that he had called
        22    Craig Wright R&D.
        23              Q.       That mined Bitcoin ultimately got
        24    into Wright International Investments; correct?
        25              A.       Yes.   I am not sure how the
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                                                                         Page 238
         1                    RAMONA WATTS - CONFIDENTIAL
         2    transfer was made.
         3               Q.      Now it is owned, Wright
         4    International Investments is owned by ----
         5                       MR. SAOUL:     Mr. Brenner, I am sorry
         6    to interrupt you, I just want to check that the
         7    question you asking is what you mean it to be.
         8    Because whether one is talking about Dr. Wright's
         9    assets or Miss Watts' assets, that is a very broad
        10    concept.     That includes the television on the
        11    table, furniture.       Do you mean business/crypto
        12    currency related assets and intellectual property,
        13    or do you really mean all assets?
        14    BY MR. BRENNER:
        15              Q.       Well, let's go back to the 2017
        16    Tulip document, so we can verify what it is.              On
        17    33, was it, go to page 15.         Do you see that?
        18              A.       Yes.
        19              Q.       Describe that -- schedule A is
        20    describing the property in the trust; correct?
        21              A.       That is correct.
        22              Q.       It is all the shares in Wright
        23    International; correct?
        24              A.       Yes.
        25              Q.       All the shares in Tulip Trading;
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                                                                         Page 239
         1                     RAMONA WATTS - CONFIDENTIAL
         2    correct?
         3               A.       Yes.
         4               Q.       The mined Bitcoin and the purchased
         5    Bitcoin.       Correct.
         6               A.       So the mined Bitcoin was in Wright
         7    International and the purchase one was in Tulip
         8    Trading.
         9               Q.       Then it says everything that was in
        10    the 2014 formalised trust known as the Tulip
        11    Trust, that is the predecessor to this document;
        12    right?
        13              A.       Yes.
        14              Q.       It says, "All assets in CSW R&D" --
        15    that is Craig Wright R&D; correct?
        16              A.       That's right.
        17              Q.       Then it says JBURK Limited.         What
        18    is that?
        19              A.       It is a company that we have, it is
        20    just a holding company, it doesn't do anything at
        21    the moment.
        22              Q.       Okay.    Then it says nChain Limited?
        23              A.       Yes.
        24              Q.       It says for that, all the assets --
        25    asset shares held in trust for Ramona Ang calling
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                                                                         Page 240
         1                   RAMONA WATTS - CONFIDENTIAL
         2    itself DeMorgan;       do you see that?
         3              A.       I do.
         4              Q.       So was there a sale of DeMorgan at
         5    some point?
         6              A.       So DeMorgan wasn't actually sold.
         7    So DeMorgan's IP was rolled into the company that
         8    Craig formed with Rob McGregor and his entity, so
         9    I suppose now it is called nChain.           I don't know
        10    what it was called before.
        11              Q.       Okay.    So nChain, either by
        12    purchase, or assignment, or something, obtained
        13    intellectual property from DeMorgan Ltd?
        14              A.       It did, yes.
        15              Q.       In exchange for that you got shares
        16    in nChain?
        17              A.       No, that is not correct.         I haven't
        18    received any shares in nChain.
        19              Q.       According to the trust document you
        20    were supposed to; correct?
        21              A.       No, I think this really means if I
        22    do, or when I do it will be in here, but I haven't
        23    received any yet.
        24              Q.       You have an expectation that you
        25    will?
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                                                                         Page 241
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       No, I do not know.       Actually
         3    I really don't know.
         4              Q.       Then the last thing says, "All
         5    trust and assets ever owned by Craig Wright until
         6    the formation of this trust".
         7              A.       Yes.
         8              Q.       My other point, where we got onto
         9    this, the trust is it holds -- to take your
        10    counsel's point, it may not own the pen that is on
        11    your living room counter, but other than your
        12    personal assets, it owns all of the family's
        13    assets; correct?
        14              A.       Well, so the trust owns shares in
        15    two -- in all these companies really, so it is
        16    one, two -- three companies currently.
        17              Q.       Well, it is three companies, plus
        18    all other assets ever owned by your husband;
        19    right?
        20              A.       That is what it would say, yes.          So
        21    the trust owns shares in those companies though,
        22    yes.
        23              Q.       My point is, how is Denis Mayaka --
        24    why is Denis Mayaka trusted to be what you call
        25    the co-trustee for all of the assets for your
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                                                                          Page 242
         1                   RAMONA WATTS - CONFIDENTIAL
         2    family; how did that come to be?
         3              A.       Well, I don't know.       I mean, Craig
         4    knew him before, he must trust him.            He is a
         5    lawyer.
         6              Q.       Do you trust him?
         7              A.       I don't know him personally, I am
         8    not friends with him, but he is a lawyer.             It is
         9    like asking me whether I trust any of my lawyers,
        10    or it is like asking Ira if he trusts you.             I
        11    mean, what would the answer to that be?
        12              Q.       I don't know.      I will ask after the
        13    phone call.     I guess my question is, it is a
        14    little more than I am asking you.           Do you trust
        15    Denis Mayaka to be the co-steward of all of the
        16    assets for you and your children?
        17              A.       Yes.    I mean, he has a fiduciary
        18    duty.    You have a duty as a trustee to ensure that
        19    the trust actually follows the rules.            Everything
        20    that is within the terms of the trust.            It is a
        21    job.
        22              Q.       Okay.    You mentioned before that
        23    Wright International Investments mined Bitcoin;
        24    right?
        25              A.       No, I never said that at all.
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                                                                         Page 243
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       I am sorry, Information Defence
         3    mined Bitcoin; correct?
         4              A.       I did.
         5              Q.       And then that Bitcoin then was --
         6    became owned by Wright International Investments.
         7    Do I have that right?
         8              A.       Yes.
         9                       MS. McGOVERN:      Object to the form
        10    of the question; asked and answered.
        11    BY MR. BRENNER:
        12              Q.       Okay, just clarifying.        When --
        13    Information Defence is a company, right?
        14              A.       Yes.
        15              Q.       Who was actually mining the Bitcoin
        16    for Information Defence?
        17              A.       I don't know, I wasn't there in
        18    2009.
        19              Q.       Was it your husband?
        20              A.       I wasn't there in 2009.
        21              Q.       Did your husband ever tell you who
        22    mined that Bitcoin?
        23              A.       He might have.      I actually don't
        24    remember because I wasn't there.           I was ----
        25              Q.       I am asking when you were there,
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                                                                         Page 244
         1                    RAMONA WATTS - CONFIDENTIAL
         2    after you became affiliated with your husband,
         3    first professionally as then as his wife, did he
         4    ever tell you who mined that Bitcoin?
         5               A.      He has always told me that
         6    Information Defence mined the Bitcoin.
         7               Q.      Did you have an understanding of
         8    who ran Information Defence?
         9               A.      No.
        10              Q.       You don't know if it was your
        11    husband?
        12              A.       No.
        13              Q.       Do you know if it was Dave Kleiman?
        14              A.       No.
        15              Q.       Were you involved in your husband's
        16    disputes with the ATO?
        17              A.       As I was director of DeMorgan,
        18    I answered a lots of the questions.            I don't know
        19    what you mean be "involved with".           We had a lot of
        20    audits done so I had to deal with the ATO, in
        21    terms of answering questions and when we were
        22    audited.
        23              Q.       I will use the word "dispute", and
        24    if you think it is bad you will tell me, but the
        25    disputes with the ATO, were those something that
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                                                                         Page 245
         1                   RAMONA WATTS - CONFIDENTIAL
         2    was initiated by the ATO, did your husband seek
         3    out things from the ATO which ended up leading to
         4    these disputes?
         5              A.       I think, from what he has told me,
         6    that they started very early on, when the tax
         7    office had said that what he was doing, in terms
         8    of the companies researching Bitcoin were not
         9    viable companies, they were not enterprises.
        10    I think that is how it started.           Because they said
        11    that Bitcoin research was a hobby, and if it is a
        12    hobby, then the companies that you form
        13    researching Bitcoin is actually not an enterprise.
        14    I think they were trying to strike that down.
        15    That is really what the problem was.
        16              Q.       Let me see if I tell you my
        17    understanding and you tell me if it is wrong?
        18              A.       Sure.
        19              Q.       Your husband went to the Australian
        20    Tax Office because he wanted certain tax credits
        21    associated with companies that had mined Bitcoin.
        22    Is that right?
        23              A.       That is not how I see it.         As
        24    I said, in Australia you -- there were lots of
        25    different forms that we were filling out, but you
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                                                                         Page 246
         1                    RAMONA WATTS - CONFIDENTIAL
         2    had to say you were an enterprise and what you
         3    were doing.      I remember we filled out tons of
         4    forms, and we had developers, and our financial
         5    controllers stating that this is what we are
         6    doing, it is research in Bitcoin.           The Australian
         7    Tax Office came back and said, well, that is a
         8    joke, because it is a hobby, it is not a real
         9    enterprise.      So, really, in a way they were trying
        10    to shut all the companies down immediately.
   AA   11              Q.       Did your husband ever tell you that
        12    Dave Kleiman was his partner?
        13              A.       He -- Craig has used the term
        14    partner very, very loosely.
        15                       MS. McGOVERN:      Object to the
        16    question.      We have gone over this in the morning
        17    session; asked and answered.
        18    BY MR. BRENNER:
        19              Q.       You can answer.
        20              A.       So as I said, Craig has used the
        21    term partner very, very loosely.           I think he would
        22    consider his best friend his partner.            Dave did a
        23    lot of editing for him, I think he would say,
        24    "Hey, that is my partner who has edited my book
        25    for me, we have written a book together".             I think
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                                                                         Page 247
         1                   RAMONA WATTS - CONFIDENTIAL

   AA    2    he would consider that a partner too.            So it
         3    depends on what you mean by partner.
         4              Q.       Excuse me, did your husband ever
         5    tell you that Dave was not his business partner?
         6              A.       Well, Craig never said to me, "Just
         7    to let you know Dave is not my business partner".
         8    He has never actually said that to me to my face,
         9    no.
        10              Q.       Okay.    Let's talk about the
        11    negotiations with Ira, okay?
        12              A.       Sure.
        13              Q.       It started off -- just to reset,
        14    because we got a little far afield -- initially
        15    there was a contact between your husband and Louis
        16    Kleiman regarding potential shares in Coin-Exch
        17    for the estate of Dave Kleiman; right?
        18              A.       So can you say that again, I didn't
        19    hear you.
        20              Q.       Sure.    I am just trying to reset
        21    where we were.      You told me earlier that there was
        22    a contact some time after Dave passed away between
        23    your husband and Louis Kleiman, where your husband
        24    was trying to get certain shares in Coin-Exch to
        25    Dave's estate after his death?
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                                                                         Page 248
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       That is correct, yes.
         3              Q.       Okay.    Then at some point Ira
         4    became involved in the negotiations.            You are not
         5    sure if it was because of his father dying, but at
         6    some point his father passes away and Ira is
         7    involved in the negotiations?
         8              A.       That is correct.
         9              Q.       Explain to me what were those
        10    negotiations; what was being negotiated?
        11              A.       I don't really have all the
        12    details. I think it started off with Craig saying,
        13    "I've got -- your brother's got shares" or to --
        14    so Dave's father, it would be, "Your son has
        15    shares in this company and we'd like you to have
        16    that".    I don't have all the conversation in front
        17    of me.    I think it got to a stage where Ira came
        18    in and said basically if they were to sell it, how
        19    much?    I know we offered Ira the directorship,
        20    because Dave was also supposed to be a director of
        21    Coin-Exch we had offered that to Ira and he said
        22    "Well, I don't want that directorship.            How much
        23    is the shares worth?        Can we sell it, and can
        24    I have some money, and just make sure that I don't
        25    have to pay tax on it".
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                                                                          Page 249
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Okay.    When you and your husband
         3    were in contact with Ira Kleiman, by that point,
         4    which we just went over in a previous document, by
         5    that point your husband had already filed his
         6    Statement of Claim against W&K; correct?
         7              A.       I don't remember when he filed it
         8    and I don't remember when we started talking to
         9    Ira.
        10              Q.       Okay, do you know when you were
        11    negotiating, and I said you both you and your
        12    husband, whether you were negotiating with Ira
        13    whether either of you told him there had been a
        14    Statement of Claim filed against W&K in Australia?
        15              A.       I didn't.     Craig might have, I do
        16    not know.
        17              Q.       In those discussions were you or
        18    your husband asking Ira for anything in return, or
        19    were you just trying to give him shares -- in
        20    coin -- I am going to ask that again.            It was a
        21    bad question.      I understood from a previous answer
        22    that the shares we are talking about, that
        23    originally your husband wanted to get to the
        24    estate through Louis Kleiman, and then discussions
        25    with Ira, were shares in Coin-Exch; is that right?
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                                                                         Page 250
         1                    RAMONA WATTS - CONFIDENTIAL
         2              A.       That is correct.
         3              Q.       When you spoke with Ira and
         4    communicated with Ira, both you and your husband,
         5    were you asking anything from him in exchange for
         6    giving him those shares?
         7              A.       I wasn't, I don't know if Craig
         8    did.    I do not think he did at all.
         9              Q.       You don't recall asking for his
        10    cooperation in the Australian Tax Office
        11    proceedings?
        12              A.       Oh, I suppose at the end when they
        13    were asking questions I might have.            I don't
        14    remember.      I might have.
        15              Q.       Why did you and your husband need
        16    to negotiate with Ira if you were just going to
        17    give him shares?       I don't understand the
        18    negotiation.
        19              A.       Because he didn't actually want the
        20    shares.    So he wanted the money.         So the
        21    negotiation was really, how much is it worth?              So
        22    we offered him a figure, he said that that was not
        23    enough.    We offered another figure and he said,
        24    "Well, that is not enough".         It was not shares
        25    that he wanted, he wanted the money and he wanted
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                                                                         Page 251
         1                   RAMONA WATTS - CONFIDENTIAL
         2    it right away.
         3              Q.       From your counsel and through your
         4    husband's counsel, you all have produced e-mail
         5    exchanges with Ira, so I have that stuff.             Before
         6    I get into those, can you let me know, because
         7    I don't have a way to know verbal conversation,
         8    let me know what Ira said to you that is not
         9    otherwise captured in the e-mails?
        10                       MS. McGOVERN:      Object to the form.
        11                       MR. SAOUL:     Can I ask you to be a
        12    little more specific?        Are there -- perhaps you
        13    could ask your questions by reference to specific
        14    issues.
        15    BY MR. BRENNER:
        16              Q.       I am asking about the negotiations,
        17    I have the e-mails I want to know what was taking
        18    place that I would not see in the e-mails about
        19    those negotiations?
        20              A.       I think we had some Skype calls.
        21    I just remember not having a very good impression
        22    of Ira after some conversations I had with him.
        23              Q.       Okay.    Do you remember anything --
        24    I am not asking for exact words.           I am asking if I
        25    look at the e-mails, will I capture in sum and
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                                                                         Page 252
         1                   RAMONA WATTS - CONFIDENTIAL
         2    substance what the negotiations were, or are there
         3    things I am missing if I do not ask you what you
         4    guys talks about?
         5                       MS. McGOVERN:      Object to the form.
         6    As to the e-mails are you asking as to the
         7    e-mails.
         8                       MR. SAOUL:     I am going to make the
         9    same objection from the English point of view.              We
        10    have not gone through the e-mails, so it may be
        11    more helpful to go through the e-mails first and
        12    see if there are any gaps.
        13                       MR. BRENNER:     No.    I have time
        14    limitations.      There are lots of e-mails, many of
        15    which when we go through them we are told they are
        16    not real, so I cannot really do that, although I
        17    would love to.      So I need to ask the question, in
        18    the way I need to ask.        It is pure discovery in a
        19    US court proceedings, it is a perfectly valid
        20    question.     So let me ask it again.
        21                       MS. McGOVERN:      I am going to object
        22    to that statement, with respect to the
        23    representation about the e-mails, that that is not
        24    an accurate representation in this deposition.
        25    I am going to object to the questions about
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                                                                         Page 253
         1                    RAMONA WATTS - CONFIDENTIAL
         2    documents that I have not seen yet.
         3                       MR. BRENNER:       I have not asked the
         4    question.      Amanda, please just object to form.
         5    I don't even know what you are doing right now.
         6    BY MR. BRENNER:
         7              Q.       Miss Watts, tell me your
         8    discussions with Ira, not your e-mails, tell me
         9    your discussions with Ira in the negotiations that
        10    you have described here?
        11              A.       So I don't actually remember them,
        12    they were so many years ago I don't actually
        13    remember them.      I remember the sentiment, that is
        14    all.
        15              Q.       That is great, what was the
        16    sentiment?
        17              A.       He just wanted money, and he wanted
        18    more money, and more money.         He wanted it now, he
        19    didn't want to be a director, he wasn't interested
        20    in what Coin-Exch was doing, and he was very
        21    specifically when he said "I don't want to pay
        22    tax".    I remember that because Craig was very,
        23    very, very angry when Ira said that.
        24              Q.       Okay.    Anything else about the
        25    sentiment that you can remember, other than -- we
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                                                                         Page 254
         1                   RAMONA WATTS - CONFIDENTIAL
         2    will go through some e-mails that I have, but
         3    anything else?
         4              A.       That was the final sentiment.
         5    Initially when we started it was very cordial and
         6    very pleasant.
         7              Q.       Okay.    Then ultimately I think you
         8    told me you ultimately -- those conversations
         9    ultimately led to you to not view Ira favourably?
        10              A.       At the end.     At the beginning not
        11    so at all.     At the beginning he was perfectly
        12    charming.
        13              Q.       Let me direct your attention to,
        14    let us find the tab, tab 7?
        15         (Exhibit 11 was marked for identification)
        16              Q.       Miss Watts, are you there?
        17              A.       Yes.
        18              Q.       Just to make sure, because we are
        19    not in the same room, is tab 7 a one page
        20    document?
        21              A.       It is, that is right.
        22              Q.       Let us go through this a bit and at
        23    the beginning let's just identify who the players
        24    are.    The e-mail on the top is from Craig Wright,
        25    that is Dr. Wright, we talked about him; correct?
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                                                                         Page 255
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes.
         3              Q.       Second one is C -- the second
         4    person which is in the 2 is C, and it says that is
         5    a person with the e-mail address C@                      That
         6    is Calvin Ayre; correct?
         7              A.       Calvin Ayre, I believe so, yes.
         8              Q.       Then the next one, that is Robert
         9    McGregor, that is the person you said your -- I
        10    think you said your husband ended up, when we were
        11    talking about nChain, you said he ended up going
        12    in to business with Mr. McGregor on some of his
        13    entities?
        14              A.       It is not so much business, there
        15    was a DeMorgan service agreement where Rob and his
        16    entities, I believe, and Craig formed what is now
        17    known as nChain, and so as the agreement was that
        18    Craig was to produce a certain number of patents
        19    for nChain and DeMorgan in Australia was to be
        20    funded.
        21              Q.       Okay.    Stefan Matthews, we talked
        22    about him before and that is you, Ramona Watts?
        23              A.       That is correct.
        24              Q.       I actually went to the wrong topic.
        25    I will see if I can switch.         I hate to do this to
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                                                                               Page 256
              1                   RAMONA WATTS - CONFIDENTIAL
              2   you, let us go to tab 17.
Auth-H-F-S    3       (Exhibit 12 was marked for identification)
              4              Q.     Are you there?
              5              A.     I am.
              6              Q.     So if you go to the page that has
              7   287 on the bottom ----
              8              A.     Yes.
              9              Q.     That is -- correct me if I am
             10   wrong, that is an e-mail from you to your husband;
             11   correct?
             12             A.      Yes.
             13             Q.      Are you -- do you recall this
             14   e-mail?
             15             A.      As I said with the other ones,
             16   I don't recall writing that five years ago.             It
             17   looks familiar though.
             18             Q.      Is this -- it addressed to Ira.            Is
             19   this a copy of something you had sent to Ira or a
             20   draft of what you were intending?
             21             A.      I don't remember.
             22             Q.      You write:     "Currently we are
             23   having major battles with the tax office" -- ATO,
             24   the Australian Tax Office, that was a correct
             25   statement; right?
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                                                                          Page 257
              1               RAMONA WATTS - CONFIDENTIAL
Auth-H-F-S    2          A.       Yes.
              3          Q.       "They" -- meaning the tax office --
              4   "do not believe that what we have is viable" -- do
              5   you see that?
              6          A.       Hmm hmm.
              7          Q.       "They do not see it as an
              8   enterprise", right?
              9          A.       Yes.
             10          Q.       "They are arguing that the work
             11   Dave and Craig has been doing is a hobby or purely
             12   academic research", right?
             13          A.       Yes.
             14          Q.       "Dave and Craig were working
             15   together on the issues that we are fighting out
             16   with the Australian Tax Office"; is that not true?
             17          A.       Well, Dave was working on
             18   Coin-Exch, he was supposed to be working on
             19   Coin-Exch, and Coin-Exch was one of the companies
             20   that the Australian Tax Office had audited, so
             21   Dave was supposed to be setting up systems for
             22   Coin-Exch but ----
             23          Q.       The fight with the -- I am sorry.
             24          A.       -- but we only found out much later
             25   on that that wasn't done.      I was under the
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                                                                            Page 258
               1                RAMONA WATTS - CONFIDENTIAL
Auth-H-F-S
               2   assumption that Dave had been working on
               3   Coin-Exch.
               4           Q.        Actually the fight with the ATO was
               5   whether the mining of Bitcoin was a hobby, isn't
               6   that true?
               7           A.        No, no because the fight with the
               8   ATO was with all the companies, with any of the
               9   companies were enterprises, any of the research
              10   that was being done was an enterprise.
     Auth-H
              11           Q.       Okay.    Go to second page which has
              12   an 88 at the bottom.      Just so we are clear, the
              13   only thing you have told me before today, before
              14   right now, that Dave and Craig did together in a
              15   business side, was when Dave helped Craig edit
              16   certain papers; right?
              17           A.       Yes.
              18           Q.       (ii), he helped him write a book,
              19   or was it more than one book?
              20           A.       I don't know.
              21           Q.       And (iii), he had this contract
              22   with Coin-Exch which he ended up not doing any
              23   work on; right?
              24           A.       That's right, and I have just
              25   remembered one, that I was ant part of, but
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                                                                         Page 259
         1                   RAMONA WATTS - CONFIDENTIAL
         2    I remember Craig telling me that they either did
         3    or were supposed to do something with --             I think
         4    it was the Department of Defence in the US.              I was
         5    not involved with that one, but I remember Craig
         6    telling me about that.        So as I said, when you
         7    generalise things like that and say, "Tell me
         8    everything", I cannot always recall.            But if you
         9    ask me something very specific I might be able to
        10    answer the questions.
 H
        11              Q.       We will each do our best.         In the
        12    paragraph starts with, "Currently we need to" this
        13    is either a draft of a communication to Ira or one
        14    that was sent to Ira, or you are just not sure?
        15              A.       I cannot remember.
        16              Q.       The addressee of this, whether it
        17    was sent or not, is Ira; correct?
        18              A.       Yes.
        19              Q.       You write:     "Craig and I" -- you
        20    are talking about yourself, right -- "Craig and I
        21    have put our entire life savings into this
        22    business"?
        23              A.       Yes.
        24              Q.       What business was that?
        25              A.       Everything, everything that we did.
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                                                                         Page 260
         1                   RAMONA WATTS - CONFIDENTIAL

  H      2              Q.       Then read the next three words?
         3              A.       "As did Dave".
         4              Q.       Right, "Dave also put his entire
         5    life savings into the business", isn't that what
         6    you wrote?
         7              A.       Dave was supposed to put the
         8    Bitcoin that he had into Coin-Exch.            That was part
         9    of the deal as well.
        10              Q.       Okay, when did you learn that he
        11    didn't?
        12              A.       I think it just wasn't there.
        13    I don't know.      Craig had told me that it wasn't
        14    and then accountants said that it wasn't in there.
        15    I don't know.
        16              Q.       Right.    What happened was, after
        17    Dave died and Craig -- well I don't want to
        18    represent -- after Dave died, Craig recognised
        19    that work that Dave was supposed to have done he
        20    didn't do; correct?
        21              A.       I don't know when after he died but
        22    it was after he died definitely, I just don't know
        23    when.
        24              Q.       Okay, so this is two years later,
        25    and you are telling Ira Kleiman that his brother,
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                                                                         Page 261
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Dave, put his life saving into his business with
         3    Dave; isn't that true, ma'am?
         4                       MS. McGOVERN:      Let me just
         5    interpose an objection and request Mr. Brenner to
         6    refer to Craig as Dr. Wright.
         7                       MR. BRENNER:     You know what, I am
         8    instructed to refer to Craig as Dr. Wright in
         9    pleadings.     The document uses the word "Craig",
        10    I do not have to sanitise the document, okay, so
        11    no, I am not going to do that.          The document says
        12    Craig, I am not going to interpose my language in
        13    there. The document says ----
        14                       MS. McGOVERN:      That is my
        15    objection.
        16                       MR. BRENNER:     You have a standing
        17    objection on the Craig/Dr. Wright issue, you don't
        18    have to make it again.        That stands for this
        19    deposition and all others that follow.
        20    BY MR. BRENNER
   H    21              Q.       It says:    "Craig and I have put our
        22    entire life savings into this business, as did
        23    Dave."    That is what you wrote; correct?
        24              A.       Yes, but, as I said to you before,
        25    Dave was supposed to put the Bitcoin that he had
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                                                                          Page 262
         1                    RAMONA WATTS - CONFIDENTIAL
         2    into Coin-Exch, and that is why he got the shares;
         3    that and the work that he was supposed to have
         4    done.    So that was the deal that was with
         5    Coin-Exch ----
         6               Q.      And when he died he -- I am sorry,
         7    go on.
         8               A.      -- so the -- in order to capitalise
         9    the company Craig put in a lot of money, or
        10    Bitcoin, I am not sure what he did there.             And
        11    Dave was supposed to put another bit.            We only
        12    found out much later on from our accountants that
        13    that wasn't the case.
        14              Q.       Ma'am, it is your testimony that
        15    two years after Dave died you still didn't -- you
        16    were still waiting for his Bitcoin to be
        17    deposited; is that your testimony?
        18              A.       No, my tell is that at that time we
        19    probably were running eight companies, and at that
        20    time we were being audited constantly on the eight
        21    company.     I don't know if you have ever run
        22    several companies a the same time before
        23    Mr. Brenner.      It is very stressful, we worked long
        24    hours, I had three children that I did not see, we
        25    had accountants after accountants.           I was not
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         1                   RAMONA WATTS - CONFIDENTIAL
         2    responsible for the accounting, I had financial
         3    controllers and accountants who did that.             They
         4    would give me the information.          If you have a new
         5    accountant or a new financial controller sometimes
         6    it takes them six months to actually understand
         7    the accounts, especially when some of the accounts
         8    involve Bitcoin.       So if after two years Dave dies,
         9    my accountant comes and says to me, "By the way in
        10    Coin-Exch I just want to let you know there is X
        11    amount here", then I say, "Oh my God, is that what
        12    there is?"     We had at least eight companies,
        13    perhaps even more, at the same time, three
        14    children at home, two of us, 50 staff, perhaps
        15    even more, being audited day and night by the tax
        16    office.    I did didn't sleep very much, I worked 18
        17    hour days, so did my husband.
        18              Q.       All I am asking, ma'am, is two
        19    years after Dave Kleiman died ----
        20              A.       And I have answered your question,
        21    sir.
   H
        22              Q.       May I finish my question?         Two
        23    years after Dave Kleiman died you were writing to
        24    his brother, telling him that his brother and
        25    Craig had both put their life savings into their
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                                                                         Page 264
         1                    RAMONA WATTS - CONFIDENTIAL

  H      2    business; isn't that correct?
         3               A.      The information that I was given
         4    from my accountants at that time, and I've believe
         5    I must have been on my third, perhaps my fourth
         6    accountant, trying to run eight companies, perhaps
         7    more, at that one time.         Mr. Brenner, if you try
         8    working 18 hour days, if you do not have all the
         9    information ahead of you.
   H    10              Q.       The answer is that what you wrote;
                                                             wrote;
        11    correct?
        12              A.       I am sorry?
        13                       THE COURT REPORTER:       I am sorry,
        14    could you repeat that?
        15    BY MR. BRENNER:
        16              Q.       The answer is that is what you
        17    wrote;
              w rote; correct?
        18              A.       The answer is I didn't have all the
        19    information at the time.
        20                       MR. SAOUL:     Let us move on, Mr.
        21    Brenner.
        22    BY MR. BRENNER:
        23              Q.       Yes.   If you could go -- I think it
        24    is in same -- which tab are we on, counsel?
        25                       MR. SAOUL:     Tab 17.
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                                                                         Page 265
         1                   RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3              Q.       Okay, so now I need you to go to 3.
         4                       THE COURT REPORTER:       Would you like
         5    me to mark the document?
         6                       MR. BRENNER:     Yes, please.
         7          (Exhibit 13 was marked for identification)
         8                       THE EXAMINER:      Yes, it is exhibit
         9    13.
        10    BY MR. BRENNER:
        11              Q.       Okay, exhibit 13, I think, is a one
        12    page document; is that right Miss Watts?
        13              A.       That is correct.
        14              Q.       So, I think if we were to do it in
        15    time and date order, we would start with Ira
        16    writes to you -- it says June 27 at 6.29 p.m.;
        17    right?
        18              A.       That is what it looks here, yes.
        19              Q.       Yes, although the e-mail above it,
        20    which purports to -- it looks like it forwards it,
        21    is actually six hours earlier.          Is that how you
        22    read that?
        23              A.       Yes, it is very strange.
        24              Q.       Yes, very strange.       Okay, I do not
        25    have an answer for you on it, so I don't know.
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                                                                         Page 266
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Just maybe it is one is using eastern time or one
         3    is using Australia time, or something.
         4              A.       I don't know.
         5              Q.       You are still in Australia at this
         6    time, I think, right, until the end of 2015?
         7              A.       That is correct, yes.
         8              Q.       So Ira writes to you in June 2015
         9    and this is part of the negotiations we have been
        10    discussing; right?
        11              A.       I presume.     I mean, I don't -- as
        12    I said, five years ago, I do not remember.
        13              Q.       It says:    "Craig originally told me
        14    Coin-Exch could make Google look like small
        15    potatoes, so why would we want to sell all our
        16    shares for possibly nothing?"          Do you see that?
        17              A.       I see what he wrote, yes.
        18              Q.       So what was happening was, you guys
        19    had offered Ira shares in Coin-Exch; correct?
        20              A.       That is correct.
        21              Q.       When I say Ira, was it more
        22    accurate that you were offering to Dave's estate?
        23              A.       Yes, it was his estate.
        24              Q.       Okay.    If I say Ira, what I am
        25    talking about, sort of as and of the estate,
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                                                                         Page 267
         1                   RAMONA WATTS - CONFIDENTIAL
         2    I will mix it up sometimes, but I will try to --
         3    then did there come a time where, in the lieu of
         4    the shares, and I think you told me this before,
         5    that you guys offered him, or offered the estate
         6    money?
         7              A.       Oh, he asked for money.
         8              Q.       And did you offer money?
         9              A.       Yes.
        10              Q.       You told me you offered one amount
        11    and he said it was not enough.          Do you remember
        12    what that was?
        13              A.       I really don't remember.
        14              Q.       Then you offered a higher amount
        15    and he still said it wasn't good enough?
        16              A.       Yes.
        17              Q.       Okay.    Then if you go to the top, I
        18    guess you then forward the e-mail to Stefan
        19    Matthews; right?
        20              A.       Its looks like it, yes.
        21              Q.       Yes, it does.      And you said, "Ira
        22    considers himself an investor", right?
        23              A.       That is what is written here.
        24              Q.       And you are talking about an
        25    investor in Coin-Exch; right?
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                                                                         Page 268
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I believe so, yes.
         3              Q.       You say, "He has not put one cent
         4    into the business or any amount of time"; right?
         5              A.       That is correct.
         6              Q.       Then it says, "Craig will send you
         7    the shareholders agreement that Dave signed in the
         8    morning."
         9              A.       Yes.
        10              Q.       Is there such a shareholders
        11    agreement for Craig -- for Dave, in Coin-Exch?
        12              A.       There must be.
        13              Q.       Okay.    You assume there is because
        14    you are reading it in this e-mail?
        15              A.       Yes, I do not remember.
        16              Q.       You don't have an independent
        17    recollection of it though?
        18              A.       No.
        19              Q.       If you could go to ----
        20              A.       And I don't even know if this Dave
        21    is Dave Kleiman, I don't know who it actually
        22    refers to.     This is the problem, I don't actually
        23    remember writing this e-mail.          I might have.      It
        24    was five years ago.        We also had a director in our
        25    company, in DeMorgan, called Dave as well.             There
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                                                                         Page 269
         1                   RAMONA WATTS - CONFIDENTIAL
         2    was a Dave Jensen, so I don't know who this is
         3    referring to.
         4              Q.       Okay.    What do you have as tab 1,
         5    because I think I amy have a typo on it?
         6                       MR. SAOUL:     So is that a question
         7    addressed to me or to the witness, Mr. Brenner?
         8                       MR. BRENNER:     Either one.      What is
         9    the Bates stamp on tab number 1?
        10                       MR. SAOUL:     So tab 1 is an e-mail
        11    chain and the top e-mail is from Miss Watts to
        12    Mr. Matthews.      Subject is "re: Proposal" ----
        13                       MR. BRENNER: Okay.
        14                       MR. SAOUL:     -- and the date is 8th
        15    July 2015 at 6.29 a.m.
        16                       MR. BRENNER:     Okay, that is what
        17    I want it to be.       My index has the wrong Bates
        18    number.    That is why I was asking.         Can we mark
        19    this as the next exhibit, Madam Court Reporter.
        20         (Exhibit 14 was marked for identification)
        21              Q.       14 is a one page document, Miss
        22    Watts?
        23              A.       Yes.
        24              Q.       You have three e-mails on it?
        25              A.       Yes.
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                                                                         Page 270
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      It appears to be -- again I think
         3    we may have the Australia problem, from my read of
         4    it the oldest one is on the bottom; does that seem
         5    right?
         6               A.      Yes.
         7               Q.      There is an e-mail from Ira Kleiman
         8    to both you and Craig, or Dr. Wright; correct?
         9               A.      That is correct.
        10              Q.       This is a point where the
        11    negotiations are becoming somewhat strained;
        12    correct?
        13              A.       Yes.
        14              Q.       And he says -- he makes a demand,
        15    he says, for $US6 million he would sell 90% of his
        16    shares; correct?
        17              A.       That's what it looks like he is
        18    saying.
        19              Q.       And that was 90% of his shares in
        20    Coin-Exch?
        21              A.       Yes, that was the only shares that
        22    he had.
        23              Q.       Then he sets forth some payment
        24    terms; correct?
        25              A.       Yes.
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                                                                         Page 271
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       You then take the e-mail and
         3    forward it -- excuse me, I take that back -- the
         4    e-mail is then -- somehow gets to Stefan Matthews;
         5    correct?
         6              A.       It looks like it.
         7              Q.       And he says he is laughing to
         8    himself for (unclear) responses, he would suggest;
         9    right?
        10              A.       That is what is written here.
        11              Q.       It is fair to say that was a little
        12    bit of a theme in the e-mail exchanges from Ira,
        13    that you guys were having a separate discussion
        14    behind his back; isn't that fair?
        15              A.       Well, I don't recall this.
        16              Q.       Okay.    And you write to Stefan:        "I
        17    am so pleased you have such a mature sense of
        18    humour"; right?
        19              A.       Is what it says in the e-mail.
        20              Q.       You don't think you wrote that?
        21              A.       I don't recall.
        22              Q.       It says it is really getting silly
        23    though; right?
        24              A.       I can see what is written here.
        25              Q.       Is it fair to say you are sort of
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                                                                         Page 272
         1                    RAMONA WATTS - CONFIDENTIAL
         2    sort of mocking the $6 million price?
         3               A.      Well, I am not quite sure why you
         4    keep saying is it fair to say that, when I am
         5    actually telling you I don't recall writing this
         6    e-mail.
         7               Q.      If you could go to tab 5?
         8         (Exhibit 15 was marked for identification)
         9                       THE EXAMINER:      Exhibit 15.
        10    BY MR. BRENNER:
        11              Q.       This is also a one page document?
        12              A.       Yes.
        13              Q.       Also an e-mail trail, the top line,
        14    which appears to have everything as underneath is
        15    from Dr. Wright to Ira, and copied to you?
        16              A.       That's correct.
        17              Q.       In this -- at all times, did you
        18    and Dr. Wright acknowledge that Dave's estate was
        19    entitled to a share in Coin-Exch?
        20              A.       Yes.
        21              Q.       And you acknowledge that today;
        22    correct?
        23              A.       Yes.
        24              Q.       What happened to Coin-Exch, did it
        25    get dissolved?
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                                                                         Page 273
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       It did.
         3              Q.       Where did its assets go?
         4              A.       Actually I don't know.        I don't
         5    know whether it was dissolved or it is in the
         6    process of being dissolved.         And in terms of
         7    whether or not I acknowledge that Dave's estate
         8    has shares, or is owed shares from Coin-Exch,
         9    I think there was an agreement that Dave would be
        10    given shares in Coin-Exch if he had done a certain
        11    amount of work, and if he had capitalised the
        12    company as he was meant to.         So nobody in their
        13    right mind, if you think about it, would say,
        14    "I am going to give you shares in the company that
        15    I am putting my money into.         You don't have to do
        16    any work by the way, but you can still have shares
        17    in that company".       So, it really was out of the
        18    goodness of Craig's heart that he said, you know,
        19    "I think we should do this".          But at the end of
        20    the day, if he wanted to fight that, and wanted to
        21    take that to court and show there with no work
        22    done, and that Craig was the only person, or the
        23    company was -- the only capitalisation of the
        24    company only came Craig and didn't come from Dave,
        25    then I think if you were to take that to court you
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                                                                         Page 274
         1                    RAMONA WATTS - CONFIDENTIAL
         2    would see that Dave's estate would not be due any
         3    shareholding at all.
         4               Q.      Let me ask you this.        In any e-mail
         5    that you recall or any conversation you recall,
         6    did either you or your husband tell Ira Kleiman
         7    that he was not entitled to shares in Coin-Exch
         8    because his brother, Dave, had not done the work
         9    agreed upon and/or capitalised the company that
        10    was agreed upon?
        11              A.       I don't actually recall saying
        12    that.    But, as I said, at the same time we were
        13    trying to do the right thing.          So Dave was Craig's
        14    best friend.      Craig said, "Let's capitalise this
        15    company, you put X amount, I put X amount, you did
        16    this work and I do that work, and you have this
        17    shares and I have that shares" and Dave agreed to
        18    do it.    He didn't do it.       He did not capitalise
        19    the company.      He didn't do any work for the
        20    company.     So there is the ----
        21              Q.       How do you know that?
        22              A.       The accountant told me that there
        23    was no capitalisation from Dave, and Craig and the
        24    other people working in Coin-Exch said that the
        25    work that was supposed to be done, because he was
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                                                                         Page 275
         1                   RAMONA WATTS - CONFIDENTIAL
         2    supposed to do some system administration, was not
         3    done.    So we actually had to hire another system
         4    administrator to do all of the work.
         5              Q.       But two years later, when you are
         6    still offering Dave's estate shares, it is because
         7    it is out of the goodness of Craig's heart,
         8    Dr. Wright's heart?
         9              A.       It really was.
        10                       MS. McGOVERN:      Please record
        11    objection to the form of the question.
        12    BY MR. BRENNER:
        13              Q.       Who is Patrick Paige?
        14              A.       I don't know him personally.
        15    I think he was a friend of Dave's or a colleague.
        16    I'm not sure.
        17                       THE EXAMINER:      We are getting
        18    towards another hour since we last stopped.
        19    I don't know if it is convenient to stop there, or
        20    just finish this question.
        21                       MR. BRENNER:     Well, it is going to
        22    be a little bit of a question.          We really need to
        23    keep the breaks short.        We will show the running
        24    time at the end, but ----
        25                       THE EXAMINER:      I am conscious the
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                                                                           Page 276
          1                  RAMONA WATTS - CONFIDENTIAL
          2   witness and the court reporter ----
          3                       MR. BRENNER:    Absolutely.      If the
          4   witness needs a break, absolutely.
          5                       THE WITNESS:    I am okay.      If you
          6   want to continue, that is fine.           I just cannot
          7   afford to stay any longer because I have to pick
          8   my daughter up.
          9                       THE EXAMINER:     Okay, are you all
         10   right, and the court reporter, is she all right?
         11                       THE COURT REPORTER:        I am fine,
         12   thank you.
         13                      THE EXAMINER:      Okay, let us carry
         14   on then.
         15   BY MR. BRENNER:
         16             Q.       Before we got on the e-mail changes
         17   with Ira we had gone to a different document.
         18   This should be the exhibit prior to the one, it is
         19   -- I will give you the tab, that is a little bit
 F-H-S   20   easier.    Tab 7.    This is exhibit 11, that is a one
         21   page document; correct?
         22             A.       That is correct.
         23             Q.       So this is an e-mail, the top
         24   e-mail is from Dr. Wright to Calvin, Ira, Robert
         25   McGregor, Stefan Matthews and you, Miss Watts;
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                                                                         Page 277
          1                   RAMONA WATTS - CONFIDENTIAL

 F-H-S
          2   correct?
          3              A.      That is correct.
          4              Q.      The discussion in the e-mail,
          5   although it is very short, is talking about an
          6   e-mail that had actually been sent about almost
          7   two years prior; correct?
          8              A.      It looks like it, yes.
          9              Q.      Let's look at the one which is two
         10   years prior, which is Dr. Wright to Carter and
         11   Patrick Paige; okay?
         12             A.       Okay.
         13             Q.       Your husband writes:        "I know both
         14   of you Carter and Patrick new Dave and trusted
         15   him"; right?
         16             A.       That is what is written here, that
         17   is correct.
         18             Q.       Your husband writes:        "Dave and
         19   I had a project in the US".         What was that project
         20   ma'am?
         21             A.       I didn't write this e-mail, I do
         22   not know.
         23             Q.       Okay, you don't know what project
         24   that is?
         25             A.       No.
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                                                                          Page 278
         1                    RAMONA WATTS - CONFIDENTIAL
F-H-S
         2              Q.       Okay.    It says:    "He ran it
         3    there" -- meaning Dave ran it there.            You don't
         4    know what is that referring to?
         5              A.       No.
         6              Q.       It says: "We kept what we did
         7    secret", do you see that?
         8              A.       I see it.
         9              Q.       Do you know what your husband --
        10    what project he had with David in the US that they
        11    were keeping a secret?
        12              A.       Well, I didn't write this e-mail.
        13              Q.       I know you didn't write it.         I am
        14    not asking if you wrote it, I am asking if you
        15    know what project he was saying he and Dave had in
        16    the US that they kept secret?
        17              A.       No, I do not know.
        18              Q.       It says:    "The company he ran
        19    there" -- and he is meaning Dave; correct?
        20              A.       I don't know who he means.
        21              Q.       "The company he ran there mined
        22    Bitcoin."      Do you know what company that your
        23    husband -- well, do you of a company that Dave ran
        24    in the US that mined Bitcoin?
        25              A.       I do not.
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         1                    RAMONA WATTS - CONFIDENTIAL

F-H-S    2               Q.      If you go to the next paragraph, it
         3    says "the amount DK" -- do you understand that to
         4    be a reference to Dave Kleiman?
         5               A.      I would assume so, but I don't
         6    know.
         7               Q.      "The amount DK mined is far too
         8    large to e-mail."       Do you see that?
         9               A.      I see it.
        10              Q.       Does it refresh your recollection
        11    whether your husband ever spoke with you about
        12    Dave mining Bitcoin?
        13              A.       No, he never did.
        14              Q.       Okay now it goes up at the top, it
        15    actually -- this e-mail, two years later, comes to
        16    you; right?
        17              A.       That is what it looks like, yes.
        18              Q.       It says -- it is from your husband.
        19    It says:     "The e-mail to Patrick is attached
        20    below."    Correct?
        21              A.       That is what it says.
        22              Q.       It says "I said we mined".         You
        23    understood that your hand was telling you that he
        24    told Patrick that him and Dave mined Bitcoin,
        25    don't you ma'am?
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                                                                         Page 280
           1                  RAMONA WATTS - CONFIDENTIAL
           2            A.       I don't.    I ----
 F-H-S     3            Q.       But you understand -- I am sorry.
           4   Go ahead.
           5            A.       I really don't like to speculate
           6   what my husband meant when he wrote something.             As
           7   I said to you before, he has Asperger's, he really
           8   has trouble expressing himself.          So even if he
           9   writes an e-mail to me, I will need to see him to
          10   his face, get him after ten years to look me in
          11   the eye, and say, "Did you mean this, did you mean
          12   that?"   And half the time he says, "No, that is
          13   not what I mean".       So you are asking me to
          14   speculate on something that he wrote, someone who
          15   has trouble expressing himself.          I wouldn't dare.
          16   I don't know what he meant.
          17            Q.       Okay.    Did you ask him what he
          18   meant?
          19            A.       No, I    don't remember this, I don't
          20   remember this at all.
  F-H-S   21            Q.       Then he says:      "Not that I was SN
          22   to Patrick".     Do you understand SN to be Satoshi
          23   Nakamoto?
          24            A.       I would assume so, but as I said,
          25   I don't remember this.
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                                                                         Page 281
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Let's go to tab 11.

  F-H
         3             (Exhibit 16 marked for identification)
         4                       THE COURT REPORTER:       This will be
         5    exhibit 16.
         6    BY MR. BRENNER:
         7               Q.      A two page document, ma'am.
         8               A.      I see that, yes.
         9               Q.      I am going to start from the bottom
        10    and work my way up, okay?
        11              A.       Okay.
        12              Q.       You see on the top you get all of
        13    this BNFYI, right?
        14              A.       Yes.
 F-H
        15              Q.       You were involved in discussions
        16              husband
                           band was having with Patrick Paige;
              that your husban
                           ban
        17    right?
        18              A.       No, I was never involved with
        19    Patrick Paige.
        20              Q.       He just wanted you to know about
        21    it?
        22              A.       I don't know.
        23              Q.       Did you say, "Why are you
        24    forwarding me these e-mails have nothing to do
        25    with this"?
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                                                                         Page 282
          1                  RAMONA WATTS - CONFIDENTIAL
          2             A.       No, I get a lot of forwarded
          3   e-mails.
 F-H-S    4             Q.       Patrick Paige writes on the very
          5   bottom of the page, this is November 2015.             Do you
          6   see that?
          7             A.       I do, yes.
          8             Q.       "Hi Craig how goes it?        Just wanted
          9   to touch base with you.        I got a call from a
         10   reporter who left a message asking about Dave and
         11   you.    I don't plan to call him back but Carter and
         12   I were curious if something is going on."             Do you
         13   see that?
         14             A.       Yes.
         15             Q.       Craig Wrights back -- Dr. Wright
         16   writes back.      Again, I think we have this
         17   Australian problem because it actually goes back
         18   in a day, but I think it is clear he is
         19   responding.     He says:     "Thanks for the heads up,
         20   reporters are always trouble"; do you see that?
         21             A.       Hmm hmm.
         22             Q.       He says:    "They ignored the stuff
         23   Dave and I did when he was alive."             Do you have
         24   any idea what your husband is referring to about
         25   the stuff that he and Dave did?
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                                                                          Page 283
         1                    RAMONA WATTS - CONFIDENTIAL
F-H-S    2               A.      No, I have no idea.       I mean,
         3    I could only assume it is about the books that
         4    they wrote together.        Perhaps if they did some
         5    work with the Department of Defence, I am not sure
         6    if that was done, I don't know.
         7               Q.      Let us see if the rest of the
         8    e-mail gives you a better idea of what is going
         9    on.     Then it says:     "I do not know what has
        10    started to interest them now".          Do you see that?
        11              A.       Yes.
        12              Q.       He says:    "The computer we are
        13    running made the top 20 within the top 500 super
        14    computer list, so this may be new."            Do you see
        15    that?
        16              A.       Umm hmm.
        17              Q.       You understand that super computers
        18    were used at that time period to mine Bitcoin;
        19    correct.
        20              A.       But that is not all they were used,
        21    because we had a super computer too with
        22    Cloudcroft and it wasn't mining Bitcoin at all.
        23    The super computer for Cloudcroft was actually
        24    used for research, and our developers used a lot
        25    of the information that came out of the super
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                                                                         Page 284
          1                    RAMONA WATTS - CONFIDENTIAL
          2   computer.       So no, I don't believe that at all.
          3   I think you can use a super computer for mining
          4   Bitcoin, you can use a home computer for mining
          5   Bitcoin.       I use my home computer all the time,
          6   I have never mined Bitcoin.
 F-H-S    7              Q.      Your husband, when he responds to
          8   Patrick, he brings up super computers; correct?
          9              A.      Yes.
         10             Q.       Okay, what does Patrick write back,
         11   the next e-mail up. He says:          "No problem" -- he
         12   is now talking about -- well, we will read it --
         13   he says:     "No problem I don't think it's about
         14   computers.      He mentioned Bitcoin in his message."
         15   He is talking about the message that he got from
         16   the reporter; correct?
         17             A.       I assume.     I don't know.
         18             Q.       "Maybe they know something about
         19   yours and Dave's Bitcoin involvement."            Does that
         20   now appear to you that this exchange between
         21   Patrick and your husband is about Dave and Craig
         22   and Bitcoin?
         23             A.       I would hate to speculate because
         24   I wasn't on the e-mail, I wasn't a party to this
         25   e-mail.    So I don't know.
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                                                                         Page 285
          1                   RAMONA WATTS - CONFIDENTIAL
 F-H-S
          2             Q.       It says:    "Do you want me to return
                                                                retur
          3   his call and feel him out" -- he is talking about
          4   the reporter; right?
          5             A.       I would assume so.
          6             Q.       Then it says, and this is Patrick
          7   writing to Dr. Wright:        "Are you guys close to
          8   releasing any information on Dave's involvement in
                                                              i
          9   Bitcoin?"      What he is talking about, Miss Watts?
         10             A.       I have no idea, Mr. Brenner.
         11             Q.       Crazy, right?
         12             A.       Crazy.
         13             Q.       Its crazy, yes.
         14             A.       I don't know.
  CC
         15             Q.       Okay, so let's go on.        None of this
         16   rings a bell?      It is still your testimony that
         17   Dave had no involvement with your husband
         18   regarding Bitcoin; correct?
         19             A.       Absolutely, yes.       I mean, it
         20   depends on what you say.         I think you have to be
         21   very specific.      I know that Dave actually did talk
         22   to people in the Bitcoin community about Bitcoin,
         23   but I don't know what he did.
         24             Q.       Ma'am, are you denying that -- are
         25   you saying that you know, under oath, that your
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                                                                         Page 286
         1                   RAMONA WATTS - CONFIDENTIAL
         2    husband did not mine Bitcoin with Dave Kleiman; is
         3    that your testimony?
         4              A.       No, my testimony is that my husband
         5    never told me that he mined Bitcoin with Dave, so
         6    I don't know that.
         7              Q.       You don't know one way or the
         8    other?
         9              A.       I have asked him before and he said
        10    he didn't, so I do not know, because I wasn't
        11    there.    I cannot know something if I wasn't there.
        12              Q.       So let us go to tab 22.
 F-H
        13          (Exhibit 17 was marked for identification)
        14                       THE COURT REPORTER:       This will be
        15    exhibit 17.
        16                       MR. SAOUL:     Miss Watts, if you want
        17    a break at any point let us know.
        18                       THE WITNESS:     Thank you, I will.        I
        19    am fine, thank you.
        20                       MR. BRENNER:     Yes, we will do this
        21    document and then we will break.           It will be
        22    short.    If you need a break now you are welcome
        23    to.
        24     BY MR. BRENNER:
        25              Q.       Okay, Miss Watts,
                                              tts, do
                                                   d you have
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                                                                            Page 287
          1                  RAMONA WATTS - CONFIDENTIAL
   F-H    2   exhibit 17 in front of you?
          3             A.       Yes.
          4             Q.       If you look at the second page of
          5   that exhibit ----
          6             A.       Yes.
          7             Q.       -- you will see that the second
          8   page of those was part of that same trail we were
          9   just going through?
         10             A.       Yes.
         11             Q.       I apologise it is all broken up.
         12   That is the way it happened.
         13             A.       Okay.
 F-H     14             Q.       So we are going to pick up the
         15   trail then on the bottom of the first page?
         16             A.       Okay.
         17             Q.       So this is now your husband writing
         18   to -- by the way, you are again cc-ed on this
         19   whole trail if you look at the top; do you see
         20   that?
         21             A.       Yes.
         22             Q.       So your husband writes back to
         23   Patrick Paige, this is now a few days later.              I
         24   think we left off at November 19th or so, now we
         25   are November 23rd.        He says:
                                           say
                                             ys:
                                             y      "Not yet,
                                                         yet, we are in
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                                                                         Page 288
         1                   RAMONA WATTS - CONFIDENTIAL
  F-H    2    the process of finalising some of the research,
         3    I was hoping we could be at the point of the
         4    release before the reporter starts sniffing."              And
         5    he signs it "Craig".        Do you see that?
         6              A.       I do.
         7              Q.       That was him responding to -- the
         8    question at the end of the e-mail before was when
         9    Patrick had asked if he should return the call of
        10    the reporter and whether "You guys were close to
        11    releasing any information on Dave's involvement in
        12    Bitcoin", so you know where we are, okay?
        13              A.       Sure.
        14              Q.       Patrick writes back, this is two
        15    days later, he says:        "Okay that sounds good."        Do
        16    you see that?
        17              A.       Hmm hmm.
        18              Q.       He says:    "I think we both know" --
        19    he is writing to your husband, Dr. Wright -- "Dave
        20    was a genius when it came to computers, and I sure
        21    would like Dave to get recognition for his part if
        22    any in the development of Bitcoins."            Do you see
        23    that?
        24              A.       Hmm hmm.
        25              Q.       "I realise there is lot of things
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                                                                         Page 289
          1                   RAMONA WATTS - CONFIDENTIAL

 F-H      2   to consider releasing this information but my
          3   question is when."        Okay?
          4              A.      Yes.
          5              Q.      Craig does not write back to
          6   Patrick next does he?
          7              A.      I don't know.

 F-H-L
          8              Q.      Okay, well you will be able to tell
          9   by what it says.       He says:    "Add Patrick to the
         10   list of knows" -- K-N-O-W-S; correct?
         11             A.       Yes, that is what it says.
         12             Q.       You guys were concerned about ----
         13                      MS. McGOVERN:      Object to the form
         14   of the question, for the record, please.             Object
         15   to form.
         16   BY MR. BRENNER:
         17             Q.       You guys were concerned about who
         18   and who did not know about Dave's involvement in
         19   Bitcoin, is that not true?
         20                      MR. SAOUL:     Mr. Brenner, if you
         21   could just be a little bit more specific about who
         22   you are referring to with the expression "you
         23   guys".
         24                      MR. BRENNER:     Sure.
         25   BY MR. BRENNER:
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                                                                         Page 290
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Dr. Wright and yourself were both
         3    concerned about who knew the truth about Dave's
         4    involvement in Bitcoin; correct?
         5              A.       That is incorrect.       We were very
         6    concerned about who knew that Craig was Satoshi
         7    Nakamoto, because at that time we had a lot of
         8    reporters sniffing, knocking on our doors, asking
         9    questions.     Craig did not want to be outed as the
        10    creator of Bitcoin.
        11              Q.       Was he already in discussions with
        12    the Andrew O'Hagan for The Satoshi Affair?
        13              A.       I don't know.      Was this the end of
        14    2015?
        15              Q.       '15?
        16              A.       I am not sure.      I did not meet
        17    Andrew until much later on.         So I don't know if
        18    Craig was.
        19              Q.       It says from what is below -- he is
        20    referring to the e-mails below -- it is clear that
        21    Dave had discussed with him.          Do you see that?
        22              A.       Sorry, where are we now?
        23              Q.       On the e-mail of 25th November
        24    2015?
        25              A.       Yes.
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                                                                         Page 291
          1                  RAMONA WATTS - CONFIDENTIAL

    H     2             Q.       Your understanding of this e-mail
          3   is they are talking not about Dave's involvement,
          4   they are talking about Craig as Satoshi; correct?
          5             A.       Absolutely, because at that time we
          6   were very, very concerned because there were
          7   reporters actually knocking on my door and camping
          8   outside the house when I was living in Gordon.              So
          9   we were very concerned.
         10             Q.       I am going to hold you to
         11   absolutely, so let's keep reading.
         12             A.       Sure.

 F-H-S   13             Q.       The next line says:       "At least for
         14   now" -- well, it says -- "From what is below it is
         15   clear that Dave had discussed with him" -- you
         16   think that is Dave discussing that Craig was
         17   Satoshi Nakamoto?
         18             A.       I don't know.      I didn't write that,
         19   so I don't know what his meaning was.
         20             Q.       Then it says:      "At least for now he
         21   also seems to be willing to not talk" -- that is
         22   Patrick not talking; correct?
         23             A.       I assume so, but I didn't write
         24   that, I don't know.
         25             Q.       Then it says:      "But as Dave's
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                                                                         Page 292
            1                 RAMONA WATTS - CONFIDENTIAL
   F-H-S
            2   friends he will want to ensure that Dave is outed
            3   one day."    That is not talking about Craig being
            4   outed as Satoshi Nakamoto is it?
            5           A.       I didn't write that.
            6           Q.       Ma'am, I did not ask you if you
            7   wrote it?
            8           A.       But you are asking me to comment on
            9   an e-mail that I did not write.         You are asking me
           10   to speculate on what he meant, and I cannot do
           11   that because I didn't write it.
           12           Q.       Okay.    Are you telling me that when
           13   this e-mail, that talks about Dave being outed one
           14   day, you think, as you just told me "absolutely",
           15   that this e-mail trail is about Craig or
           16   Dr. Wright being outed as Satoshi Nakamoto.            That
           17   is still absolutely your testimony, correct?
           18           A.       That is my testimony because
           19   I lived it, because I had reporters camping at my
           20   door and because we      were in discussions of how
           21   Craig said, "I do not want to come out as Satoshi
           22   Nakamoto".
   H       23           Q.       So let's go to the top e-mail, see
           24   if this clarifies for you.       This is from Stefan
           25   Matthews to Dr. Wright; correct?
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                                                                         Page 293
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       That is what it looks like, yes.
         3              Q.       Copying you, correct?
         4              A.       Correct.
  H-S    5              Q.       You guys -- it is an e-mail about
         6    everyone needs to get their story straight;
         7    correct?
         8              A.       I don't know what he meant exactly.
         9    He does not say, "Let's get our stories straight".
        10              Q.       Okay, well, let's see what it does
        11    say.    It says:    "Let's talk on Monday about
        12    exactly what Dave's involvement was."            Do you
        13    agree that Stefan Matthews is telling you that
        14    what the concern is, is not about whether Craig is
        15    Satoshi Nakamoto and outed as such, the concern
        16    about is what are people to going to find out
        17    about Dave's involvement.         Are you willing to say
        18    that that is what that means, or not?
        19              A.       Well, I am not, because I don't
        20    know what he meant.
        21              Q.       Do you think Dave's involvement may
        22    have mean Craig was Satoshi Nakamoto?
        23              A.       Sorry, what was the question?
        24              Q.       Do you think the term, when he
        25    said, "let's talk about exactly what Dave's
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                                                                         Page 294
          1                  RAMONA WATTS - CONFIDENTIAL
          2   involvement was", do you think that that may have
          3   been a reference to Dr. Wright being Satoshi
          4   Nakamoto?
          5             A.       I think that is probably more a
          6   question that needs to be asked for the person who
          7   wrote it, because I cannot speculate on what was
          8   going on in his mind when he wrote that e-mail.
          9             Q.       Then the story was whether the
         10   purpose of this e-mail was to get the story
         11   straight, let us look exactly what Stefan Matthews
         12   thinks.    He says:     "Let's talk on Monday about
         13   exactly what Dave's" -- excuse me, my dog is
         14   barking here -- this is the last question on this.
 F-H-S   15   Let's read what he says and let me know if you can
         16   read that and you can agree with me, that what
         17   Stefan Matthews was concerned about, was that the
         18   three of you, you, Dr. Wright and Stefan Matthews
         19   get your story straight about Dave's involvement.
         20   Let's read it and then you tell me if that is what
         21   those words mean to you, and you can tell me it
         22   doesn't and that is fine.         It says, and I quote:
         23   "Let's talk on Monday about exactly what Dave's
         24   involvement was to ensure that no conflicting
         25   views on this come out."         Is that the way you
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                                                                         Page 295
          1                  RAMONA WATTS - CONFIDENTIAL
 F-H-S    2   interpret that sentence, the way I characterised
          3   it?
          4             A.       Well, it is just how you have read
          5   it.   I can read it the same way as how you read
          6   it, so those are the words on the page.
          7             Q.       What does that mean to you?
          8             A.       I would not know.        I would like to
          9   see Stefan in the face,as I said, and say, "What
         10   did you mean by that?"        I don't like to speculate
         11   on what somebody else has written.
         12                      MR. BRENNER:     Okay.    Let us take a
         13   break.
         14                      THE EXAMINER:      Shall we take a
         15   break for five minutes.        It is now 6.06 in Britain
         16   so everybody is back in five minutes.
         17    (A short break off the record from 6.06 to 6.12)
         18                      THE EXAMINER:      It is now 12 minutes
         19   past 6 in Britain so we can go back on the record.
         20                      MR. SAOUL:     Ms. Green, Mr. Brenner,
         21   just one housekeeping point to make you aware of.
         22   The court reporter has informed me that she has to
         23   leave promptly at 7.        Just so you are aware.
         24                      MR. BRENNER: Okay, thank you.
         25   BY MR. BRENNER:
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                                                                         Page 296
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       If we could -- Miss Watts if we
         3    could go to -- let me ask you first of all, were
         4    you involved in the decision to participate with
         5    Mr. O'Hagan in the writing of The Satoshi Affair?
         6              A.       It was not really a decision that I
         7    made.    It was sort of pushed upon us.
         8              Q.       Okay.     You did meet with
         9    Mr. O'Hagan through his work on that article,
        10    right?
        11              A.       I did.
        12              Q.       And you were forthright with him?
        13              A.       I spoke to him about many things,
        14    yes.
        15              Q.       Do you recall that one of the --
        16    you have read The Satoshi Affair, have you not?
        17              A.       No, I did not.
        18              Q.       Really?
        19              A.       Absolutely not.
        20              Q.       Okay.    Do you understand that part
        21    of that article has to do specifically with your
        22    husband's relationship with Dave Kleiman?
        23              A.       I didn't read the book.        I knew it
        24    was about Bitcoin.       I -- really it was more about
        25    what nChain, it was supposed to be.            This is what
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                                                                         Page 297
         1                   RAMONA WATTS - CONFIDENTIAL
         2    we were told.      It was supposed to be what nChain
         3    was doing and the work that they were continuing.
         4    It was not so much -- apparently there was a lot
         5    of information about what happened in the past
         6    that I don't think was factual, but I didn't read
         7    it, I was told that it was very much like a
         8    tabloid.
         9              Q.       You had communications directly
        10    with Mr. O'Hagan in his preparation for the
        11    article, did you not?
        12              A.       I did.
        13                       MR. SAOUL:     Mr. Brenner, just as a
        14    marker, strictly speaking conversations with
        15    Mr. O'Hagan and The Satoshi Affair article are not
        16    within the scope of the deposition that you
        17    sought.    I am prepared to allow.         Questions to the
        18    extent they go to the items that are identified,
        19    such as the ownership of the Bitcoin intellectual
        20    property at issue ----
        21                       MR. BRENNER: It is going to be
        22    about that.
        23    BY MR. BRENNER:
        24              Q.       If you look at -- did we pull up
        25    the exhibit, tab 12?
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                                                                         Page 298
          1                  RAMONA WATTS - CONFIDENTIAL
 F-H-S    2        (Exhibit 18 was marked for identification)
          3             Q.       It is a one page document?
          4             A.       Yes.
          5             Q.       Briefly take a look at this to
          6   orientate yourself with what it is about?
          7             A.       Yes.
          8             Q.       You could see that, that
          9   Mr. O'Hagan was communicating with your husband
         10   regarding information that would link Dr. Wright
         11   to the invention of Bitcoin.          Do you see that?
         12             A.       Yes.
         13             Q.       And if you go to the top of the
         14   page there is an e-mail dated March 30th 2016 at
         15   5.34?
         16             A.       Yes.
         17             Q.       That is an e-mail from Mr. O'Hagan
         18   which was ultimately forwarded to you, I guess it
         19   is the next day. Do you see that?
         20             A.       I do.
         21             Q.       Now, what Mr. O'Hagan writes, we
         22   know he is writing at a minimum to your husband.
         23   It is unclear from this whether it is to you also.
         24   He writes, "Thanks Craig", do you see that?
         25             A.       Yes.
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                                                                          Page 299
          1                  RAMONA WATTS - CONFIDENTIAL
 F-H-S    2             Q.       "Please keep them coming", do you
          3   see that?
          4             A.       I do.
          5             Q.       He says:    "All papers and e-mail
          6   and annotations."         The annotations he is referring
          7   to is that he would sent drafts of certain things
          8   and he would give your husband an opportunity to
          9   annotate; correct?
         10             A.       I don't know.
         11             Q.       Okay.    "All papers and e-mails and
         12   annotations that could help me build a profile of
         13   what you have done." Do you see that?
         14             A.       Yes.
         15             Q.       Then he says:      "The Dave stuff is
         16   practically non-existent on paper."            Do you see
         17   that?
         18             A.       Hmm hmm.
         19             Q.       He says:    "I understand you wiped a
         20   lot."    Do you know what that refers to?
         21             A.       Yes, I know that Craig wiped a lot
         22   of his accounts when the reporters started coming
         23   to our house.
         24             Q.       Okay, so when you say the
         25   reporters, were these the reporters associated
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                                                                         Page 300
          1                    RAMONA WATTS - CONFIDENTIAL
          2   with Mr. O'Hagan or some other reporters?
          3              A.       No, they were -- I do not know
          4   where they were from.        I think from Wired and
          5   Gizmodo and other places.         They were camping
          6   outside our house asking all sorts of questions.
          7              Q.       And in order to protect information
          8   your husband wiped certain computers?
          9              A.       I don't know exactly what he did,
         10   I know he wiped his social media, because he had
         11   been posting a lot of things about Bitcoin, even
         12   from 2007, I think.       He had been writing a lot
         13   about Bitcoin and he didn't want to be known as
         14   Satoshi.
 F-H-S   15             Q.       Then Andrew O'Hagan writes "I
         16   understand you wiped a lot but a final trawl
         17   through your digital universe might give me
         18   something that connects the two of you" -- he is
         19   talking about Craig and Dave; correct?
         20             A.       I don't know.
         21             Q.       You don't know?
         22             A.       Well, I didn't write it so I don't
         23   know.    You can assume that, but I don't know that
         24   for sure.       You are asking me if it is right,
         25   I don't know because I didn't write it.             I think
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                                                                         Page 301
          1                   RAMONA WATTS - CONFIDENTIAL
 F-H-S
          2   you can assume it from here, but I don't know for
                                                            fo
          3   sure.
          4              Q.      He says, "Something that connects
          5   the two of you unarguably to the invention",
          6   right?
          7              A.      That is what he says.
          8              Q.      He mentions the invention of
          9   Bitcoin; correct?
         10             A.       I don't know.

   H     11             Q.       Was Andrew O'Hagan writing
         12   something about some other invention with your
         13   husband?
         14             A.       No, he was writing about -- well,
         15   as I said, he was supposed to be writing about
         16   what nChain was doing, so really I'm not quite
         17   sure what he ended up writing about, because
         18   I didn't read it, I was just told.
         19             Q.       What were you told the article
         20   said, if you did not read it?
         21             A.       I was told that it was ----
         22                      MS. McGOVERN:      Objection to form.
         23   BY MR. BRENNER:
         24             Q.       You can answer.
         25             A.       -- I was told that it was very much
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                                                                         Page 302
         1                   RAMONA WATTS - CONFIDENTIAL
         2    like a dramatic tabloid.
         3              Q.       Did your husband ever tell you that
         4    anything in the article was untrue?
         5              A.       Yes.
         6              Q.       What did he tell you was untrue?
         7              A.       A lot of it.     He didn't go into
         8    specifics.
         9              Q.       He didn't tell you any specifics
        10    that were untrue?
        11              A.       No, because I hadn't read it, so he
        12    just said that half of that book was not true.
        13              Q.       When you say book, are you
        14    referring to the long form article, The Satoshi
        15    Affair?
        16              A.       Yes.
        17              Q.       Let me ask you this.        As your -- in
        18    your role as trustee or co-trustee for the Tulip
        19    Trust have you ever done anything?
        20              A.       Can you be more specific?
        21              Q.       Sure.    Have you ever for example
        22    have you ever expended assets from the trust?
        23              A.       For Tulip Trading, yes.
        24              Q.       What do you mean, you have directed
        25    that Tulip Trading expend assets?
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                                                                         Page 303
         1                    RAMONA WATTS - CONFIDENTIAL
         2               A.      Yes.
         3               Q.      You have not directed anything
         4    relating to Wright International Investments, is
         5    that what you are telling me?
         6               A.      Yes, nothing for Wright
         7    International, but for Tulip Trading, yes.
         8               Q.      Is it your testimony, as you are
         9    here today, that you do not know how much Bitcoin
        10    is in Wright International Investments?
        11              A.       I don't know the exact amount, no
        12    I don't.
        13              Q.       Since it is being held for the
        14    benefit you and your family, can you give me any
        15    estimate whatsoever of the amount?
        16              A.       I don't.    It is in the hundreds of
        17    thousands I believe.        I don't know.
        18              Q.       Hundreds of thousands of Bitcoin?
        19              A.       I believe so.
        20              Q.       So let's go more to this Andrew
        21    O'Hagan topic.      If you could go to tab -- I think
        22    it is 3, although I think there is transcription
        23    error on my index.        Look at number 3 if you would
        24    please.    Counsel, you have your own copy?
        25                       MR. SAOUL:     Yes.
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                                                                         Page 304
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       MR. BRENNER:     Is 3 like a third of
         3    a page?
         4                       MR. SAOUL:     Yes.
         5                       MR. BRENNER:     An e-mail from Miss
         6    Watts?
         7                       MR. SAOUL:     Yes.
         8    BY MR. BRENNER:
         9              Q.       So Miss Watts, we are looking at
        10    what was marked as exhibit 13.           Miss Watts, unlike
        11    some of the other e-mails we looked at previously,
        12    this is actually an e-mail that you wrote, right?
        13              A.       I don't know.      It comes from my
        14    e-mail address but it was five years ago, I don't
        15    remember if I wrote this e-mail five years ago.
        16              Q.       Well, let's see what it says, and
        17    see if that refreshes your recollection of whether
        18    you wrote it.      You write:     "Hi Andrew" -- you are
        19    talking to Andrew O'Hagan; correct?
        20              A.       Am I looking at the wrong one ----
        21                       MR. SAOUL:     Mr. Brenner, the one we
        22    have at tab 3 is a document numbered 22384, e-mail
        23    from Miss Watts to Mr. Matthews 27th June 2015 at
        24    12.58.
        25                       MR. BRENNER:     I am sorry, my bad.
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                                                                         Page 305
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Look at tab 10.
         3                       MR. SAOUL:     23348, March 31st 2016,
         4    at 8.55.
         5                       MR. BRENNER:     Yes, thank you.
         6         (Exhibit 19 was marked for identification)
         7    BY MR. BRENNER:
         8              Q.       Miss Watts, I apologise for that
         9    little mix up.
        10              A.       That's okay.
        11              Q.       This is an e-mail that you wrote,
        12    or at least if you accept it for what it purports
        13    to be, that you wrote on March 31, 2016?
        14              A.       That is correct.
        15              Q.       It is an e-mail from you to
        16    Mr. O'Hagan, right?
        17              A.       It would seem to, yes.
        18              Q.       You copy in your husband; correct?
        19              A.       Yes.
        20              Q.       I didn't ask you this before.          What
        21    is the RCJBR e-mail address?
        22              A.       It is just a domain, like a g-mail,
        23    just a hotmail or something, it is just a domain.
        24              Q.       What does it stand for?
        25              A.       Our family's name.
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                                                                         Page 306
         1                    RAMONA WATTS - CONFIDENTIAL
         2               Q.      Okay, great.     I see it now.      If you
         3    wrote this you wrote:         "Hi Andrew", do you see
         4    that?
         5               A.      Yes.
         6               Q.      "There are some correspondence of
         7    bit messages between Dave and Craig, we compiled
         8    last year for the ATO, who wanted evidence of
         9    transactions and intent."         Do you see that?
        10              A.       Yes.
        11              Q.       Do you recall providing the ATO
        12    with evidence of communications between Dave and
        13    Craig regarding issues that were in issue before
        14    the ATO?
        15              A.       I recall providing the ATO almost
        16    every bit message that we had that we could find
        17    between Dave and Craig, yes.
        18              Q.       It says:    "Of course now they
        19    contend that has all been forged" -- that is the
        20    ATO is contending documents have been forged;
        21    correct?
        22              A.       Yes.
        23              Q.       Including documents between Dave
        24    and Craig; correct?
        25              A.       I don't remember if that is exactly
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                                                                         Page 307
         1                   RAMONA WATTS - CONFIDENTIAL
         2    what they contended, but if I wrote this -- I am
         3    not sure if I did, but if I did, then that is what
         4    would be what this meant.
         5              Q.       Do you have any reason to doubt
         6    that you wrote this e-mail?
         7              A.       Look, I have no reason to doubt it,
         8    but I don't recall writing it.
         9              Q.       Okay.    You write what you are
        10    sending -- there is an attachment that is called
        11    "Dave sic and set up of DBH.PDF, right?
        12              A.       Yes.
        13              Q.       Do you know what that was?
        14              A.       I really don't remember.
        15              Q.       You write to Mr. O'Hagan:         "I am a
        16    bit nervous sending this to you, not because I
        17    don't trust you, you must know I trust you
        18    implicitly, but in case either of our e-mails are
        19    compromised."      So what you were sending to
        20    Mr. O'Hagan you wanted to make sure no one else
        21    got their hands on it, right?
        22              A.       Hmm hmm.
        23              Q.       "Last year there were several hard
        24    core attempts to compromise our e-mails." That is
        25    something you have told me about already; correct?
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                                                                         Page 308
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       That's correct.
         3              Q.       It says:    "Craig is still searching
         4    all archives for more pertinent correspondence
         5    with Dave but has not found them yet.            He will
         6    continue to try."       Right?
         7              A.       Yes.
         8              Q.       You understood, based on the part
         9    of the document we looked at in this one, that
        10    what Mr. O'Hagan was interested in, and one of the
        11    things he was talking to your husband about, was
        12    specifically Dave's involvement with your husband
        13    in the development of Bitcoin; you understood
        14    that, right?
        15                       MS. McGOVERN:      Object to the form.
        16    BY MR. BRENNER:
        17              Q.       Did you have any understanding when
        18    you were sending stuff to Mr. O'Hagan what was his
        19    interesting in Dave Kleiman?
        20              A.       Well, I had not finished when
        21    I said no.     That is not my understanding.          I did
        22    not have an understanding of Dave's involvement in
        23    the development of Bitcoin, because I know that
        24    Dave did not develop Bitcoin.          My husband did.      It
        25    was more Dave's involvement in the fact that Craig
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                                                                         Page 309
         1                   RAMONA WATTS - CONFIDENTIAL
         2    found it very difficult to, as you know, express
         3    himself, and he had a lot of problems with, I
         4    guess it was called at that time, and even now,
         5    the Bitcoin community.        So Dave was his
         6    interpreter.      And so Craig would be saying to him,
         7    you know, "This is what I actually mean" and Dave
         8    would be saying that out into the community.              That
         9    is not the development of Bitcoin.
        10              Q.       My question for you is a little
        11    more direct.      Do you have any understanding of
        12    what topic Mr. O'Hagan was interested in when you
        13    were trying to collect for him communications
        14    between your husband and Dave?
        15              A.       It was just any communications
        16    between Craig and Dave, what they were doing
        17    together; that is all I was giving him.             But your
        18    initial question to me was did I have an
        19    understanding that Andrew O'Hagan was asking about
        20    Dave's involvement in Bitcoin or the creation of
        21    Bitcoin, I think you might have said, and I said
        22    no, that was not my understanding at all, because
        23    that's not what happened.
        24              Q.       I know -- I understand your
        25    testimony is it was definitely not about Dave's
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                                                                         Page 310
         1                   RAMONA WATTS - CONFIDENTIAL
         2    involvement in Bitcoin, so what was it about?
         3    What was were the messages that you were trying to
         4    get from Mr. O'Hagan?
         5              A.       No, no.    I just said it was not
         6    Dave's involvement in the creation of Bitcoin.
         7    Dave's involvement in Bitcoin was such that, it's
         8    like my involvement in Bitcoin.           I'm married to
         9    the man who created Bitcoin and there to support
        10    him.    Dave's involvement then, it would -- I think
        11    your question would have to be very specific.
        12    Dave's involvement would be the fact that he was
        13    Craig's best friend.        Craig ranted and raved and
        14    Craig said, "People don't understand me.             Can you
        15    please explain this.        This is what I mean.
        16    I wrote the White paper.         This is what I mean.
        17    People are misinterpreting it and they are still
        18    misinterpreting it."        But Dave understood him.
        19    Dave didn't judge him.        Dave didn't try and twist
        20    it around.     People use what Craig wrote.          He spent
        21    his lifetime doing it and they've twisted it so
        22    that they -- they said that "Satoshi said that
        23    Bitcoin is supposed to be anonymous.            That we're
        24    supposed to be able to buy whatever we want,
        25    because we have freedom.         We can buy drugs if we
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                                                                         Page 311
         1                    RAMONA WATTS - CONFIDENTIAL
         2    want to and governments cannot stop us."             That is
         3    what people were saying.         And Craig said that is
         4    not what I mean all but he couldn't express
         5    himself properly as you see in some of these
         6    e-mails if he has written them.           You need to look
         7    him in the face and you need to say "What exactly
         8    do you mean".      Now, Dave spent hours and hours
         9    talking to Craig about it.         Dave said, "What do
        10    you mean?"      He then managed to express that into
        11    the community and told some people and some people
        12    believed him and others did not.           That would be
        13    his involvement.       But when you first asked me you
        14    said, "is Dave's involvement in the creation of
        15    Bitcoin."      That would not be in an involvement in
        16    the creation, but that would be an involvement in
        17    supporting my husband in the same way I support my
        18    husband.     But I have nothing to do with Bitcoin.
        19    I support him.      I worked for some of the companies
        20    before, I was a director, I hired people;
        21    I certainly didn't create it.
        22              Q.       So is your understanding that when
        23    Mr. O'Hagan was looking for information about how
        24    Dave leant emotional support and back up to your
        25    husband but not having to do them being in
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                                                                         Page 312
         1                   RAMONA WATTS - CONFIDENTIAL
         2    business together?
         3                       MS. McGOVERN:      Object to the form
         4    and question.
         5    BY MR. BRENNER:
         6              Q.       Is that correct?
         7              A.       My understanding is that Andrew
         8    O'Hagan wanted to know everything about Dave
         9    because Craig talked about Dave a lot.            Dave was
        10    his best friend, probably his only friend.
        11              Q.       Okay, so if you could go to 6, tab
        12    6?
  H     13                       THE COURT REPORTER:       This will be
        14    exhibit
              ex
               xhibit 20.
        15         (Exhibit 20 was marked for identification)
        16    BY
               Y MR. BRENNER:
        17              Q.       Okay.    Two page document do you see
        18    that?
              t hat?
        19              A.       I do.
        20              Q.       Okay.    If you look at the very last
        21    e-mail
              e-
               -mail on the second page?
        22              A.       Yes.
        23              Q.       That is an e-mail from your husband
        24    to
              t o you, among other people, correct?
        25              A.       Yes.
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                                                                         Page 313
         1                    RAMONA WATTS - CONFIDENTIAL
  H
         2              Q.       Writing about a gentleman from a
         3    Wired magazine that is on his trail?
         4              A.       Yes.
         5              Q.       He quotes what the Wired person
         6    said to him.      He says:    "We have some strong clues
         7    as to pseudonymous work ...(reads to the words)...
         8    accounting."      Do you see that?
         9              A.       I do.
        10              Q.       Now, off the quote, your husband
        11    writes to you and others:         "I have removed
        12    anything so that they will have trouble with
        13    proof.    I have even updated the internet archive
        14    to delete this and there is no old forensic
        15    history."      Do you see that?
        16              A.       I do.
        17              Q.       That's something that your husband
        18    does, doesn't he?       He has the ability to make
        19    changes and change forensic history of documents,
        20    isn't that true?
        21                       MS. McGOVERN:      Object to the form
        22    of the question.
        23    BY MR. BRENNER:
        24              Q.       Is that true, Ma'am?
        25              A.       It's the same way that I have the
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                                                                         Page 314
         1                   RAMONA WATTS - CONFIDENTIAL
         2    ability to go into a shop and take something
         3    without paying for it but I would never do that.
         4    So, I'm not quite sure what question you are
         5    actually asking me.
         6                       MR. SAOUL:     Yes, can we have a
         7    question that ----
         8    BY MR. BRENNER:
         9              Q.       Here he says he -- whatever it
        10    means he is not saying can do it, it says he did
        11    do it.    So let's read it together.         It's not a
        12    hypothetical, Ma'am.        He says:    "I have removed
        13    anything so they will have trouble ...(reads to
        14    the words)... forensic history."           Ma'am, you and
        15    I can read the same thing, your husband is the not
        16    saying what he can do, you husband is telling you
        17    what he did do to alter the forensic records of
        18    documents regarding -- what Andrew Greenberg was
        19    looking at, isn't that true?
        20              A.       That is not what I see at all.
        21              Q.       What do you see?
        22              A.       As I explained to you before, we
        23    had reporters on our trail.         Craig never wanted to
        24    come out as Satoshi at all, and the reason being
        25    we wanted our privacy and he knew that if he ever
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                                                                         Page 315
         1                   RAMONA WATTS - CONFIDENTIAL
         2    came out as the creator of Bitcoin this would be
         3    our life, which is not pleasant.           We had a very
         4    nice quiet family, nuclear family life which is
         5    very nice.     So, as we mentioned before, he did
         6    actually before delete his old -- I believe he had
         7    Facebook, I think he had some other blogs; he
         8    deleted that.      What this says here I don't know.
         9    I mean, I didn't write this.          But if he deleted
        10    something that said that he was the creator of
        11    Bitcoin, then that's what he did.           I know he
        12    deleted some Facebook posts, because he had posts
        13    written from I think it was 2006 and he was saying
        14    this is what we should be doing, and he was
        15    mentioning things similar to Bitcoin.            He didn't
        16    want any proof that he was Satoshi.            He wanted his
        17    privacy.     He's a very, very private person.           He is
        18    a very quiet person.        He doesn't want to be
        19    dragged in the media at all.          He doesn't want a
        20    book written about him.        He's incredibly shy.
        21              Q.       He actually -- we won't go through
        22    that.    Go to the first page of the exhibit.
        23              A.       Sure.
        24              Q.       The first e-mail?
        25              A.       Hmm hmm.
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                                                                         Page 316
         1                    RAMONA WATTS - CONFIDENTIAL
         2              Q.       Talking about the Wired magazine
         3    again, correct?
         4              A.       Yes.
         5              Q.       From Dr. Wright to you and Stefan
         6    and Robert McGregor?
         7              A.       I can see that.
         8              Q.       He says:    "The people at Wired have
         9    saved copies of everything before I deleted and
        10    cleaned it, it seems from the e-mail below."              So
        11    he is reporting to you that despite his efforts
        12    someone found stuff before he had a chance to
        13    delete them, isn't that correct?
        14              A.       Are we on the first page, I'm not
        15    -- I cant see where you are saying ----
        16              Q.       First page, first e-mail.         Do you
        17    see where it says "The people at Wired"?
        18              A.       Okay, the fourth paragraph you
        19    mean?    Yes.
        20              Q.       It looks that way to me, yes.          He
        21    is saying there that despite his best efforts to
        22    delete things, it seems that someone got their
        23    hands on it; correct?
        24                       MS. McGOVERN:      Object to the form
        25    of the question.
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                                                                         Page 317
         1                    RAMONA WATTS - CONFIDENTIAL
         2    BY MR. BRENNER:
         3               Q.      Do you agree or disagree with the
         4    characterisation?
         5               A.      I agree with what is written here,
         6    I don't exactly know what it means, but it was
         7    written there.
         8               Q.      You see the next paragraph?
         9               A.      Hmm hmm.
    H   10              Q.       I will read the last sentence it
        11    says:    "I do not know who the 'source' they're
        12    working with is but we may be able to limit the
        13    exposure to a time that allows us to have the IP
        14    locked down."      Do you see that?
        15              A.       Yes, he also says at the
        16    beginning:      "He hints of quotes from my work from
        17    2006 in modelling risk."         So he was talking about
        18    the work that he -- and that's what I'm saying to
        19    you.    Craig was working on the creation of Bitcoin
        20    even 20 years ago but he really started to
        21    formalise it, I think, in early 2000.            In 2006, I
        22    can't remember when he wrote his masters, it
        23    became very apparent what he was working on was
        24    Bitcoin.     So here he says:      "He hints at quotes of
        25    my work from 2006."       Craig wanted to delete as
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                                                                         Page 318
         1                   RAMONA WATTS - CONFIDENTIAL
   H     2    much as he could of some of the work he had done,
         3    because he didn't want to be outed as Satoshi.
         4              Q.       Well, let's look at what he's
         5    trying to hide.      If you go down to the next, the
         6    bottom of the italicised paragraph.            This is he is
         7    quoting an e-mail from Andy from Wired magazine to
         8    him; correct?
         9              A.       I don't know.      It says "Andy" at
        10    the bottom, so I don't know if it's a quote or he
        11    has copied it somewhere.         I don't know.
        12              Q.       It has quotation marks around the
        13    whole thing, right?
        14              A.       Oh, yes, I see the quotation marks.
        15              Q.       The reporter is writing to
        16    him:    "Unlike that story" -- I'm about five
        17    paragraphs down, you see that, "Unlike that
        18    story"?
        19              A.       Yes.
        20              Q.       "Unlike that story, I want to work
        21    with you on this piece to get it right. Beyond
        22    giving you the full credit you are due for your
        23    work in developing Bitcoin, I want to talk deeply
        24    about its innovation starting from its origins to
        25    incorporating a risk modelling cost benefit
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                                                                          Page 319
         1                   RAMONA WATTS - CONFIDENTIAL

   H     2    approach and Craig's triple entry accounting idea
         3    ...(reads to the words)... the first coins."              Is
         4    that what Craig was trying to cover up?
         5              A.       I -- definitely not.        I think he
         6    actually did ask Dave to help him edit the White
         7    paper.    Whether or not Dave did, I do not know.
         8              Q.       So does that refresh your
         9    recollection that one of the things he edited for
        10    Craig may have been the White paper for Bitcoin?
        11              A.       I said I think he did ask Dave to
        12    edit the White paper but whether or not he did it
        13    I don't know.
        14              Q.       Okay.    Give me one second.       I know
        15    we've got 20 minutes left.
        16              A.       So, "editing" means -- I mean
        17    I edit a lot of Craig's papers just to let you
        18    know.    So, when he writes any of his PhD thesis or
        19    any of the work that he does, I edit his papers.
        20    I'm not technical at all.         He has a lot of
        21    grammatical mistakes because he writes very
        22    quickly and he also uses something called Dragon,
        23    which he actually speaks into and half the time
        24    the things come out are not grammatically correct,
        25    so I edit a lot of Craig's papers.
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Okay.    What I'm going to do now is
         3    I'm going to share, I'm going to put on the screen
         4    a document which is what we were doing with you're
         5    -- at your husband's deposition.           Let me just make
         6    sure I have name of it right.          Okay.    Madam Court
         7    Reporter, I will supply you with this after the
         8    deposition.
         9                       THE COURT REPORTER:       Thank you.
        10                       THE EXAMINER:      Shall we call it
        11    exhibit 21 and identify it.
        12                       MR. BRENNER:     That will great.
        13    That will exhibit 21.        It is a 23 page document.
        14    Can everyone see the document?
        15         (Exhibit 21 was marked for identification)
        16              A.       Yes.    Can you scroll down so I can
        17    see the whole thing please.
        18    BY MR. BRENNER:
        19              Q.       I'm going to.      I'm just trying to
        20    get oriented.      Okay?    I'm going to start from the
        21    top, so you can see it, okay?          The top is an
        22    e-mail from -- purports to be an e-mail from
        23    Dave Kleiman to your husband in June 2011.             Okay?
        24              A.       Okay.
        25              Q.       I'm going to -- I believe this has
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                                                                          Page 321
         1                   RAMONA WATTS - CONFIDENTIAL
         2    been identified as the 2011 trust.           We're starting
         3    on page 2, do you see that?         Is that what you
         4    understood the 2011 trust that you were the
         5    trustee of?
         6              A.       Absolutely not,      because I wrote
         7    the 2011 trust with Craig, so no.           Definitely not.
         8              Q.       So this document which is -- starts
         9    date stamp DEF_00002414 is absolutely not the
        10    first Tulip Trust document, correct?
        11              A.       Not the one that I created with
        12    Craig, absolutely not.
        13              Q.       Okay.    In this document it says
        14    that:    "Dave Kleiman shall become the transfer" --
        15    excuse me, that:       "Dave Kleiman shall be come the
        16    trustee for the transfer of the Satoshi I received
        17    from Craig Wright."        Can you see that?
        18              A.       I can see that.
        19              Q.       As far as you know, Dave was never
        20    the trustee for any of the Tulip Trust; correct?
        21              A.       Yes, that's correct.
        22              Q.       Dave says he received a 1,111,000
        23    Bitcoin from Craig Wright and it says:            "Former
        24    trustee managed by at least 3 people but not more
        25    than 7 at any time."        Do you see that?
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       I see what's written, yes.
         3              Q.       That is absolutely not the Tulip
         4    Trust; correct?
         5              A.       It's not the Tulip Trust that I
         6    know.    Perhaps if there was another one that I
         7    don't know about.         It's not the one that I created
         8    with Craig in 2011.
         9              Q.       Okay.     I will scroll down through,
        10    this is just so you know this is -- there's more
        11    than one document in this composite exhibit; okay?
        12              A.       Sure.
        13              Q.       I will identify for the report, so
        14    now, there's a document dated 23rd October 2012;
        15    do you see that?
        16              A.       Yes.
        17              Q.       That starts at Bates stamp
        18    DEF_00050985.      It says:    "Together the parties
        19    shall be jointly known as the Tulip Trust."              Do
        20    you see that?
        21              A.       I do.
        22              Q.       "The trust is between Wright
        23    International Investments and Tulip Trading."              Do
        24    you see that?
        25              A.       I do.
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                                                                          Page 323
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       Is this the Tulip Trust that you
         3    helped Craig right?
         4              A.       Can you scroll down so that I can
         5    read it all.
         6              Q.       Absolutely.     Were you done with the
         7    first page?
         8              A.       No.
         9              Q.       Okay, you tell me?
        10              A.       Can you scroll down, I'm done with
        11    the first page, yes.
        12              Q.       Okay, thank you, Ma'am?
        13              A.       Can you keep scrolling down.
        14              Q.       Of course.
        15              A.       Okay, keep scrolling down.         All
        16    right, okay.
        17              Q.       Okay, is this the Tulip Trust that
        18    you are a trustee for?
        19              A.       I don't recall.      Some of the words
        20    would be similar, but not all of them, no.
        21              Q.       There's yet another -- there is
        22    another Tulip Trust document -- 2011, so far we
        23    have not looked at the 2011 trust document you
        24    referred to, 2012 trust document you referred to,
        25    we have not looked at the 2014 one you referred
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                                                                         Page 324
         1                   RAMONA WATTS - CONFIDENTIAL
         2    to.   The two documents I've shown you so far are
         3    none of those things?
         4              A.       I don't know if this one is.
         5    I really don't know.        I don't remember.
         6              Q.       Let's see who the trustees are,
         7    maybe that will help you.         Trustees, Ms. Uyen.
         8    That's not you, is it?
         9              A.       No.
        10              Q.       Craig Stephen Wright, that's not
        11    you, is it?
        12              A.       No.   So it wouldn't be the -- it
        13    wouldn't be the Tulip Trust as I know it, no.
        14              Q.       Okay.    So, neither of these two
        15    things we've looked at are the Tulip Trust.
        16              A.       No.
        17              Q.       Okay, let's go on.       Now we're
        18    starting a new document, this one -- I just want
        19    to get you the date but I'll scroll back up.              This
        20    one, the date's on the first page.           So, do you
        21    recognise this document?
        22              A.       No.
        23              Q.       No?   Okay.    I'll scroll through it
        24    just so you make sure you don't.           There is one of
        25    the trustees is Denis Mayaka; correct?
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                                                                         Page 325
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Yes.
         3              Q.       You're actually listed as the
         4    appointor.     Is the Tulip Trust document that
         5    you're are a trustee for?
         6              A.       No, I don't think so.        I don't
         7    actually recall because it was from 2011.             I
         8    really don't recall which one it was.
         9              Q.       Okay, this one is from 2012?
        10              A.       Yes, I don't recall.        I really
        11    don't.
        12              Q.       This starts at the DEF_00050990?
        13              A.       Sure.
        14              Q.       Just trying to get to the end of
        15    it.
        16              A.       Many words in a trust are very
        17    similar and that's why I say there are
        18    similarities, but if this is the exact one,
        19    I don't remember.       I really don't.      The other
        20    issue is that we had many drafts.           So if you are
        21    asking me if this is the exact one, I really don't
        22    know.    It could be one of the drafts, that ----
        23              Q.       I'm going to represent to you that
        24    these two trusts that we looked at were ones that
        25    -- or three documents that your husband swore were
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                                                                         Page 326
         1                   RAMONA WATTS - CONFIDENTIAL
         2    the Tulip Trusts?
         3              A.       Well ----
         4              Q.       They may be drafts?
         5              A.       They might be, yes, I don't know.
         6                       MR. SAOUL:     Having made that
         7    representation, Mr. Brenner, was there a question
         8    you wanted to ask the witness?
         9                       MR. BRENNER:     No.     I thought I did
        10    ask a question.      She answered it. Okay.
        11    BY MR. BRENNER:
        12              Q.       Let me just review my notes and
        13    make sure we're done, okay?
        14              A.       Sure.
        15                       MR. FREEDMAN:      Maybe go off the
        16    record for two minutes.
        17                       THE COURT REPORTER:       We're going
        18    off the record at 6.49 p.m.
        19     (A short break off the record from 6.49 p.m. to
        20                             6.54 p.m.)
        21                       THE EXAMINER:      It's now 6.54.
        22                       MR. SAOUL:     Ms. McGovern has a
        23    couple of short questions.         I'm just making that
        24    clear.
        25                       MR. BRENNER:     Okay.    We're back on?
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                                                                         Page 327
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       THE EXAMINER:      Yes.
         3    BY MR. BRENNER:
         4              Q.       Miss Watts, during the break
         5    I asked your counsel and asked you to go to tab
         6    15?
         7              A.       Okay, yes.
  H
         8                       THE EXAMINER:      Exhibit 22.
         9          (Exhibit 22 was marked for identification)
        10    BY MR. BRENNER:
        11              Q.       Are you there?
        12              A.       Yes.
        13              Q.       I think it is a one page document.
        14    This is an e-mail.        Do you
                                           you have
                                               h    any
                                                      y reason to
        15               t this is an e-mail you sent in
              dispute that
        16    September 2015 to Stefan Matthews?
        17              A.       I don't recall it, but I have no
        18    reason to dispute that I sent him an e-mail.
        19              Q.       You wrote "WFT was established in
        20    August 2013".      Is WFT the Wright Family Trust?
        21              A.       Yes, it would be.
        22              Q.       Was that the Australian arm of the
        23    Tulip Trust?
        24              A.       Yes.   It's like an Australian
        25    representative of it.        It's like a branch.
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                                                                          Page 328
         1                   RAMONA WATTS - CONFIDENTIAL
  H      2              Q.       Okay. You say that at that point
         3    Craig had purchased software personally as well as
         4    had agreements around Bitcoin rights for overseas
         5    trust, WII and Tulip Trading?
         6              A.       That is correct.
         7              Q.       The Bitcoin we talked already, the
         8    mined and the purchased Bitcoin?
         9              A.       That is correct.
        10              Q.       You say:    "The information
        11    regarding the other two trusts has not been
        12    disclosed at the ATO."        What were the other two
        13    trusts?
        14              A.       I believe it's these two that I
        15    wrote about but I actually don't remember.             As
        16    I said five years ago, I don't remember.
        17              Q.       You write "CW" which I assume is
        18    Craig Wright?
        19              A.       No, no, Craig Wright R&D which
        20    would be ----
        21              Q.       Oh, I'm sorry you're right, you're
        22    right.    "CW R&D sold to WFT", so this is Craig
        23    Wright R&D sold to Wright Family Trust, right?
        24              A.       Yes.
        25              Q.       Software, right?
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                                                                         Page 329
         1                   RAMONA WATTS - CONFIDENTIAL
  H      2              A.       Yes.
         3              Q.       Bitcoin, rights?
         4              A.       Yes.
         5              Q.       And then it says W&K software?
         6              A.       Right.
         7              Q.       So by 2015 Craig Wright R&D had
         8    sold W&K software to Wright Family Trust?
         9              A.       I don't remember.       I don't remember
        10    writing this e-mail.        So, I don't remember.
  AA
        11              Q.       You do recall that as a result of
        12    the result of the Australian court proceedings
        13    that Craig Wright R&D obtained a judgment for
        14    certain intellectual property and software from
        15    W&K?
        16              A.       Was that the judgment that we
        17    talked about when he had the default judgment?
        18              Q.       Yes.
        19              A.       Well, as I said, when you asked me
        20    that question, I didn't know what it was.             I knew
        21    that he had a court proceeding and I knew he had a
        22    default judgment but I didn't know what it was.
        23              Q.       You understood that he got
        24    something out of that, right?
        25              A.       Yes.
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         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       You understand that he later sold
         3    it to WFT?
         4              A.       I believe he would have told me
         5    that at that time and that's why, if I did write
         6    this, I would have written that but it was from
         7    information that he told me, yes.
         8              Q.       Okay.    In the interest of time,
         9    I know the court reporter needs to leave.             I know
        10    that I made a commitment that I would do my best
        11    to finish, although we've gone about an hour less
        12    than we're allowed to go pursuant to our rules, at
        13    least.    That has to be disputed it will be one
        14    that you guys don't need to worry about and we'll
        15    hash it among the lawyers here.           With that caveat,
        16    I'm done right now and I understand you said that
        17    Ms. McGovern had some questions.           Before you go,
        18    thank you Miss Watts, thank you for your time
        19    today and thank you for ----
        20                       MS. McGOVERN:      I do although, it's
        21    my understanding that the time that agreed upon
        22    amongst you and UK counsel was by agreement, and
        23    I'm not quite sure what you mean about we are
        24    going to take it up here in the United States with
        25    respect to the deposition.         It is my understanding
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                                                                           Page 331
         1                   RAMONA WATTS - CONFIDENTIAL
         2    there was an agreement upon timeframe, much like
         3    Mr. O'Hagan yesterday, whereby we would end by 7.
         4    I am not sure what you mean by that, Mr. Brenner,
         5    if you could plain.
         6                       MR. BRENNER:     You really want to
         7    spend the time explaining?         How about we get the
         8    witness out and then I'll explain.
         9                       MS. McGOVERN:      Well, we don't agree
        10    with you.
        11                       MR. BRENNER:     You rarely do and
        12    that's our respective jobs!         But let's let the
        13    court reporter and the witness get out.             So why
        14    don't you ask your questions.
        15                       MS. McGOVERN:      Courteous, as
        16    always!
        17    BY MS. McGOVERN:
        18              Q.       Ms. Watts I have a few questions
        19    for you.     It will be very brief.
        20              A.       Sure.
        21              Q.       I'm going to the section in the UK
        22    order, which controls this deposition, section (b)
        23    and I'm going to ask you a specific question
        24    (unclear) and the scope of the UK order.
        25                       MR. BRENNER:     Ms. McGovern, you're
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                                                                         Page 332
         1                   RAMONA WATTS - CONFIDENTIAL
         2    fading out a little bit.
         3                       MR. SAOUL:     So, I've got a copy of
         4    the UK order here.
         5    BY MS. McGOVERN:
         6              Q.       My question is directed to
         7    subsection (b) of the consent order governing this
         8    proceeding.     Can you hear me?
         9              A.       Yes.
        10              Q.       Miss Watts, did Dave Kleiman to
        11    your knowledge ever intervene with the ATO
        12    investigation to address his role in any, in any
        13    of the corporations that were the subject of the
        14    ATO proceeding ----
        15              A.       No.
        16              Q.       -- regarding Bitcoin?
        17              A.       No, I'm sorry, I did not mean to
        18    interrupt you, but no, he never did.
        19              Q.       Did Dr. Wright ever tell you that
        20    Dave Kleiman was also addressing in the ATO
        21    proceedings questions regarding his role, if any,
        22    with respect to any of the corporations that were
        23    a part of the ATO investigation regarding Bitcoin?
        24              A.       No, he never told me that.
        25              Q.       Miss Watts I believe you testified
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                                                                         Page 333
         1                    RAMONA WATTS - CONFIDENTIAL
         2    earlier today that you negotiated or tried to
         3    negotiate with Ira Kleiman the personal
         4    representative of Dave Kleiman's estate following,
         5    of course, Dave Kleiman's unfortunate death and my
         6    question is this.       You testified I believe that
         7    Ira Kleiman had or stated that one of the reasons
         8    that he did not accept either shares or money that
         9    was offered for Coin-Exch was that --
        10                       MR. RIVERO:     I'm sorry Ms/
        11    McGovern, I'm losing you.         I don't know if it's
        12    maybe just me or maybe it's someone else but is
        13    anyone else having difficulty?          You keep cutting
        14    in and out for me.
        15                       MR. BRENNER:     We are getting her
        16    good, let's just let her finish.
        17                       THE EXAMINER:      We're hearing it.
        18                       MR. RIVERO:     All right.     It must be
        19    me.   Sorry, Amanda.
        20    BY MS. MCGREGOR:
        21              Q.       That's okay.     Let me restate the
        22    question.      Miss Watts, you testified that one of
        23    the reasons, correct me if I am wrong, please,
        24    that one of the reasons Ira Kleiman refused to
        25    accept money or shares in Coin-Exch on behalf of
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                                                                         Page 334
         1                   RAMONA WATTS - CONFIDENTIAL
         2    Dave Kleiman's estate was because Ira Kleiman did
         3    not want to pay tax; do you recall that?
         4              A.       Well, that's what he said to us,
         5    yes.
         6                       MR. BRENNER:     Object to form.
         7    BY MS. MCGREGOR:
         8              Q.       And you also testified that
         9    Dr. Wright became cross, I believe you used the
        10    word "cross" C-R-O-S-S, which I understand to be
        11    an English phrase for angry in connection with
        12    Ira's tying the shares or the money for Coin-Exch
        13    to his obligations to pay tax; do you recall that
        14    testimony?
        15              A.       Yes, he was very angry and he then
        16    passed on the information of our tax lawyer to Ira
        17    and he said, "Well, I'm not going to sort out
        18    whatever tax problems you have but you can talk to
        19    Andrew Sommer."
        20              Q.       Did that in fact happen to your
        21    knowledge?
        22              A.       Yes.
        23              Q.       And what was the consequence of the
        24    result of the communications of with Ira Kleiman
        25    and Mr. Sommer?
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                                                                          Page 335
         1                   RAMONA WATTS - CONFIDENTIAL
         2              A.       Well, I don't know how much they
         3    talked for.     I think they had e-mails back and
         4    forth and I think they had phone bills, which we
         5    ended up paying for, but Andrew Sommer said "This
         6    is ridiculous.      I can't do it this way or the way
         7    he wants to do it.       I can't give him any more
         8    advice."
         9              Q.       And what was the basis for that to
        10    your knowledge or your understanding?            What was
        11    the basis for Mr. Sommer -- what was your
        12    understanding of the basis for Mr. Sommer's
        13    conclusion of the communications with Ira on the
        14    tax issue?
        15                       MR. BRENNER:     Object to the form.
        16              A.       I really don't know.        I mean
        17    Andrew Sommer was very frustrated with him and
        18    I think he was trying to get Andrew Sommer to give
        19    him some sort of legal advice so that he wouldn't
        20    have to pay tax and Andrew said, "I'm not doing
        21    this anymore."
        22    BY MS. MCGREGOR:
        23              Q.       Was Ira Kleiman acting on his own
        24    behalf in connection with those communications to
        25    your knowledge or was he acting on behalf of the
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                                                                         Page 336
         1                    RAMONA WATTS - CONFIDENTIAL
         2    estate with respect to his refusal to assume a tax
         3    liability, to your knowledge?
         4                       MR. BRENNER:     Object to the form.
         5               A.      He said, "I don't want to pay any
         6    tax."
         7    BY MS. McGOVERN:
         8               Q.      Do you know, Miss Watts on the
         9    issue of tax whether Dave Kleiman ever spoke to
        10    you, or do you recall, rather, whether Dave
        11    Kleiman ever spoke to you about his own tax
        12    responsibility for income purportedly derived from
        13    Bitcoin?
        14              A.       He never mentioned anything like
        15    that to me.     I do not know.
        16              Q.       And to your knowledge, do you know
        17    whether Dave Kleiman ever spoke to you about tax
        18    responsibilities for W&K Information Research
        19    Defence LLC, a Florida corporation just to be
        20    clear on the record, with respect to tax liability
        21    for any income derived for Bitcoin purportedly
        22    mined by that Florida entity?
        23              A.       I don't believe that they mined
        24    anything, but, no he didn't state that to me at
        25    all.
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                                                                         Page 337
         1                   RAMONA WATTS - CONFIDENTIAL
         2              Q.       So you have no recollection of any
         3    communications with Dave Kleiman about the
         4    responsibility for W&K to pay tax with respect to
         5    income purportedly mined by W&K in Florida; is
         6    that a correct understanding?
         7              A.       Yes.
         8                       MR. BRENNER:     Object to the form.
         9    BY MS. MCGREGOR:
        10              Q.       Do you recall whether Dr. Wright
        11    ever spoke to you about W&K's tax responsibility
        12    with respect to any Bitcoin mine from that Florida
        13    corporation or LLC?
        14                       MS. McGOVERN:      I have no further
        15    questions.
        16                       THE EXAMINER:      Thank you.     I don't
        17    know whether you have any questions, any
        18    re-examination.
        19                       MR. BRENNER:     No, I'm done.
        20                       THE EXAMINER:      You're done
        21    completely.     Right.    Obviously it's time for the
        22    court reporter to go.        There are a couple of
        23    things I just want to sort out as regards
        24    finalising the deposition.         Is there anything else
        25    anybody wants to interject which requires the
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         1                   RAMONA WATTS - CONFIDENTIAL
         2    court reporter remaining, because I think it's
         3    only fair to her that we said 7 o'clock.             It is
         4    now past that time.
         5                       MR. BRENNER:     The only thing is,
         6    when she sends me a rough or something, I will
         7    send by e-mail the last exhibit that we had just
         8    popped on the screen only, although we gave it a
         9    marker.    I will do that exactly as it was shown at
        10    the deposition.
        11                       MR. FREEDMAN:      Thank you.
        12    Mr. Brenner, I would just say, if you wanted to
        13    respond, so there is a record to Ms. McGovern's
        14    comment about us agreeing to end the deposition at
        15    7 p.m. I don't think that's accurate.
        16                       MR. BRENNER:     I'll just say that we
        17    agree to disagree but I'm not going to have this
        18    fight while the court reporter is there.
        19                       MR. SAOUL:     Allow me to just say
        20    from an English perspective, it is our clear
        21    understanding that an absolutely black and white
        22    recorded in writing agreement was reached to start
        23    at noon and conclude at 7.00 and if there is any
        24    suggestion otherwise, then that can be taken up in
        25    the English courts as well.
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                                                                         Page 339
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       MR. BRENNER:     Absolutely, it can be
         3    taken up.     The e-mail exchange is colourful to say
         4    the least but it is what it is.
         5                       THE EXAMINER:      Right.    So I thank
         6    the court reporter for staying and wish her a good
         7    journey home.
         8                       THE COURT REPORTER:       Thank you.     We
         9    are going off the record at 7.06 p.m.
        10              (Deposition concluded at 7.06 p.m.)
        11
        12
        13
        14
        15
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        17
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                                                                         Page 340
         1                   RAMONA WATTS - CONFIDENTIAL
         2                      CERTIFICATE OF EXAMINER
         3
         4                       The preceding pages of typescript
         5    were furnished to me by Amy Coley as containing
         6    her transcript of his notes of the evidence of
         7    RAMONA WATTS given upon his examination before me.
         8
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        14
        15
        16    ........................
        17    Ms. Alison Green -       Examiner
        18
        19
        20    Dated this ..... day of ............. 2020
        21
        22
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                                                                         Page 341
         1                   RAMONA WATTS - CONFIDENTIAL
         2                       CERTIFICATE OF WITNESS
         3
         4              I,RAMONA WATTS, am the deponent in the
         5    foregoing deposition.        I have read the foregoing
         6    deposition and, having made such changes and
         7    corrections as I desired, I certify that the
         8    transcript is a true and accurate record of my
         9    responses to the questions put to me on 19th
        10    March, 2020.
        11
        12
        13
        14
        15
        16    Signed    ................................
        17
        18    NAME....................
        19
        20    Dated this ..... day of ............ 2020
        21
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                                                                         Page 342
         1                   RAMONA WATTS - CONFIDENTIAL

         2                  CERTIFICATE OF COURT REPORTER

         3

         4              I, Amy Coley, Accredited Court Reporter,

         5    do hereby certify that I took the Stenograph notes

         6    of the foregoing deposition, and that the

         7    transcript thereof is a true and accurate record

         8    transcribed to the best of my skill and ability.

         9                       I further certify that I am neither

        10    counsel for, related to, nor employed by any of

        11    the parties to the action in which the deposition

        12    was taken, and that I am not a relative or

        13    employee of any attorney or counsel employed by

        14    the parties hereto, nor financially or otherwise

        15    interested in the outcome of the action.

        16

        20

        21    ...................................

        22    AMY COLEY

        23

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                                                                         Page 343
         1                   RAMONA WATTS - CONFIDENTIAL
         2                             E R R A T A
         3        (Please make any corrections here NOT in the
         4                            transcript)
         5
         6
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                                       388
                                                                                               Page 1

                $          DFFHVV                               
       DELOLW\                                DIILUP             
                          DFWLRQ     DIILUPHG           
                      DFWLYLWLHV                  DKROG 
                                      DIIRUG        $ODQ 
                            DFWXDO     DILHOG       DOJRULWKPV 
                      DFFRUG                DIUDLG             
       DEOH      DFFRXQW                     DJR         
                                $GG                       
                 DFFRXQWDQW      DGGHG                    $OLVRQ  
                        DGGLWLRQDO             DOLYH 
                                                 DOOHJDWLRQ 
                              DGGUHVV           DOOHJLQJ 
                  DFFRXQWDQWV                  DOORFDWHV 
                                        DOORZ  
                                                  
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                                DJUHH         DOORZHG 
                                                    
                          DGGUHVVHG                
                 DFFRXQWHG                             
                          DGGUHVVHH            DOORZV 
       DEO\           DFFRXQWLQJ      DGGUHVVHV               $OULJKW 
       $%1                                       
       $%1V                                       DOWHU 
       $EUHQQHU#EVI     DFFRXQWV                      $PDQGD 
                                                    
       $EVHQFH                            DJUHHG        
       DEVROXWH                                     
       DEVROXWHO\     $FFUHGLWHG                             DPD]LQJ 
                 DFFXUDF\                     DJUHHLQJ     $PHULFD 
                                DGGUHVVLQJ                       $PHULFDQ 
              DFFXUDWH                     DJUHHPHQW     DPRXQW 
                           DGPLQLVWUDWLRQ                   
                                                   
                      DGPLQLVWUDWRU                 
                                             
                         DGRSWLQJ                   
                                     DGYLFH                   
       DFDGHPLF      DFFXVDWLRQV                              
       DFFHOHUDWHV                                    DPRXQWV 
       DFFHSW     DFNQRZOHGJH         DGYLVH                 DP\  
                           $IIDLU                        
                                                DJUHHPHQWV           
       DFFHSWDEOH     DFW                             DQDORJRXV 
                           DFWLQJ       DIILOLDWHG    DKHDG      $QGUHZ  
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                      DSSUHFLDWH                 
                                            
                                          
                      DSSURDFK                   
                       DSSURSULDWH                      
                                            
                      DSSURYH                 
                                   DVNLQJ      DVVLJQ 
       $QG\               DSSUR[LPDWHO\                   
       DQGRU                                   DVVLJQHG 
       $QJ                                          DVVLJQHH 
                     $SULO                  DVVLJQLQJ 
                 DQVZHUHG                            
                       DUFKLYH                  
       DQJU\                  DUFKLYHV              DVVLJQPHQW 
                        DUJXLQJ                    
                        DUJXPHQWDWLYH                   
       DQQH[XUH                                       
       DQQH[XUHV            $ULYHUR#ULYHU            DVVLJQPHQWV 
       DQQRWDWH                                              
       DQQRWDWLRQV        DQVZHULQJ      DUP                      
                        DURVH                   DVVLJQRU 
       DQQR\HG                   DUULYH                  
       DQQR\LQJ      DQVZHUV                               DVVLJQV 
       DQRQ\PRXV                     DUVH                  DVVLVWDQFH 
               DQW          DUWLFOH             DVVLVWDQW 
               DQ\ERG\                               
                                        DVVRFLDWHG 
       DQRQ\PRXVO\                                         
               DQ\PRUH      DVFHUWDLQ                 
       DQVZHU      DQ\ZD\                              
                                                      
               DSRORJHWLF         DVLGH                
                              DVNHG                  
                DSRORJLVH               $VSHUJHU V            
                                                  DVVRFLDWHV 
                DSSDUHQW              DVVHUW          DVVRFLDWLRQ 
            DSSDUHQWO\               DVVHUWHG        DVVXPH 
                                      DVVHUWLQJ         
              DSSHDU               DVVHW          
                                                
               DSSHDUV              DVVHWV         
                                             
                                              
             DSSO\                               
                DSSRLQWRU                         
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       DVVXPHG                                
       DVVXPLQJ                        EDVLFDOO\         
                                               
       DVVXPSWLRQ                                         
                                      EDVLQJ          
       $72                           EDVLV        
                                                    
              DXWKHQWLF                         
                                          
                                               
               DXWKHQWLFDWH                             
                                      %DWHV            
                     DXWKHQWLFDWLRQ                     
       DWWDFKHG                                           
       DWWDFKPHQW          DXWKHQWLFLW\         EDWKURRP        
                                  EDWWOHV         
       DWWDFKPHQWV         DXWKRULVHG                 %'2             
                                     EHDQV            
       DWWDFNV                          %HDULQJ           
       DWWHPSWV      DXWRPDWHG                     EHDW         
       DWWHQGDQFH                                     
       DWWHQGLQJ     DXWRPDWLF            EHFRPLQJ         
       DWWHQWLRQ     DYDLODEOH                       
       DWWRUQH\                           EHHS       EHOLHYHG 
       DWWRUQH\V      $YHQXH               EHJDQ         EHOLHYHV 
       DXGLWHG       DYRLG               EHJLQQLQJ      EHOLHYLQJ 
               DZDUG                                EHOO  
                     DZDUH       EDFNJURXQG               EHQ 
       DXGLWV                EDFNWUDFN           EHQHILFLDULHV
       $XJXVW                  EDG                    
                                                      
       $XVWUDOLD                    EHJLQQLQJV           
                                          EHQHILFLDU\
                             EHKDOI      
                                             EHQHILW 
                 DZIXO          %DNHU                
                $\UH                                  EHVW 
               DP           EDQNLQJ     EHOLHI           
                                        EHOLHYH          
                       %                                  
                      E         EDUHO\              
       $XVWUDOLDQ               EDUNLQJ               
                                EDVH                  
               EDFN       EDVHG                 
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                        ERWWRP        
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       EH\RQG                               
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       ELJ                          
       ELOOV                      %RXOHYDUG       
                                   EUDQFK       
       ELUWK                          EUHDN       
       %LVFD\QH                              
       ELW                       
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                                       
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                                          
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                    ELWV         EUHDNV       
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                                    %UHQQHU      
       %LWFRLQ            EODQNHW                 
                         EORFN                
                    EORJV                
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               ERDUG              
                   %RLHV              
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                    ERQGHG                
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                                       
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                   ERRNV              
                                
                    %RVLUH              
                                   
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                                                           FHQWUHSLHFH
                EULQJV                             FDSLWDOLVDWLRQ        
                  %ULVEDQH                &                   FHUWDLQ  
                                  F                       
                  %ULWDLQ        FDOFXODWH    FDSLWDOLVH        
                                                         
                   %ULWLVK    FDOO       FDSLWDOLVHG            
               EURDG                             
                                 FDSWXUH          
                                    FDSWXUHG         
                  EURDGHQ                FDU       
                EURNH                                    
               EURNHQ                 FDUH              
                 EURNHUHG                 FDUHIXO            
              EURWKHU                         FHUWDLQO\ 
                                   FDUHIXOO\          
                                        FDUHWDNHU       
                EURWKHU V     FDOOHG     FDUULHG     FHUWDLQW\ 
               EURXJKW                             &(57,),&$7(
                                 FDUU\            
               %59                 &DUWHU       
               EXLOG                                 FHUWLI\ 
               EXOOHW                 FDVH        
                  EXVLQHVV                        FKDLQ 
                                        FKDOOHQJH 
                                                FKDQFH 
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                                       FDVK           FKDQJH 
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                                  FDWHJRULHV      FKDQJHG 
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                                                 
                                FDWHJRU\         
                                                FKDQJHV 
                EXVLQHVVHV      FDOOLQJ        FDXVHG        
                                           FDXWLRQ           
                  EXVLQHVVFU\SWR     FDOOV       FDYHDW        &KDRV 
                                                  FFHG           
       %UHQQHU V      EX\       &DOYLQ       FHDVH     FKDUDFWHULVDWLRQ
       EULHI                                                  
       EULHIO\             FDPSLQJ        FHQW           FKDUDFWHULVHG
                                             FHQWUH       
       EULOOLDQW    EX\LQJ          FDQW                   FKDUPLQJ 
                              FDSDEOH              FKDW 
       EULQJ      %28*+7         FDSLWDO                    FKDWWLQJ 
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                      FORVH                           
       FKHFN                       &ROH\       FRPPXQLFDWLRQV       
                  FORVHG                       
                              FROOHDJXH               
       FKLHI      FORVHO\                                 
                      &ORXGFURIW      FROOHDJXHV              
       FKLOG                 FROOHFW               
       FKLOGUHQ                  FRORXU       FRPPXQLW\           
                       FRORXUIXO             
                      FROXPQ                    
                                          FRPSDQLHV      
       FLUFXPVWDQFHV                FROXPQV                 
                             FRPH              
       FODLP     FOXHV                          
               &REKDP                          
                FRGH                         
                                          
                   FRLQ                           
       FODLPLQJ                             
                                               
                     FRLQFLGHV                           
       FODLPV        FRLQV          FRPHV                  
                     &RLQ([FK                        
       FODULILHV                              
       FODULI\                                
       FODULI\LQJ               FRPIRUWDEOH                    
                                               
       FODULW\                FRPLQJ                
       FODVV                                
       &OD\WRQ                                        
                        FRPPHQFHG                
                       FRPPHQW                    
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                              FRPPHUFH              
       FOHDQ             FRPPHUFLDO               
                                                    
       FOHDQHG               FRPPLWPHQW                 
       FOHDU                                   
                         FRPPRGLWLHV               
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                       FRPPXQLFDWLQJ              
       FOHDUO\                                   
                           FRPPXQLFDWLRQ              
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                                          
               FRQFHUQHG                   
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                     FRQFHUQLQJ                   
       FRPSLOHG       FRQFHUQV                     
       FRPSODLQHG          FRQFOXGH                    
                     FRQFOXGHG                         
       FRPSOHWH                                   
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       FRPSOHWHG                                  
                      FRQGLWLRQ                    
       FRPSOHWHO\          FRQIHUHQFHV                       
                                                  
       FRPSOLFDWHG         FRQILGHQWLDO                   
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       FRPSURPLVH                                
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       FRPSURPLVHG                               
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       FRPSURPLVLQJ                              
                                           
       FRPSXWHU                              
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                                         
       FRPSXWHUV                         FRQILUP 
                                   
                                     
                                    
                                      FRQILUPHG
                                      
       FRQ                               FRQIOLFWLQJ
       FRQFHSW                              
                                        FRQIXVLQJ 
       FRQFHUQ                              
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                                              
       FRQQHFWLRQ    FRQWHQW                          
                                           
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                                         
       FRQQHFWV     FRQWLQXH                    
                                          
       FRQVFLRXV                         
       FRQVHQW                                           
       FRQVHTXHQFH        FRQWLQXHG      FRQYLFWLRQ          
                    FRQWLQXLQJ     FRRSHUDWLRQ              
       FRQVHTXHQFHV       FRQWUDFW                        
                             FRSLHG             
       FRQVLGHU                                   
                             FRSLHV               
                     FRQWUDFWRU          FRS\              
       FRQVLGHUDWLRQ                                 
                      FRQWUDFWV                     
       FRQVLGHUV    FRQWURO                           
       FRQVLVWHQW    FRQWUROOHG                       
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       FRQVLVWV             &RS\LQJ                
       FRQVWDQWO\         FRQWUROOHU      FRUGLDO            
                                   FRUH             
       FRQVXOWLQJ    FRQWUROOHUV                    
       FRQWDFW                                    
                            FRUQHU                 
                 FRQWUROOLQJ    FRURQDYLUXV               
                                               
              FRQWUROV      FRUSRUDWH           
              FRQYHQLHQW                    
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       FRQWDFWHG     FRQYHUVDWLRQ                          
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       FRQWDFWLQJ                         
       FRQWDFWV                                
       FRQWDLQ                              
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       FRQWDLQHG                               
                       FRUSRUDWLRQ               
       FRQWDLQLQJ                          
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       FRQWHQG                                 
       FRQWHQGHG     FRQYHUVDWLRQV       FRUUHFW               
       FRQWHQGLQJ                                   
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                                            
                       FRYHU                 &UDLJ'U 
                                             FUD]\ 
                   FRXQVHO V     FRYHUHG                
                      FRVWHZDUG               FUHDWH 
                                                 FUHDWHG 
               FRXQWHU      FRWUXVWHH              
                FRXSOH                        
                           &21                   
                                         
             FRXULHU                        FUHDWLQJ 
                FRXUVH                        
                       &UDLJ       FUHDWLRQ 
                                       
                                          
                                               
                FRXUW                    FUHDWRU 
                                              
                                           
                                    FUHGLW 
                                      FUHGLWV 
                                             FULPLQDO 
       FRUUHFWLQJ                         FURVV  
       FRUUHFWLRQ                               
       FRUUHFWLRQV                              FU\ 
                                          FU\SWR 
       FRUUHFWO\                               FU\SWRJUDSKLF
                                        
                                           &6: 
       FRUUHVSRQGHQFH                            FXULRXV 
                                        FXUUHQFLHV
                                                
       FRUUHVSRQGV                                FXUUHQF\ 
                                             
       FRVW                                   FXUUHQWO\ 
       &RVWFR                              
       FRXQVHO                                 
                                             
                                        
                                                
                              &UDLJ V          
                                             
                &RXUWHRXV                          
                                               
                FRXUWHV\                   FXW  
              FRXUWV                      
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                             GD\V            
       FXWWLQJ                                  
       &:                                    GHFODUDWLRQ
       F\EHU                         GD\WRGD\           
                                           GHHG  
       F\EHUVSDFH                  '%+3')             GHHGV 
       &\UXOQLN                                       GHHSO\ 
       &21                    GH              '()  
       &5266                         GHDO        GHIDXOW 
                                             
       &#Z\QRFD                                   
                                                  
                                                          'HIHQFH 
               '                           GHDOLQJ         
       G                                  
                                             
       'DQLHO                   GHDOLQJV        
       GDUH                                 GHDOW      
       GDUN               'DYH V                        
                                GHDU            
       GDWD                     GHDWK           
                                        
                           GHEDWH         
                                           
       GDWH                    GHEDWLQJ         
                                                   
                           'HFHPEHU         
                                      
                                          
       GDWHG                                  
                                      GHIHQGDQW 
                                         
                                            
       GDWHV                                 'HIHQVH 
                                                  
                   'DYLG                 GHILQHG 
                                             GHILQLQJ 
       GDWH V             'DYLG V              GHILQLWHO\ 
       GDXJKWHU             'DZVRQ                        
       'DYH                               GHFHQW           
                GD\        GHFLGHG          
                                          
                                     
                                         '()B
                                            
                                      GHFLVLRQ        '()B
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                                      GLIIHUHQFHV         
       '()B                GHVLJQ        GLIIHUHQW          
                             GHVLUH                   
       'H*UDFLD                GHVLUHG                       
                                                          
       GHOD\V                 GHVSHUDWH                      
       GHOHWH               GHVSLWH                   
                       GHWDLO                   
                                                     
       GHOHWHG      GHQ\LQJ      GHWDLOHG                      
                'HSDUWPHQW                                     
       GHOOLQJ                GHWDLOV                     
       GHPDQG        GHSHQGHQW                                  
       'H0RUJDQ                                              
                GHSHQGV                              
                      GHWHUPLQH      GLIILFXOW      
             GHSRQHQW                               
               GHSRVLWHG    GHWHUPLQHG                     
              GHSRVLWLRQ                                 
                        GHYHORS     GLIILFXOWLHV            
                                                    
                       GHYHORSHG     GLIILFXOW\         
                     GHYHORSHUV                  
                                                       
                       GHYHORSLQJ          GLJLWDO         GLUHFWRUV 
                                            
                         GHYHORSPHQW                           
                              GLUHFW            
                                                   
                                     GLUHFWHG          
                       GHYLFH                       
                      'HYLQ           GLUHFWLRQ         
                            GLDOOHG       GLUHFWO\        GLUHFWRUVKLS
               GHULYDWLYHV        GLFWDWLQJ                 
       'H0RUJDQ V                       GLHG                   GLVDJUHH 
                      GHULYHG                         
       'HQDULX]                                              
                'HVFULEH              GLUHFWRU           
                 GHVFULEHG                      GLVDSSRLQWLQJ
                                             
       'HQLV     GHVFULEHV                   GLVFKDUJH 
                                                GLVFORVHG 
                GHVFULELQJ         GLHV            GLVFRYHUHG 
                                      GLVFRYHU\ 
                GHVFULSWLRQ        GLIIHUHQFH                GLVFXVV 
                                                    
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                                       
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       GLVFXVVLQJ                                  
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                                                     
       GLVFXVVLRQ                           GROODUV         
                            GRFXPHQWDWLRQ                    GUDIW  
                                 GRPDLQ         
                      GRFXPHQWHG                        
       GLVFXVVLRQV                            GRRU        
                         GRFXPHQWV                     
                                GRRUV           
                           GRXEW            
                                       GUDIWHG 
       GLVSRVDO                                     GUDIWV 
       GLVSRVH                                   
       GLVSXWH                                   
                                 'U     GUDJJHG 
                                            'UDJRQ 
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                                            GUDZ  
                                         GUDZQ 
                                       
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                                          GUXJV  
                                              
       GLVSXWHG                          GXH  
       GLVSXWHV                                
                                       GXO\ 
       GLVVROYHG                           GXWLHV  
                                  GXW\ 
                                            G\LQJ 
       ',675,&7              GRJ                    
       '.                 GRLQJ           
       GRFXPHQW                                         (
                                      (   
                                      HDUOLHU 
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                                            
                                          
                                           
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                HPRWLRQDO                                     
       HDUO\          HPSOR\HG        HQWLUHW\       HYHU\ERG\         
                                           H[DPSOHV 
                           HQWLWLHV             ([FHO 
                     HPSOR\HH                HYLGHQFH       H[FHSWLRQ 
       HDVLHU        HPSOR\PHQW                      H[FHSWLRQDOO\
       HDVWHUQ                           H[DFW        
       HDV\           HQDEOH                           H[FKDQJH 
       HDW                                             
       HDWLQJ                       HQWLWOHG                   
       HFRQRP\       HQFU\SWHG                            
       (&1                HQWLW\      H[DFWO\          
       HGLW                                   H[FKDQJHV 
                                                 
                                             H[FOXVLRQ 
                                                    H[FXVH 
       HGLWHG         HQFU\SWLRQ                               
                                                   
                HQGHG                                    
       HGLWLQJ                HQWU\                      
                             HUURU                   
       HGXFDWLRQDO               HVSHFLDOO\               H[HFXWHG 
       HIIHFW         HQGV                              H[KLELW  
       HIIRUWV    HQJLQHHULQJ         (VT                        
       HLJKW                                        H[DPLQDWLRQ            
              (QJODQG         HVWDEOLVKHG                           
               (QJOLVK               H[DPLQHU         
                                         
                                                        
       HLWKHU                   HVWDEOLVKLQJ                   
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                               HVWDWH               
                  HQTXLUH                               
               HQVXHG                            
                HQVXUH                              
                                            
              HQWHUHG                              
               HQWHUSULVH                               
                                           
                         HVWLPDWH                  
                      HQWHUSULVHV                      
       HOHFWURQLF                                      
              HQWLUH         HYDOXDWLRQ                     
                                               
                              HYHQWV                       
       (PDLO         HQWLUHO\        HYHQWXDOO\          H[DPSOH        
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                              IDLUQHVV          
                                                 IDLWK         )HUULHU 
       H[KLELWV  H[WUD           HPDLOHG      IDLWKIXOO\      ILGXFLDU\ 
                     H\H                IDOO       ILIWHHQ 
       H[LVW                 HPDLOLQJ              ILIWK 
                      HPDLO     HPDLOV                       ILJKW 
       H[LVWHG                         IDOOV         
       H[LVWV                            IDOVH             
       H[SHFW                                       
                                 IDPLOLDU       ILJKWLQJ 
       H[SHFWDWLRQ                               ILJKWV  
                                                  
       H[SHFWHG                          IDPLO\     ILJXUH 
       H[SHFWLQJ                                 
       H[SHGLWH                                         
       H[SHQG                              ILOH 
       H[SHQGHG                                    
                                                 
       H[SHQGLWXUH                 HZDOOHW                  
                                                                
       H[SHQVLYH                       )                      
       H[SODLQ                IDFH                  
                                          
                       )DFHERRN                  
                                                ILOHG 
                            IDFHDV       IDPLO\ V          
       H[SODLQHG             IDFW                        
                                     IDQWDVWLF     ILOHV 
                                 IDU            
                                             
                                                  
       H[SODLQLQJ                              
       H[SODQDWLRQ                                         
                        IDFWXDO                    
       H[SRVXUH                IDGLQJ                     
       H[SUHVV             IDLU      IDVW             
                                   IDWKHU            
                                       ILOLQJ 
       H[SUHVVLQJ                                ILOOHG 
                                            ILOOLQJ 
                                     IDYRXUDEO\     ILQDO 
       H[SUHVVLRQ                    )HEUXDU\          
                                  IHHO        
       H[WHQGHG                              ILQDOLVLQJ 
       H[WHQW                       IHOW              
                                    )HUJXVRQ        ILQDQFHV 
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       ILQDQFLDO              IRRG                        
                                     IRUPDO            
                         IRUHJRLQJ                        
                                  IRUPDOLVDWLRQ          
                       IRUHQVLF                        
       ILQDQFLDOO\                            IRUPDOLVH       
                                         IRUPDOLVHG          IRXUWK 
       ILQG               IRUHQVLFV                     
                                        IRUPDOO\        IUDPH 
                       IRUJHG                   
                                  IRUPDW         
       ILQGV                      IRUJHULHV      IRUPDWLRQ      IUDQNO\ 
       ILQH                   IRUP                    
                                                
                                      IRUPHG      )UHHGPDQ 
               ILVW                                 
                     ILW                          
       ILQHVVHG       ILYH                         IUHHGRP 
       ILQLVK                                 IUHTXHQW 
                                  )RUPHU        IUHTXHQWO\
                                 IRUPV           
                                                  IULHQG 
                              IRUPXOD           
                                              
       ILQLVKHG                       IRUPXODV         
                                IRUWK        
       ILUP                                              IULHQGV 
                )/(;1(5                             
              )ORULGD                IRUWKULJKW    IURQW 
                               IRUZDUG            
                                           
                                             
                                                       
                               IRUZDUGHG              
                                                  
                     IRFXV                              
       ILUPHG                                  IRUZDUGLQJ             
       ILUPQHVV       IRFXVHG                                 
                      IRONV             IRUZDUGV         
       ILUPV      IROORZ                                
       ILUVW                       IRXQG          IUXVWUDWHG
                                                
              IROORZLQJ                         
                 IROORZV                             IUXVWUDWLRQ
                                                        
              )RQJ                   IRXU     IXOILO  
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                                  JRLQJ         
       IXOO                           
                                           
                                        
                                            
                                          
                                            
       IXOO\                            
       IXQFWLRQ                             
       IXQFWLRQV                              JROG 
       IXQG                        *ROGVWHLQ 
       IXQGDPHQWDO                                 
                                              JRRG  
       IXQGHG                                      
                                             
       IXQGLQJ                               
                                                
       IXQGV                                       
       )XQQ\                                    
       IXUQLVKHG                                    
       IXUQLWXUH  JLYHQ                               
       IXUWKHU                                    
                                          JRRGQHVV 
                                       
               JLYHV                       *RRJOH 
       IXWXUH        JLYLQJ                        *RUGRQ 
       )8//                                    
                                                    *RVK  
                          *L]PRGR                          
                *         JODG                          JRYHUQLQJ 
       JDPEOLQJ  JODQFH                             
       JDPLQJ       JOREDOO\                       JRYHUQPHQW
       JDSV         JR                      
       JHQHUDO                                JRYHUQPHQWV
                                          
                                         JRYHUQV 
                                         JUDPPDWLFDO
       JHQHUDOLVH                           
       JHQLXV                             JUDPPDWLFDOO\
       JHQWOHPDQ                              
       JHWWLQJ                                     JUDQG 
                    *RG                   *UDQJHU 
                     JRHV             JUHDW  
                                         
                                       
       JLYH                                 
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                                        
                                      
       *UHHQ                                  
                                 KPP      
                                         
       *UHHQEHUJ                                 
                                          
       JXHVV                         KRQHVW 
                                     
                          +HOOR               
             KDSSHQLQJ          KHOS              
                                      KRQHVWO\ 
       JX\V                                       
             KDSSHQV                       KRQHVW\ 
                                   KRSLQJ 
                            KHOSHG              KRVSLWDO 
              KDSS\                  KRVSLWDOV 
                                    KRWPDLO 
                                              +RWZLUH 
                KDUG     KHOSIXO              
                     KHOSIXOO\            
       JPDLO      KDUGZDUH      KHOSLQJ        KREE\      
                         KDVK         KHOSV                 
               +         KDWH          KHUHWR                     
       KDFNHG              +H\          +ROERUQ         
             KD\          KL                        
             KHDG                 KROG      KRXU 
                                                      
              KHDGHG       KLDWXV               
                   KHDGV        KLGH                  KRXUV 
       KDFNV        KHDU         KLJK               
       KDOI                                KRXVH  
             KHDUG                      KROGHU         
       +DOWRQ           KLJKHU       KROGLQJ        
       KDQG                 +LJK6HFXUHG              KRXVHKROG
                                     
       KDQGHG      KHDULQJ                   KRXVHNHHSLQJ
       KDQGV                             
                   KHDULQJV           KROGV     +5  
       KDQJ        KHDUW                        KXJH 
       KDSSHQ                                     KXJHO\ 
              KHOG      KLQWV             KXPRURXV 
                   KLUH                 KXPRXU 
                          KLUHG              KXQGUHGV 
       KDSSHQHG                             
                       KLVWRU\     KRPH      KXVEDQG 
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                           LQFUHGLEO\          LQIRUPHG 
                                           
                   LGHQWLILHV     LQGHSHQGHQW         LQLWLDO 
                      LGHQWLI\                  
                             LQGH[         LQLWLDOO\ 
                                               
                            LQGLFDWH      LQLWLDOV 
                                                           LQLWLDWHG 
             KXVEDQGV     LJQRUHG       LQGLUHFWO\        
                           LL                        LQMHFW 
              KXVEDQG V    LLL           LQGLYLGXDOV    LQQRYDWLRQ
                      LOOHJDO                          
                       LOOHJDOO\     ,QIR       LQVLQXDWH 
                     LOOQHVV                LQVWUXFW 
                       LPPHGLDWHO\                    
                                                 
                     LPSOLFLWO\                     
             K\SRWKHWLFDO      LPSRUWDQFH          LQIRUPDO       LQVWUXFWHG 
                                        LQIRUPDOO\       
                                LPSRUWDQW       LQIRUPDWLRQ         LQVWUXFWLQJ
                      ,        LPSRUWDQWO\               
               ,$$6                             
                          LPSUHFLVH             LQVWUXFWLRQ
             ,'      LPSUHVVLRQ                       
                                               LQVWUXFWLRQV 
            LGHD     LQDELOLW\              LQWHJULW\ 
                      LQDGYHUWHQWO\                  
                                       LQWHOOHFWXDO 
                  LQDSSURSULDWH                     
                                                   
           LGHDV       LQDXWKHQWLF                    
            LGHQWLILFDWLRQ                                
                   LQFOXGH                  
                      LQFOXGHG                   
                     LQFOXGHV              ,QWHOOLJHQFH
                    LQFOXGLQJ                  
                                        LQWHQG 
                                   LQWHQGHG 
                     LQFRPH                   
                                         
                        LQFRUSRUDWLQJ                LQWHQGLQJ 
                                             
                       LQFRUUHFW               LQWHQW 
              LGHQWLILHG                      ,QWHQWLRQDOO\
                                         
                                             LQWHUFKDQJHDEO\
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                                      LQYRNH                 
       LQWHUFRQQHFWHG      LQWHUSUHWDWLRQV     LQYROYH                 
                                    LQYROYHG              MREV  
       LQWHUHVW       LQWHUSUHWHU                      
                LQWHUURJDWRULHV                        MRJ 
       LQWHUHVWHG                               -RKQV 
               LQWHUURJDWRU\                     MRLQW 
                                         MRLQWO\ 
       LQWHUHVWLQJ                             MRNH  
                                         MRNLQJ 
       LQWHUMHFW                             MRXUQH\ 
                                                MXGJH 
       LQWHUPHGLDWH                                   
                                                        
       ,QWHUQDWLRQDO       LQWHUUXSW                                MXGJPHQW 
                         LQYROYHPHQW                     
                                        ,UD V           
              LQWHUUXSWLRQ                 LVVXH        
                                               
                  LQWHUYHQH                     -XOLR  
               LQWURGXFH                       -XO\ 
                                                        
              LQWURGXFHG                   LVVXHV     MXPSLQJ 
                                            -XQH  
                LQYDGH                          
                                                    
                LQYDGHG               LWDOLFLVHG       
               LQYDGLQJ                    LWHPV           
                             LQYROYHV         LWHUDWLRQ       
                 LQYDVLRQ       ,3    ,5$021$           MXVWLILFDWLRQ
                  LQYHQWLRQ                             
                           
                 LQYHVWLJDWLRQ                       -                  .
                                   MDGHG        NHHS  
                LQYHVWPHQW               -DQXDU\       
                                                  
                 ,QYHVWPHQWV                               
                                                 
       LQWHUQDWLRQDOO\                                    
                              ,UD               NHHSLQJ 
       LQWHUQHW                              
       LQWHUQV                               .HOO\  
       LQWHUSRVH                    -%85.         
                                         -HQVHQ         
       LQWHUSUHW      LQYHVWRU                           NHSW 
                                  MRE      NH\  
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                                
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                                     
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       NH\V                        
                               
                              
                              
                                          
                  .OHLPDQ V                 
                               
                   NQHZ                      
                                  
                               
                                           
       NLGV                          
                                      
       NLQG                              
       NLQGV                                     
       .LQJGRP         NQRFNLQJ                    
                                                 
       .OHLPDQ        NQRZ                     
                                      
                                         
                               
                                
                                  
                                       
                                    
                                  
                              
                                   
                                   
                                     
                                
                                   
                                
                                   
                                     
                                
                                      
                                    
                                    
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                         /           OHG                         
                  ODFN        /HH                          
                 ODFNHG        OHHZD\                OLVWHQHG 
              ODQGORUG      OHIW                 OLVWHQHU 
                  ODQJXDJH                      OLVWHQLQJ 
               ODUJH                         OLVWV  
              ODWH                              
                 ODXJKLQJ                        OLWHUDO 
             ODXQGHULQJ                            OLWHUDOO\ 
                       OHJDO              OLWLJDWLRQ 
               ODZ                  OHYHUDJH          
                                                      
                                 OLDELOLW\        
                              OLDLVHG            
                            /LDQ               
                                         /LFDWD             
                     OHJDOO\        OLHX            OLWWOH  
                      OHJLWLPDWH    OLIH          
                               OHJLWLPDWHO\                         
            ODZVXLW                               
                         /HRQ            OLIHWLPH           
                     OHWWHU      OLIH V               
                             OLNHQ                
                                      OLPLW              
             ODZ\HU              OLPLWDWLRQV              
                                                     
                                 OLPLWHG             
                                                  
                           OHWWHUV                OLYH 
       NQRZOHGJH       ODZ\HUV        OHWWLQJ             OLYHG 
                          OHW V                    
                                            OLYLQJ  
                                     OLQH            
                                                 
                                           //&  
                                                
                                                  
       NQRZQ                                OLQHV                
              OHDGLQJ                 OLQN           //3 
                    OHDQW                 OLVW        ORDQ 
       NQRZV         OHDUQ                              ORFDWHG 
              OHDUQHG                          ORFNHG 
                                                
       .X     OHDYH                          /RQGRQ 
       .12:6                                                
                                                OLVWHG           
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       ORQJ      ORRNLQJ               PDQDJHG       0DVWHU 
                                     PDVWHUV 
                                        
                                                  PDWHULDO 
                         ORXG         PDQDJLQJ      PDWHULDOV 
                      /RXLV         PDWWHU 
                                    
                                                PDWWHUV 
       ORQJHU                               
                ORRNV              PDQQHU         
                                              
                               0DUFK          0DWWKHZV 
       ORQJZLQGHG                                  
       ORRN               ORYH                
                        ORYHO\     PDULWDO         
                                     PDUN        
                ORRVH         OXQFK           
             ORRVHO\                        
                           /\QQ               PDWXUH 
                ORVLQJ        /\QQ V              0D\DND 
              ORVW             PDUNHG            
              ORW                          
                                                
                                                     
                             0                   
                            PDFKLQH               
                      PDG                 
                       0DGDP                
                                        
                       PDJD]LQH             
                                        
                        0DJLVWUDWH                 
                                    
                       0DJQD                  
                          PDLQ   PDUNHU          
                                      PD DP  
                       PDLQWDLQ                    
                          PDLQWDLQHG       PDUNHW          
                            PDUNLQJ         
                               PDMRU                     
       ORRNHG                PDNLQJ       PDUNV       
                              PDUULHG       
                                             
                        PDQ              
                                                 
              ORWV      PDQDJH               
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                                          
                                  PHQWLRQLQJ           
       0F*RYHUQ               PHDQV                      
                           PHQWLRQV      PLQLPXP 
                              PHU           PLQLQJ 
                                0HUFHGHV        
                0F*RYHUQ V                PHVVDJH         
                                           
             0F*UHJRU                       
                         PHDQW                   PLQXWH 
                                          
                               PHVVDJHV      
                                       PLQXWHV 
             0F.HQ]LH                0(675(           
                               PHW         
             PHDQ                         
                    PHGLD                  
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                        PHHW      PHWDSKRU        
                               0LDPL       
                            PLGGOH          
                                  PLG      PLVLQWHUSUHWLQJ
                      PHHWLQJ        PLOOLRQ       
                                     PLVVLQJ 
                           PLOOLRQV     PLVVWDWLQJ
                             PLQG        
                                     PLVWDNH 
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                                                PLVWDNHV 
                               PLQH      
                                         PLVXQGHUVWRRG
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                         PHHWLQJV       PLQHG      PLVVSRNH
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                                        PL[  
                         PHPEHUV              0-) 
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                                            
                          PHPRULDOLVH            PRFNLQJ 
                        PHPRU\              PRGHOOLQJ 
                                              
                      PHQ                 PRGLILHG 
                          PHQWLRQHG           0RKDPPHG 
              PHDQLQJ                         
                                          PRPHQW 
                                       
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       0RQGD\              QHIDULRXV                       QXPEHUV 
                                  QLJKW       
                          QHJRWLDWH     QLQH            
       PRQHWDU\                            QRQH[LVWHQW         
                           QHJRWLDWHG                        QXUVH 
       PRQH\                          QRRQ 
                    QHJRWLDWLQJ         QRUPDOO\               2
                                     QRVH          RDWK 
            QDPHG       QHJRWLDWLRQ         QRWDULVHG       
                                QRWH       REMHFW 
            QDPHV       QHJRWLDWLRQV                           
                           QRWHERRN          
               QDUURZ                 QRWHG             
          QDVW\                                
             QDWLRQDO                 QRWHV       
            QDWLYH                          
       PRQWKV                                         
              QDWXUH       QHLWKHU                  
       0RUJDQ                                         
       PRUQLQJ              QHUYRXV                 
             Q&KDLQ        QHW                   
       PRYH          QHYHU                 
                                              
                               QRWLFH           
       PRYHG                          QRWLFHG          
              QHDU                   QRYHO            
                  QHFHVVDU\             1RYHPEHU               
       PRYLQJ                                           
             QHHG                            
                                                            
               1                       16:            
       1                              QXFOHDU           
       1DNDPRWR                         QXPEHU         
                                          
                                           
                                            
                                              
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                        QHZ                  
                                              
       QDPH                                       
            QHHGHG      1J                            
              QHHGV          1JX\HQ                          
                                       QXPEHUHG              
                      QLFH                 2EMHFWHG 
                          1LFKRODV        QXPEHULQJ       REMHFWLQJ 
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       REMHFWLRQ       RIIHQVLYH                     
              RIIHU                        
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                                      
                                              
       REMHFWLRQV                           
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       REMHFWLYH                           
       REOLJDWLRQV                               
                                          
       REWDLQ                                 
                                          
                RIILFHU                       
                                           
                                            
       REWDLQHG        RIILFHV                    
                                      
                                             
                RK                        
                                        
                                               
       REWDLQLQJ                           
       REWXVH                                 
       REYLRXV                               
       REYLRXVO\       RND\                         
                                      
                                        
                                    
       RFFDVLRQV                         
                                           ROG  
       RFFXU                               ROGHVW 
       RFFXUUHG                          RQFH 
                                         
       2FWREHU                                  RQHV  
                                      
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       RQOLQH         RYHUVHDV                    SDUWLFXODUO\
                RYHUVHH             SDSHUV         
       2QWLHU      RYHUVLJKW                  SDUWLHV 
                   RZHG                          
       RSHQ                                  
                RZQHG              SDSHUZRUN      
       RSHQLQJ                                SDUWO\ 
                                 SDUDJUDSK     SDUWQHU 
       RSHUDWHV                             
                                       
       RSSRUWXQLWLHV                         
                    RZQHUVKLS                       
       RSSRUWXQLW\                           
                                         SDUWQHUV 
               RZQV                  
                                     SDUWV 
       RSSRVHG        R FORFN                     
                                     SDUDJUDSKV         SDUW\ 
       RUDO           2 +DJDQ                        
       RUGHU                     SDUHQW    SDVVHG 
                                     
                            SDUNLQJ        
                            SDUW       SDVVHV 
                                      SDVVLQJ 
                     SDJHV                SDWHQWV 
                                        3DWULFN 
                                           
                            SDLG               
       RUGHUHG                                
                                            
                                     3DLJH                
       RUJDQLVHG               3                          
       RULHQWDWH      3                             
       RULHQWHG      SDFNDJH                         
       RULJLQDOO\     3DH]     SDLQ                       3DXO  
               SDJH   3DQDPD        SDUWLDO        SDXVH 
                          3DQDPDQLDQ         SDUWLFLSDWH         
       RULJLQV                                    SD\  
       RXWFRPH           3DQRSWRFU\SW       SDUWLFXODU      
       RXWHG                              
                                      
                        SDSHU                
       RXWVLGH                              SD\LQJ 
                                     
                                  SDUWLFXODULVH      SD\PHQW 
       RYHUKHDUG                                     
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                      SODLQWLIIV               
                                              SUHVHUYHV 
       3(                                      
                                   SODLQWLII V                      SUHVXPH 
       SHHUWRSHHU        SHUVRQDO                     SRLQWLQJ       
                                 SODQ           SRLQWV        SUHWW\  
       SHQ                    SODWIRUP        SROLFH           
       SHRSOH                                  SROLWH           
                          SODWIRUPV       3RQFH           SUHYHQW 
              SHUVRQDOO\                          SRS      SUHYHQWLQJ
                        SOD\             SRSSHG           
                      SOD\HG          SRVH      SUHYLRXV 
                          SOD\HUV        SRVLWLRQ         
                        SOHDGLQJV               
                               SOHDVDQW                  SUHYLRXVO\ 
               SHUVSHFWLYH                                         
                           SOHDVH       SRVVHVV        SULFH 
               SHUVXDGHG              SRVVLEOH      SULPDULO\ 
               SHUWLQHQW                SRVVLEO\       SULPDU\ 
                  3K'                                 
             SKRQH                               
                                SRVW          SULQW 
                                 SRVWLQJ       SULRU 
       SHUFHLYH                         SRVWV        
       SHUFHLYHV                                 SRWDWRHV        
       SHUFHQWDJH          SKRWRFRSLHV                    SRWHQWLDO        
                                                       
       3HUIHFW        SKUDVH                                 
                                              SRWHQWLDOO\         SULYDF\ 
       SHUIHFWO\    SK\VLFDOO\                        
                SLFN     SOHDVHG        SUDFWLFDOO\         SULYDWH 
                         SOXV                           
                     SLFNHG                     SUHFHGLQJ        
       SHULRG     SLFNLQJ                      SUHFLSLWDWHG          
                             SRLQW                       
                     SLFWXUHV                 SUHFLVH           
       SHUPDQHQW        SLHFH                 SUHGHFHVVRU          
       SHUPLVVLEOH                                             SULYLOHJH 
       SHUPLVVLRQ     SODFH                 3UHHPSWLYH            
       SHUPLWWHG                                       
                                        SUHSDUDWLRQ        
                                                      SULYLOHJHG 
       SHUVRQ                       SUHSDUHG        SULYLOHJHV 
                  SODFHG                                 SUREDEO\ 
                SODFHV                 SUHVHQFH          
               SODLQ                  SUHVHQW       
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                          SXEOLF      SXUVXDQW       
               SURMHFWV                        
               SURPLVH                 SXVKHG          
       SUREOHP       SURPRWH                SXW        
                                      
               SURPSWO\                        
               SURQRXQFH                          
              SURQRXQFLQJ                            
                                                      
       SUREOHPV       SURRI       SXOO                 
                       SXOOHG                 
               SURSHU         SXUFKDVH                   
       SURFHHGLQJ                                   
                                        
                                 SXUFKDVHG               
       SURFHHGLQJV    SURSHUO\                SXWV           
                                SXWWLQJ          
               SURSHUW\                          
                                          
                               SP       
       SURFHVV               SXUFKDVHV           
                         SXUH                 
                           SXUHO\                
                         SXUSRUWHG            
                              SXUSRUWHGO\                 
       SURGXFH      3URSRVDO                             
                    SURWHFW                                          
       SURGXFHG       SURWHFWLRQ     SXUSRUWLQJ                4            
                SURWHFWLYH                 4&           
               SURWRFROV     SXUSRUWV     TXDOLILFDWLRQV       
                                                      
               SURYLGH             TXDOLW\         
       SURGXFWLRQ                             TXDUUHO        
              SURYLGHG       SXUSRVH       TXHVWLRQ         
                                           
       SURGXFWV     SURYLGLQJ                    
       SURIHVVLRQDO                                  
       SURIHVVLRQDOO\     SURYLVLRQ                 
                                               
       SURILOH      SU\                        
       SURJUDPPHV         SVHXGRQ\PRXV                     
                                                   
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                     3W\                         
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                                                
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               TXRWH                       
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       TXHVWLRQLQJ     TXRWHV                          
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       TXHVWLRQV       UDLVHV                         
              UDPLILFDWLRQV                     
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       TXLFN                               
       TXLFNO\                              
                                      UDQ  
                                    
       TXLHW                                
       TXLWH                              
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                                       UDUHO\ 
                                    UDYHG 
                                      5&-%5 
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                                     UHDFKHG 
                                         
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       TXRWDWLRQ                             
                                        UHDG  
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                       UHFDOO                 
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                                       
                                            UHFRUG  
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                                                    
       UHDGLQJ                                       
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                                   UHFHLYLQJ        
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       UHDG\                                       UHFRUGV 
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                     UHDOP                            
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                               UHPRWHO\         
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              UHJDUGV                                
                                       UHPXQHUDWLRQ           
       UHIHUUHG      UHJLVWHU                           
                UHJLVWHUHG            UHQWHU           
                UHJXODU               UHQWLQJ          
                                                    
       UHIHUULQJ     UHJXODUO\            UHRULHQW        
                5HLQKDUW           UHSD\PHQW      UHSUHVHQWDWLRQ
                                                   
              UHODWHG             UHSHDW            
                                        UHSUHVHQWDWLYH
                                 UHSHDWHG           
                                UHSKUDVH          
                                             
                                         UHSUHVHQWDWLYHV
       UHIHUV       UHODWHV            UHSRUW          
              UHODWLQJ                   UHSUHVHQWHG
                                             
       UHIUDLQ                             UHSRUWHU        
       UHIUDPH      UHODWLRQVKLS                  UHSUHVHQWLQJ
       UHIUHVK                                        
                                             
             UHODWLYH                       
                                                   UHTXHVW 
       UHIUHVKHV    UHOD[HG                          
              UHOHDVH                          
                    UHOHDVLQJ                        
       UHIXVDO                                 
       UHIXVHG      UHOHYDQFH                     UHTXHVWHG 
       UHJDUG        UHOHYDQW                        
       UHJDUGLQJ     UHOXFWDQWO\                        
                UHPDLQ                         
                                        UHTXHVWLQJ
                UHPDLQHG                        
                 UHPDLQLQJ                      UHTXLUH 
              UHPDLQV                            UHTXLUHV 
               UHPDUNDEOH                UHSRUWHUV     UHVHDUFK  
                                                
              UHPHPEHU                            
                                              
                    UHPHPEHUHG                      
                                UHSRUWLQJ        
       UHJDUGOHVV        UHPRWH          UHSRUWV           
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              UHWDLQLQJ                   UXQ  
                UHWXUQ                        
                                              
                                ULJKWV        UXQQLQJ 
                     UHWXUQHG                          
       UHVHDUFKLQJ                                               
                UHXQLWHG              ULJKWKDQG        
                     UHYHDO           ULJRURXV           
       UHVHW      UHYLHZ             ULQJ           UXVK  
       UHVLGH           UHYLHZHG                          5 ' 
       UHVLGHQFH                      ULQJV           
       UHVLJQDWLRQ                         ULVN             
       UHVLJQHG        UHH[DPLQDWLRQ                           
       UHVRXUFHV                          5LW]HOD         
                ULGLFXORXV                            
       UHVSHFW                              5,9(52 
               ULJKW                             6
                               URDG        6 
                                               VDFULILFHV 
                                URDGVLGH        VDOH 
                                 5RE        6DPDQWKD 
       UHVSHFWLYH                                
       UHVSRQG                   5REHUW         VDQLWLVH 
       UHVSRQGLQJ                                      6DRXO  
                             5RFKH             
       UHVSRQGV                      UROH           
       UHVSRQVH                                   
                                                
                                             
       UHVSRQVHV                     UROOHG            
                                        URRP          
       UHVSRQVLELOLWLHV                           
                                              
       UHVSRQVLELOLW\                                 
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                                     URRPV             
       UHVSRQVLEOH                          URXJK             
                                  URZ            
       UHVW                                       
       UHVWDWH                    UXOH        
       UHVXOW                        UXOHV         
                                       
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       UHVXPH                                   
       UHWDLQHG                                  
                                                 
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                                      
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       VDW                                 
       VDWH                                
       6DWRVKL                            
                                       
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                                              
                             VHFRQGDU\       
                                  VHFRQGO\        
                             VHFRQGV        
                             VHFUHW          
                                        
                           VHFUHWDULDO    
                    6&$        VHFUHWDU\     
                                          
       VDYHG              VFDGD                  
       VDYLQJ              VFDODEOH              
       VDYLQJV             VFDOH                       
                   VFKHGXOH      VHFWLRQ         
                                         
                                        VHFXUH          
       VDZ                    6FKLOOHU                        
       VD\LQJ                            VHFXUHG         
                      VFLHQWLILF    VHFXULWLHV     
                          VFRSH     VHFXULW\         
                                            
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                  VFUHHQ                   
                                        
                     VFUROO                
                                          
                                      
                                       
                          VFUROOLQJ            
                                          
                      6(                    
       VD\V          VHDO                     
                      VHDOLQJ              
                  VHDUFK                  
                    VHDUFKLQJ               
                  VHFRQG                  
                                            
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                           VKDUHKROGHU                   VLJQLQJ 
                                        VKRUWO\           
                        VKDUHKROGHUV                VLJQV 
                               VKRXOGHU      6LON  
                                 VKRZ        VLOO\ 
                      VHQWLPHQW                          VLPLODU 
       VHHLQJ                 VKDUHKROGLQJ                   
       VHHN                                                         
       VHHNV         VHQWLPHQWDO         VKDUHV       VKRZHG           
                                                       VLPLODULWLHV
       VHHQ          VHSDUDWH               VKRZQ            
                                             VLPSO\ 
                                   VKRZV         
                      6HSWHPEHU                  VKXW          
       VHJPHQW                                VLQJOH 
       VHOO                      VK\             
                                        VLF           VLU  
                VHULRXV              VLFN          VLW  
                                        VLGH          
                     VHULRXVO\                                
       VHQG       VHUYH                 VLJQ       VLWV 
              VHUYHG                      VLWWLQJ 
                                   VLJQDWRU\       
                VHUYHU                        VLWXDWLRQ 
                                                        
       VHQGHU        VHUYLFH                 VLJQDWXUH      VL[  
       VHQGLQJ      VHUYLFHV                        
                                      VL[WK 
                                        VNLOO 
                     VHVVLRQ                       VNLQ 
       VHQGV          VHW                      6N\SH 
       6HQJ                                            
       VHQVH                     VLJQDWXUHV            
                                         
                VHWV                                  VOHHS 
       VHQW          VHWWLQJ             VLJQHG        VOLFH  
               VHYHQ                                
               6H\FKHOOHV      VKHHW               VOLFHV 
               6KDOHHE         VKRRW                     
                                  VKRS                          
                 6KDRLE     VKRUW     6LJQLD+LJK6H       
               VKDUH                                    
                                 VLJQLILFDQW    VOLJKW 
                                                VORZ  
                                     VLJQLILFDQWO\       VPDOO 
       VHQWHQFH                                           VPRRWKO\ 
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       61         VRUW                            
       6QDSFKDW                     VSRXVH             
                                                      VWDUWV 
       VQLIILQJ                       VSUHDGVKHHW        
                                                
       VRFLDO                                                 
       VRIWZDUH                 VSHFLILFDOO\    VSUHDGVKHHWV          
                                                  VWDUYLQJ 
                                   6W             VWDWH  
                                 VWDEOH           
                                       VWDII        
       VROG     VRUWV                           
                VRXJKW                            VWDWHG 
                                                    
       VROH                    VSHFLILFV                    VWDWHPHQW 
                VRXQG                        VWDJH        
       VROHO\                VSHFXODWH                   
       VROLFLWRUV                                  VWDJHV             
       VROXWLRQ       VRXQGV                  VWDPS             
                                                
       VRPHERG\       VRXUFH        VSHFXODWLRQ                 
                             VSHOO            VWDPSHG          
       VRPHZKDW                 VSHQG           VWDQG            
       6RPPHU                          VWDQGDUG       
                               VWDQGLQJ      VWDWHPHQWV 
                                  VWDQGV           
       6RPPHUV                          VWDUW        
       6RPPHU V                                          VWDWHV  
       VRQ                         VSHQGLQJ                   
       VRRQ          VRXUFHV                                VWDWLQJ 
       VRUU\                 VSHQW                       VWD\  
              6RXWK                       VWDUWHG     VWD\HG 
                  6287+(51                            VWD\LQJ 
                  VSDJKHWWL      VSHZLQJ                    VWHDN 
                  VSHDN       VSOLW                  6WHIDQ 
                        VSRNH                  
                                             
               VSHDNLQJ                           
                                            
                                            
                VSHDNV                                 
                VSHFLDOLVLQJ        VSRNHQ                    
                                                      
               VSHFLILF        VSRUW\                        VWHP 
                       VSRXVDO      VWDUWLQJ        6WHQRJUDSK
                                                     
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       VWHS       VWUXJJOHV                            
                               VXSSOHPHQWV                
       6WHSKHQ      VWXII                             VXUSULVHG 
       VWHSSHG                VXSSO\             6XUUH\ 
       6WHYHQ                 VXSSRUW             VXVWDLQHG 
       VWLFN                                VZLWFK 
       VWRS                                 
                       VXSSRUWLQJ               VZRUH 
       VWRSSHG        VXEMHFW                             
                         VXSSRVH             VZRUQ 
       VWRULHV                              6\GQH\ 
       VWRU\                                 
              VXEPLWWHG                     V\VWHP 
                                               
                      VXSSRVHG             
                                                   
       VWUDLJKW    VXEVHFWLRQ                      V\VWHPV 
               VXEVWDQFH                      
             VXEVWDQWLDO                 6+$2,%
                 VXEVWDQWLDWH                  
       VWUDLQHG                                      675$6$1
       VWUDQJH      VXEVWDQWLYH                       
                                         
                 VXFFHVVRU                          7
                                           7  
               VXFFLQFWO\                  WDE 
                 VXJJHVW                               
       6WUDVDQ                     VXSSRVHGO\              
            VXJJHVWLQJ                                 
       VWUDWHJLF                   VXUH                
       VWUD\        VXJJHVWLRQ                           
       6WUHHW                                           
       VWUHVVHV      VXLW                         
       VWUHVVIXO    6XLWH                            
       VWULFWO\     VXLWV                            
       VWULNH        VXP                           
             VXPPDULVH                         
               VXPPHU                           
                                           
       VWULQJV      VXSHU                          
       VWURNHV                                
       VWURQJ                                      
       VWUXFWXUH                               
                                                 
       VWUXFWXUHG                                  
                     VXSSOHPHQWDO                        
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                                         
       WDEOH                  WHFKQLFDOO\                
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                                                       
       WDEORLG                WHFKQRORJ\                
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       WDEV                                             
       WDNH                                           
                     7HO                              
                      WHOHSKRQH     WHOOV              
                                     WHQ             
                                               
                                                     
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                          WHOO                        
                                  WHQV             
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                                         WHUPLQRORJ\            
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                     WDVNHG                            
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                                                
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                                        WHVWLILHG        7KDQNV 
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                                         WKLQJ  
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               WHD                     WHVWLI\LQJ        
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                WHFKQLFDO                             
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                                     
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                                         
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       WKLQJV                                  
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                            WLH         
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       WKLQN            WKLUG                  
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                                        WLWOH 
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                       WKLUGV              WRGD\  
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                                             
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       WRLOHW               WUDLQLQJ              
       WROG                   WUDQVDFWLRQ                
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                                               
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                WUDGH                                 
                           WUDQVIHU                 
             WUDGHV                               
                WUDGLQJ      WUDQVIHUUHG                  
                                          
                                        
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                         WUDYHOOHG              
                    WUDZO                     
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                                    
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                          WXUQHG       XQDFFHSWDEOH       
       WUXVWLQJ             WZLFH                 XQGHUVWDQGLQJ
       WUXVWV                WZLVW        XQDUJXDEO\          
                     WZLVWHG                     
                        WZR       XQFOHDU        
                                  
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                                        
       WUXVW V                     XQGHUQHDWK          
       WUXWK                                    
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                                    
       WU\                           
                                     
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                        YHULI\               
                         YLDEOH                   
       XQGHUVWRRG                                     
                    YLGHR             
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                 XVHV         YLGHRWDSHG                    
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              8VHY                               
                  XVXDOO\      YLHZ            
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                    8W]   YLHZV                
       XQGHUWDNHQ                YLUWXDO             
                           YLV               
       XQIRUWXQDWH                                        
                     8\HQ      YLVLW                   
       XQIRUWXQDWHO\              9LVWRPDLO             
                                       :DWWV  
       8QLWHG                                             
                        9                       
       XQLYHUVH     Y                                  
                    9DJXHO\                       
       XQORFN        YDOLG   YRLFHV                
                                                          
                 YDOXDWLRQ            :                        
       XQQHFHVVDU\        :$              ZDQWHG        
                                   ZDLW                      
       XQSDFN       YDOXDWLRQV        ZDLWLQJ                 
       XQVXUH                 :DOHV                   
       XQWUXH                  ZDON                     
                    YDOXH                  
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       XVH       YDXOW        ZDQW               
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                 YHUEDO                         
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                                 
                                            ZKLWH 
                             :DWWVZKDW        
                             ZD\         
                                      
                                 ZLGHU 
                                     ZLIH 
                                        
                                        
                                        
                                     
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                                       ZLOOLQJ 
                                       
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                                   :LUHG 
                                         
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                                       
                                   ZLVKHG 
                                  
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                             ZD\V     ZLWKKHOG 
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                               ZHOFRPH        
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                                                                                       Page 43

       ZRPDQ                                  
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             ZRUNHG                    
                                       
                                   
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       ZRUGLQJ                    :ULJKW V       
                    ZRUNLQJ                      
       ZRUGV                                 
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                                    
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           ZRUNV                    ZURQJ 
                ZRUOG                     
                                     
              ZRUOGZLGH                   
             ZRUU\                 
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             ZRXOGQ W             ZULWHV        
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                                               
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